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                                           U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    86 Chambers Street, 3rd Floor
                                                    New York, New York 10007


                                                    October 30, 2020

VIA ECF

Hon. Victor Marrero, United States District Judge
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

       Re:    Jones et al. v. United States Postal Service et al., No. 20 Civ. 6516 (VM)

Dear Judge Marrero:

       This Office represents the defendants in the above-referenced case. We write
respectfully pursuant to the Court’s September 25, 2020 Order, ECF No. 57 (the “Order”).1 In
accordance with paragraph 6 of the Order, Defendants submit herewith:

       (1) The weekly service performance update provided by the United States Postal Service
           (“USPS”) to Congress on October 29, 2020 (pertaining to First-Class Mail, Marketing
           Mail, and Periodicals) (Exhibit 1), as well as a relevant USPS press release discussing
           USPS’s handling of Election Mail and its service performance scores (Exhibit 2);

       (2) A report reflecting the weekly national scores and service variance for Presort First-
           Class Mail (Overnight, 2-Day and 3-5 Day) and Single-Piece First-Class Mail (2-Day
           and 3-5 Day), for the same period of time covered by the October 29, 2020
           Congressional update2 (attached hereto as Exhibit 3);

       (3) As discussed in more detail below, a summary of any and all data and information
           collected by USPS Headquarters regarding USPS’s handling of Election Mail at the
           Headquarters level and compliance with USPS policies regarding Election Mail,
           USPS recommended practices regarding Election Mail, and the terms of the Court’s
           September 25, 2020 Order specifically pertaining to Election Mail.



   1
     The information contained in this letter has been provided to this Office by the United
States Postal Service, to be provided to the Court to comply with Defendants’ obligations under
the Order.
   2
      The first column in each category shows the overall service performance score; the Percent
within +1 day, +2 days, and +3 days columns show the performance one day later, two days
later, and three days later (service variances).
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   Summary of Data and Information Regarding Election Mail Handling and Compliance

         To date, USPS Headquarters has compiled three categories of data or information relating
to its handling of Election Mail and compliance in the field with Election Mail policies and
practices: (1) All Clear Reports, (2) Advanced Volume Reports, and (3) Election Mail Service
Reporting.3

    1. All Clear Reports

        As USPS has previously described to the Court, see ECF No. 28 ¶ 19, USPS uses daily
“all clears” to ensure that all Election Mail is accounted for within the system. In the all clear
process, in-plant support personnel in processing or delivery units use a checklist to confirm that
mail scheduled or “committed” to go out that day has gone out, and anything committed for the
next day is at the front of the line.4 Personnel conducting all clears consult Election Mail logs,
and also check all locations within the facility (e.g., processing equipment) to ensure that all
pieces of Election Mail in the facility’s possession are in the right location.

        All Clear Reports help USPS identify facilities that require additional follow-up to
enforce their compliance with the daily all clear policy. Each USPS processing plant, delivery
unit, and reporting retail unit is required to certify, through an online system, its all clear
performance every day. Reports showing USPS’s “all clear” reporting results for the time period
from October 17 to 23, 20205, are attached hereto as Exhibit 4, broken down by geographic
Division (for mail processing plants) and by geographic Area (for delivery/retail units).

        In these reports, the “Total Count” column totals the number of facility reports expected
each week (in other words, it reflects the number of facilities multiplied by seven); “No
Response” reflects how many expected reports were not submitted; and “Non-Compliant”
indicates that a facility did not clear all of its Election Mail that day. It is important to note that a
“Non-Compliant” certification does not necessarily indicate that a facility failed to properly

    3
     As a general matter, USPS collects an enormous amount of raw data regarding its products
and operations, some of which would incidentally bear on the performance of Election Mail. For
example, in accordance with paragraphs 6(a) and (b) of the Order, USPS is providing weekly
data updates to the Court regarding the service performance of all First-Class Mail, Marketing
Mail, and Periodicals, which encompasses but extends far beyond Election Mail. USPS
understands paragraph 6(c) of the Order as referring to data and information that USPS
Headquarters customarily collects specifically relating to Election Mail, all of which is discussed
herein.
    4
    Many, but not all, retail units are also required to certify their all clear performance each day.
Some very small retail units are not required to certify their all clear performance.
    5
      USPS’s last weekly update filed on October 23, 2020 (ECF No. 91), incorrectly indicated
that it reported All Clear data for the time period from October 3 to 9, 2020. See id. at 2. In fact,
Exhibit 4 to last week’s update reflected All Clear data for the time period from October 10 to
16, 2020. See ECF No. 91-4. USPS’s weekly update filed on October 16, 2020 reported All
Clear data for the time period from October 3, to 9, 2020. See ECF No. 90 at 2; ECF No. 90-4.
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comply with the all clear process on a given day; it indicates primarily that the facility located
some Election Mail that it did not clear that day, often for reasons unrelated to any operational
deficiency. As discussed above, the all clear process is principally aimed at making sure that all
Election Mail within a facility is accounted for, and anticipates that some Election Mail (for
example, Election Mail received too late in the day or night to process) may be located during a
facility-wide check and committed to go out at the front of the line the next day.

        If a facility submits no “all clear” response on a given day, USPS Headquarters alerts the
relevant District Manager or Division director to follow up. If a particular facility exhibits a
pattern of non-responses, USPS may take a corrective action.

   2. Advanced Volume Reports

        Advanced Volume Reports help USPS estimate the amount of Election Mail, primarily
that which is sent as Marketing Mail, that is advanced. Using the Mail Condition Visualization
system, which is USPS’s system of record for mail processing conditions, USPS can count the
number of mailpieces that receive their final processing scan (meaning that they have gone
through processing and are about to be sent to delivery units) prior to their expected date of
delivery. In other words, USPS is able to detect mailpieces that are processed and readied for
delivery ahead of schedule, when compared with their expected delivery standard, as a
consequence of USPS’s policies of advancing mail (especially Election Mail).6 It is important to
note that Advanced Volume Reports set forth absolute numbers without denominators, and as
such may not fully depict USPS’s general performance with respect to Election Mail in a given
week (e.g., what percent of Election Mail USPS received and advanced in a given week).

       For the time period from October 17 to 23, 2020, USPS data shows that 10,004,442
pieces of Election Mail were advanced. This data represents a 16.2% decrease over the previous
week, in which 11,939,371 pieces of Election Mail were advanced.

   3. Election Mail Service Reporting

        USPS is now using validated data pertaining to three subsets of Election Mail for internal
purposes. The three relevant subsets of Election Mail are: (1) mailpieces that are electronically
identified on “entry” as Election Mail and that are also trackable using USPS’s Intelligent Mail
Barcode (“IMB”) feature; (2) Election Mail that bears service type ID (“STID”) codes embedded
within the IMB specifically identifying the Mail as ballots outgoing to voters; and (3) Election
Mail that bears STID codes that specifically identify the Mail as ballots incoming from voters.7



   6
      Generally speaking, the vast majority (approximately 98%) of mailpieces that receive their
final processing scan are delivered the next day. Due to a number of factors, including mail being
missorted, missequenced, or natural disasters, a very small fraction of mail that has received its
final processing scan may be delivered a day later.
   7
      As USPS has previously noted, because state and local election officials control all aspects
of the design of Election Mail, those officials are responsible for choosing whether to make use
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        Only a subset of Election Mail is sent using IMBs and ballot-specific STID codes, and
USPS does not currently have data to specifically track and analyze the service performance of
Election Mail that does not utilize those features. Therefore, the Election Mail Service Reporting
described in this section is not a representatively accurate measurement of the service
performance of all Election Mail handled by USPS. In addition, each of the Election Mail
Service figures reported this week (and moving forward) tracks the performance of Election Mail
within USPS’s operational network, which is the mailpiece’s time between its first and last
processing operations. These service performance figures do not incorporate the “First Mile,”
which represents the time from acceptance of the mailpiece (e.g., from a collection box or retail
unit) to the first processing operation, or the “Last Mile,” which tracks mailpieces from their last
processing hit to delivery. “First Mile” and “Last Mile” data are not incorporated into the
Election Mail Service figures for two principal reasons: first, those two measurements are
derived from statistically valid sampling at the aggregate product level (e.g., sampling of all
First-Class Mail), which cannot practicably or reliably be adapted to specifically track Election
Mail; and second, because Marketing Mail, including Election Mail entered by election officials
as Marketing Mail, does not have a “First Mile” measurement.

        Lastly, USPS considers this Election Mail Service Performance information to be
confidential and not subject to public disclosure under 39 U.S.C. § 410(c). In addition to not
being a representatively accurate measurement of the service performance of all Election Mail
handled by USPS for the reasons described above, it is also a subset of First-Class Mail and
Marketing Mail data that is more disaggregated than is otherwise publicly shared. Nor does the
USPS otherwise report on a combination of a subset of First-Class Mail and Marketing Mail in
this manner in other contexts. As such, this information is commercial in nature and would not
be disclosed under good business practices. USPS is providing the information pursuant to
paragraph 6 of the Order, but reserves the right to assert the confidential nature of this
information in other contexts.

        Bearing these limitations in mind, USPS provides, herewith, processing scores for the
three subsets of Election Mail described above. These figures are included on Exhibit 4,
attached, for the week ending October 23, 2020.

        In addition to the types of data and information discussed above, USPS is currently
collecting additional data as part of ongoing attempts to develop new techniques and metrics
related to Election Mail, including its ballot cancelation performance, and other useful metrics.
Attempts to gather and interpret this data are still in the early stages, and the data is not currently
reliable enough for USPS to use to track its performance. As such, this data is not currently
susceptible to analysis. If USPS is able to develop these new metrics for use in connection with
the November 2020 Election Season, it will supplement its reporting to the Court.

                                                 ***

of USPS’s Intelligent Mail Barcode and ballot-specific STID codes for Election Mail. See, e.g.,
ECF No. 28 ¶ 4. USPS does not charge an additional fee for these features; in fact, election
officials may receive a discount for opting to use the IMB.
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        Finally, on October 14, 2020, USPS distributed the Supplemental Guidance Document
approved by the Court on October 10, 2020 (ECF Nos. 85-1, 87) to nearly 50,000 USPS
employees by electronic mail, as indicated in the Document. See ECF No. 85-1 at 1; Order ¶ 9.
The email distributing the Document instructed each recipient to follow an embedded link to an
electronic certification page. USPS established this method for electronic certification in order
to comply with the Court’s directive to “certify . . . whether all USPS managerial staff members
have certified that they have read, reviewed, and understand the Supplemental Guidance
Document.” Order ¶ 9. As of the filing of this update, 46,660 USPS employees, comprised of
primarily managerial employees,8 have electronically certified that they have read, reviewed, and
understand the Supplemental Guidance Document. This represents an approximately 94 percent
response rate thus far.

        After the initial distribution of the Supplemental Guidance Document on October 14,
notices were sent to USPS officers, on at least a daily basis, identifying individuals in their
organizations who had not yet completed the certification, so that the officers could continue to
remind staff to review and certify until certification is complete. In the course of following up
with non-responders, USPS has determined that over a thousand of the original recipients of the
Supplemental Guidance Document are not expected to complete the certification for various
reasons, including because they are no longer with USPS, they are on extended leave, or they are
pending separation from USPS. USPS therefore believes that it is awaiting responses from fewer
than five percent of the original recipients of the Supplemental Guidance Document. Given the
relatively small number of outstanding non-responses, reminder emails continue to be sent on a
more targeted basis. Aside from these targeted emails, reminders have also been made during
meetings and webinars. USPS intends to update the Court weekly as to its ongoing compliance
with paragraph 9 of the Order.

                                                  Respectfully,

                                                  AUDREY STRAUSS
                                                  Acting United States Attorney for the
                                                  Southern District of New York
                                                  Attorney for Defendants

                                            By: /s/ Rebecca S. Tinio__      _
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                                                New York, New York 10007
                                                Tel.: (212) 637-2774/2715
                                                E-mail: rebecca.tinio@usdoj.gov
                                                         steven.kochevar@usdoj.gov

   8
    Employees on the Executive and Administrative Schedule (“EAS”), to whom the
Supplemental Guidance Document was distributed, include some non-managerial staff members.
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                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                           Nation ‐ By Week

        Week               First‐Class Mail   USPS Marketing Mail           Periodicals
           1/4/2020                    91.76%              91.21%                    85.70%
          1/11/2020                    91.36%              88.61%                    85.87%
          1/18/2020                    93.01%              89.86%                    87.71%
          1/25/2020                    91.15%              91.45%                    87.49%
           2/1/2020                    90.71%              90.57%                    87.54%
           2/8/2020                    91.98%              91.80%                    88.57%
          2/15/2020                    93.88%              92.24%                    89.40%
          2/22/2020                    92.84%              93.29%                    87.38%
          2/29/2020                    93.16%              92.41%                    86.54%
           3/7/2020                    92.40%              92.21%                    86.77%
          3/14/2020                    92.11%              91.32%                    86.08%
          3/21/2020                    92.84%              92.48%                    85.57%
          3/28/2020                    92.54%              93.69%                    85.09%
           4/1/2020                    92.82%              90.08%                    85.68%
           4/4/2020                    91.55%              90.54%                    83.16%
          4/11/2020                    89.62%              89.39%                    77.21%
          4/18/2020                    91.24%              89.10%                    78.86%
          4/25/2020                    90.28%              87.83%                    74.97%
           5/2/2020                    89.99%              86.81%                    73.76%
           5/9/2020                    89.52%              87.39%                    68.94%
          5/16/2020                    91.19%              89.52%                    71.72%
          5/23/2020                    92.30%              89.52%                    76.49%
          5/30/2020                    90.39%              91.07%                    78.77%
           6/6/2020                    90.69%              89.70%                    76.53%
          6/13/2020                    91.74%              90.84%                    78.71%
          6/20/2020                    90.86%              90.69%                    79.10%
          6/27/2020                    90.70%              92.34%                    81.00%
           7/1/2020                    91.82%              89.87%                    81.04%
           7/4/2020                    90.56%              87.55%                    77.13%
          7/11/2020                    85.26%              82.94%                    73.16%
          7/18/2020                    82.22%              79.76%                    71.62%
          7/25/2020                    83.64%              82.19%                    69.47%
           8/1/2020                    82.82%              81.58%                    68.95%
           8/8/2020                    81.47%              82.27%                    69.04%
          8/15/2020                    85.19%              86.28%                    73.15%
          8/22/2020                    87.76%              89.54%                    75.57%
          8/29/2020                    88.04%              89.56%                    78.24%
           9/5/2020                    88.74%              87.90%                    80.32%
          9/12/2020                    86.75%              86.90%                    77.04%
          9/19/2020                    84.23%              88.68%                    79.72%
          9/26/2020                    85.97%              89.82%                    78.30%
          10/3/2020                    86.15%              89.17%                    78.54%
         10/10/2020                    85.58%              86.00%                    77.43%
         10/17/2020                    80.85%              86.74%                    74.68%




Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                         1
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                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

         Area                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro                     1/4/2020                    90.91%              87.74%                    84.43%
Capital Metro                    1/11/2020                    90.38%              82.03%                    83.34%
Capital Metro                    1/18/2020                    92.12%              85.94%                    87.35%
Capital Metro                    1/25/2020                    90.55%              88.62%                    86.04%
Capital Metro                     2/1/2020                    90.22%              88.11%                    85.11%
Capital Metro                     2/8/2020                    91.78%              89.28%                    87.92%
Capital Metro                    2/15/2020                    93.58%              89.84%                    89.34%
Capital Metro                    2/22/2020                    92.29%              90.98%                    85.68%
Capital Metro                    2/29/2020                    92.88%              84.70%                    84.43%
Capital Metro                     3/7/2020                    92.15%              89.99%                    85.58%
Capital Metro                    3/14/2020                    92.86%              89.83%                    85.48%
Capital Metro                    3/21/2020                    93.44%              91.39%                    86.61%
Capital Metro                    3/28/2020                    93.23%              93.33%                    86.46%
Capital Metro                     4/1/2020                    94.20%              90.41%                    86.53%
Capital Metro                     4/4/2020                    92.99%              92.27%                    87.31%
Capital Metro                    4/11/2020                    91.65%              91.72%                    81.63%
Capital Metro                    4/18/2020                    92.87%              92.67%                    84.91%
Capital Metro                    4/25/2020                    92.04%              90.92%                    78.95%
Capital Metro                     5/2/2020                    91.08%              88.45%                    77.63%
Capital Metro                     5/9/2020                    89.71%              86.44%                    68.43%
Capital Metro                    5/16/2020                    91.38%              85.77%                    71.09%
Capital Metro                    5/23/2020                    92.45%              88.50%                    78.75%
Capital Metro                    5/30/2020                    89.55%              88.82%                    77.07%
Capital Metro                     6/6/2020                    90.07%              85.87%                    77.74%
Capital Metro                    6/13/2020                    90.86%              88.67%                    78.93%
Capital Metro                    6/20/2020                    90.76%              89.32%                    81.19%
Capital Metro                    6/27/2020                    91.15%              92.77%                    81.11%
Capital Metro                     7/1/2020                    92.00%              88.45%                    80.37%
Capital Metro                     7/4/2020                    90.81%              86.74%                    72.63%
Capital Metro                    7/11/2020                    87.12%              81.71%                    68.58%
Capital Metro                    7/18/2020                    83.65%              78.91%                    66.25%
Capital Metro                    7/25/2020                    84.31%              79.65%                    65.58%
Capital Metro                     8/1/2020                    83.36%              80.50%                    70.06%
Capital Metro                     8/8/2020                    80.63%              77.33%                    68.21%
Capital Metro                    8/15/2020                    83.11%              80.46%                    68.56%
Capital Metro                    8/22/2020                    86.60%              86.67%                    72.47%
Capital Metro                    8/29/2020                    85.46%              86.13%                    68.95%
Capital Metro                     9/5/2020                    84.59%              82.79%                    77.50%
Capital Metro                    9/12/2020                    83.09%              81.13%                    73.59%
Capital Metro                    9/19/2020                    78.70%              82.41%                    75.40%
Capital Metro                    9/26/2020                    82.65%              85.60%                    71.66%
Capital Metro                    10/3/2020                    82.47%              84.14%                    74.88%
Capital Metro                   10/10/2020                    80.76%              79.76%                    69.98%
Capital Metro                   10/17/2020                    73.69%              75.48%                    68.29%
Eastern                           1/4/2020                    91.55%              92.72%                    87.05%
Eastern                          1/11/2020                    92.64%              90.84%                    89.31%
Eastern                          1/18/2020                    93.93%              92.72%                    91.71%
Eastern                          1/25/2020                    92.21%              94.23%                    87.53%
Eastern                           2/1/2020                    92.30%              93.80%                    91.07%
Eastern                           2/8/2020                    93.13%              94.04%                    89.85%
Eastern                          2/15/2020                    94.59%              94.32%                    91.21%
Eastern                          2/22/2020                    93.18%              95.21%                    90.93%
Eastern                          2/29/2020                    93.38%              94.95%                    90.31%
Eastern                           3/7/2020                    92.88%              94.59%                    90.24%
Eastern                          3/14/2020                    92.91%              94.37%                    88.19%
Eastern                          3/21/2020                    93.69%              94.15%                    88.22%
Eastern                          3/28/2020                    93.37%              95.10%                    88.79%


Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                         2
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                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                           4/1/2020                    93.95%              93.45%                    88.85%
Eastern                           4/4/2020                    92.93%              93.34%                    87.38%
Eastern                          4/11/2020                    91.43%              91.62%                    80.24%
Eastern                          4/18/2020                    92.12%              92.55%                    81.49%
Eastern                          4/25/2020                    91.18%              90.27%                    77.48%
Eastern                           5/2/2020                    91.23%              90.78%                    79.48%
Eastern                           5/9/2020                    91.38%              91.40%                    72.02%
Eastern                          5/16/2020                    91.88%              92.85%                    77.68%
Eastern                          5/23/2020                    93.24%              90.27%                    80.40%
Eastern                          5/30/2020                    91.66%              92.04%                    80.77%
Eastern                           6/6/2020                    92.14%              91.98%                    81.58%
Eastern                          6/13/2020                    92.73%              92.57%                    82.71%
Eastern                          6/20/2020                    92.34%              91.98%                    82.02%
Eastern                          6/27/2020                    92.27%              93.63%                    83.13%
Eastern                           7/1/2020                    93.02%              92.33%                    80.62%
Eastern                           7/4/2020                    91.09%              89.09%                    78.91%
Eastern                          7/11/2020                    85.29%              82.02%                    74.92%
Eastern                          7/18/2020                    79.00%              74.45%                    73.60%
Eastern                          7/25/2020                    78.04%              79.19%                    72.43%
Eastern                           8/1/2020                    79.75%              81.17%                    68.68%
Eastern                           8/8/2020                    78.98%              80.10%                    71.14%
Eastern                          8/15/2020                    83.65%              85.46%                    75.94%
Eastern                          8/22/2020                    88.25%              90.73%                    78.16%
Eastern                          8/29/2020                    88.53%              90.51%                    77.46%
Eastern                           9/5/2020                    88.90%              88.92%                    80.83%
Eastern                          9/12/2020                    86.27%              86.20%                    78.87%
Eastern                          9/19/2020                    82.98%              87.18%                    81.00%
Eastern                          9/26/2020                    84.81%              89.98%                    78.69%
Eastern                          10/3/2020                    83.72%              88.29%                    82.54%
Eastern                         10/10/2020                    82.90%              85.10%                    79.03%
Eastern                         10/17/2020                    75.39%              82.14%                    72.63%
Great Lakes                       1/4/2020                    91.09%              91.75%                    85.58%
Great Lakes                      1/11/2020                    90.97%              89.42%                    87.13%
Great Lakes                      1/18/2020                    92.29%              89.60%                    86.96%
Great Lakes                      1/25/2020                    90.07%              90.56%                    86.47%
Great Lakes                       2/1/2020                    88.41%              89.81%                    86.19%
Great Lakes                       2/8/2020                    91.63%              90.76%                    87.53%
Great Lakes                      2/15/2020                    93.02%              91.19%                    87.26%
Great Lakes                      2/22/2020                    92.07%              92.50%                    84.37%
Great Lakes                      2/29/2020                    92.35%              89.88%                    84.11%
Great Lakes                       3/7/2020                    92.02%              91.07%                    86.81%
Great Lakes                      3/14/2020                    91.48%              90.71%                    84.42%
Great Lakes                      3/21/2020                    91.76%              89.84%                    82.94%
Great Lakes                      3/28/2020                    90.41%              88.33%                    82.87%
Great Lakes                       4/1/2020                    90.01%              77.95%                    77.26%
Great Lakes                       4/4/2020                    88.16%              82.15%                    76.87%
Great Lakes                      4/11/2020                    84.87%              79.25%                    73.14%
Great Lakes                      4/18/2020                    88.59%              75.22%                    67.57%
Great Lakes                      4/25/2020                    88.23%              76.82%                    69.61%
Great Lakes                       5/2/2020                    87.51%              76.09%                    57.75%
Great Lakes                       5/9/2020                    87.46%              77.87%                    69.07%
Great Lakes                      5/16/2020                    89.26%              86.85%                    61.82%
Great Lakes                      5/23/2020                    91.17%              87.53%                    74.02%
Great Lakes                      5/30/2020                    89.76%              89.69%                    77.53%
Great Lakes                       6/6/2020                    90.21%              87.33%                    74.99%
Great Lakes                      6/13/2020                    90.97%              89.14%                    74.19%
Great Lakes                      6/20/2020                    89.81%              89.73%                    75.24%


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Commission (PRC) at the end of the quarter.                         3
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                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes                      6/27/2020                    89.77%              91.01%                    76.46%
Great Lakes                       7/1/2020                    90.23%              85.87%                    71.64%
Great Lakes                       7/4/2020                    88.34%              84.28%                    71.03%
Great Lakes                      7/11/2020                    82.40%              79.74%                    70.99%
Great Lakes                      7/18/2020                    81.14%              77.52%                    63.56%
Great Lakes                      7/25/2020                    80.71%              73.47%                    56.85%
Great Lakes                       8/1/2020                    79.49%              71.24%                    58.93%
Great Lakes                       8/8/2020                    79.25%              71.67%                    64.06%
Great Lakes                      8/15/2020                    83.71%              80.19%                    69.20%
Great Lakes                      8/22/2020                    86.38%              83.87%                    71.19%
Great Lakes                      8/29/2020                    87.40%              84.83%                    75.90%
Great Lakes                       9/5/2020                    87.47%              84.88%                    76.27%
Great Lakes                      9/12/2020                    85.18%              85.03%                    72.83%
Great Lakes                      9/19/2020                    78.16%              86.75%                    71.82%
Great Lakes                      9/26/2020                    81.14%              83.62%                    72.51%
Great Lakes                      10/3/2020                    83.53%              82.67%                    69.51%
Great Lakes                     10/10/2020                    83.25%              82.25%                    74.09%
Great Lakes                     10/17/2020                    79.87%              85.71%                    68.95%
Northeast                         1/4/2020                    91.24%              89.76%                    84.39%
Northeast                        1/11/2020                    91.20%              87.80%                    80.59%
Northeast                        1/18/2020                    92.10%              88.72%                    82.77%
Northeast                        1/25/2020                    90.46%              91.32%                    83.49%
Northeast                         2/1/2020                    91.45%              90.47%                    85.06%
Northeast                         2/8/2020                    91.74%              91.17%                    85.51%
Northeast                        2/15/2020                    93.41%              92.07%                    86.55%
Northeast                        2/22/2020                    92.49%              91.98%                    81.32%
Northeast                        2/29/2020                    92.77%              92.03%                    82.54%
Northeast                         3/7/2020                    91.80%              90.96%                    82.34%
Northeast                        3/14/2020                    90.56%              87.27%                    80.50%
Northeast                        3/21/2020                    91.17%              89.73%                    78.18%
Northeast                        3/28/2020                    91.02%              89.99%                    73.87%
Northeast                         4/1/2020                    90.88%              86.98%                    76.26%
Northeast                         4/4/2020                    88.48%              77.40%                    63.52%
Northeast                        4/11/2020                    84.09%              74.19%                    50.42%
Northeast                        4/18/2020                    85.91%              76.41%                    51.08%
Northeast                        4/25/2020                    85.57%              72.43%                    39.24%
Northeast                         5/2/2020                    84.12%              70.03%                    41.35%
Northeast                         5/9/2020                    85.26%              77.96%                    42.51%
Northeast                        5/16/2020                    88.56%              82.29%                    50.58%
Northeast                        5/23/2020                    89.48%              84.53%                    53.41%
Northeast                        5/30/2020                    87.84%              87.90%                    63.01%
Northeast                         6/6/2020                    88.25%              87.13%                    56.93%
Northeast                        6/13/2020                    90.14%              88.42%                    64.55%
Northeast                        6/20/2020                    89.56%              88.73%                    65.60%
Northeast                        6/27/2020                    89.51%              88.39%                    72.75%
Northeast                         7/1/2020                    90.83%              91.06%                    72.12%
Northeast                         7/4/2020                    89.87%              87.65%                    71.70%
Northeast                        7/11/2020                    84.25%              84.79%                    65.70%
Northeast                        7/18/2020                    82.64%              84.28%                    66.32%
Northeast                        7/25/2020                    85.58%              86.14%                    65.67%
Northeast                         8/1/2020                    84.29%              81.54%                    65.51%
Northeast                         8/8/2020                    81.26%              82.96%                    64.34%
Northeast                        8/15/2020                    85.91%              88.91%                    68.93%
Northeast                        8/22/2020                    88.33%              89.24%                    71.73%
Northeast                        8/29/2020                    89.74%              90.17%                    72.70%
Northeast                         9/5/2020                    90.13%              89.12%                    78.47%
Northeast                        9/12/2020                    87.71%              86.36%                    70.70%


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                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast                        9/19/2020                    85.24%              89.17%                    75.71%
Northeast                        9/26/2020                    88.55%              92.06%                    78.59%
Northeast                        10/3/2020                    88.25%              90.32%                    77.52%
Northeast                       10/10/2020                    88.01%              88.06%                    74.58%
Northeast                       10/17/2020                    85.43%              91.30%                    72.59%
Pacific                           1/4/2020                    93.61%              93.21%                    84.80%
Pacific                          1/11/2020                    92.62%              91.93%                    85.16%
Pacific                          1/18/2020                    93.84%              92.32%                    89.86%
Pacific                          1/25/2020                    92.35%              91.46%                    89.13%
Pacific                           2/1/2020                    90.72%              88.77%                    87.07%
Pacific                           2/8/2020                    91.51%              91.83%                    87.96%
Pacific                          2/15/2020                    94.29%              93.61%                    91.85%
Pacific                          2/22/2020                    93.78%              95.10%                    89.31%
Pacific                          2/29/2020                    93.69%              92.77%                    84.15%
Pacific                           3/7/2020                    93.49%              93.46%                    87.32%
Pacific                          3/14/2020                    92.64%              93.28%                    87.73%
Pacific                          3/21/2020                    93.54%              94.51%                    87.73%
Pacific                          3/28/2020                    93.57%              95.26%                    86.96%
Pacific                           4/1/2020                    93.81%              90.31%                    89.12%
Pacific                           4/4/2020                    92.72%              94.14%                    88.47%
Pacific                          4/11/2020                    91.65%              93.72%                    83.55%
Pacific                          4/18/2020                    92.50%              91.95%                    86.33%
Pacific                          4/25/2020                    90.30%              92.08%                    81.57%
Pacific                           5/2/2020                    91.48%              92.89%                    82.21%
Pacific                           5/9/2020                    89.83%              92.48%                    76.42%
Pacific                          5/16/2020                    91.10%              92.80%                    79.79%
Pacific                          5/23/2020                    92.14%              91.87%                    79.56%
Pacific                          5/30/2020                    90.43%              91.48%                    77.38%
Pacific                           6/6/2020                    90.74%              91.61%                    77.79%
Pacific                          6/13/2020                    91.85%              91.48%                    81.97%
Pacific                          6/20/2020                    89.79%              90.86%                    81.10%
Pacific                          6/27/2020                    90.64%              91.67%                    81.63%
Pacific                           7/1/2020                    91.54%              87.77%                    83.93%
Pacific                           7/4/2020                    91.17%              88.17%                    75.26%
Pacific                          7/11/2020                    86.26%              85.84%                    71.24%
Pacific                          7/18/2020                    82.52%              82.14%                    74.54%
Pacific                          7/25/2020                    84.12%              85.11%                    69.36%
Pacific                           8/1/2020                    80.80%              83.60%                    64.08%
Pacific                           8/8/2020                    81.29%              85.75%                    67.68%
Pacific                          8/15/2020                    86.37%              89.32%                    72.57%
Pacific                          8/22/2020                    88.84%              91.04%                    76.21%
Pacific                          8/29/2020                    90.24%              90.64%                    80.06%
Pacific                           9/5/2020                    91.22%              91.11%                    80.99%
Pacific                          9/12/2020                    90.91%              91.51%                    81.10%
Pacific                          9/19/2020                    90.70%              93.56%                    87.02%
Pacific                          9/26/2020                    90.77%              93.35%                    81.83%
Pacific                          10/3/2020                    90.10%              93.63%                    83.00%
Pacific                         10/10/2020                    90.73%              91.92%                    80.21%
Pacific                         10/17/2020                    87.42%              94.13%                    79.07%
Southern                          1/4/2020                    91.96%              91.10%                    84.77%
Southern                         1/11/2020                    91.03%              87.45%                    85.13%
Southern                         1/18/2020                    93.47%              88.19%                    86.46%
Southern                         1/25/2020                    91.52%              90.04%                    88.85%
Southern                          2/1/2020                    91.36%              90.05%                    86.98%
Southern                          2/8/2020                    92.07%              91.64%                    87.48%
Southern                         2/15/2020                    93.87%              91.60%                    88.06%
Southern                         2/22/2020                    92.56%              92.30%                    86.83%


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                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern                         2/29/2020                    93.23%              91.98%                    87.74%
Southern                          3/7/2020                    92.38%              91.56%                    85.73%
Southern                         3/14/2020                    91.83%              90.23%                    85.16%
Southern                         3/21/2020                    93.39%              92.77%                    86.53%
Southern                         3/28/2020                    93.12%              94.98%                    86.48%
Southern                          4/1/2020                    93.38%              91.72%                    88.84%
Southern                          4/4/2020                    92.33%              94.01%                    86.97%
Southern                         4/11/2020                    91.03%              93.61%                    80.96%
Southern                         4/18/2020                    92.56%              93.59%                    86.73%
Southern                         4/25/2020                    91.99%              91.68%                    83.97%
Southern                          5/2/2020                    91.40%              91.60%                    80.60%
Southern                          5/9/2020                    90.61%              90.07%                    71.47%
Southern                         5/16/2020                    92.05%              91.16%                    79.32%
Southern                         5/23/2020                    93.01%              89.87%                    80.48%
Southern                         5/30/2020                    91.22%              91.55%                    81.97%
Southern                          6/6/2020                    90.94%              90.28%                    79.37%
Southern                         6/13/2020                    92.00%              90.90%                    80.87%
Southern                         6/20/2020                    90.63%              90.60%                    81.47%
Southern                         6/27/2020                    90.45%              91.90%                    79.90%
Southern                          7/1/2020                    92.37%              90.16%                    82.94%
Southern                          7/4/2020                    90.68%              87.43%                    77.49%
Southern                         7/11/2020                    84.76%              79.47%                    74.99%
Southern                         7/18/2020                    81.60%              76.82%                    69.06%
Southern                         7/25/2020                    84.82%              80.34%                    71.90%
Southern                          8/1/2020                    84.42%              81.51%                    70.25%
Southern                          8/8/2020                    82.51%              84.94%                    67.60%
Southern                         8/15/2020                    86.42%              86.98%                    71.62%
Southern                         8/22/2020                    88.25%              89.95%                    75.23%
Southern                         8/29/2020                    87.98%              90.47%                    83.86%
Southern                          9/5/2020                    89.50%              87.49%                    79.54%
Southern                         9/12/2020                    87.10%              87.40%                    79.28%
Southern                         9/19/2020                    85.15%              88.82%                    80.46%
Southern                         9/26/2020                    86.61%              90.12%                    80.10%
Southern                         10/3/2020                    86.16%              89.51%                    79.05%
Southern                        10/10/2020                    85.99%              86.23%                    77.57%
Southern                        10/17/2020                    81.89%              87.86%                    76.49%
Western                           1/4/2020                    91.85%              91.52%                    87.68%
Western                          1/11/2020                    90.75%              90.60%                    88.44%
Western                          1/18/2020                    92.92%              91.35%                    87.56%
Western                          1/25/2020                    90.67%              93.22%                    89.11%
Western                           2/1/2020                    90.42%              91.63%                    89.21%
Western                           2/8/2020                    91.82%              93.23%                    91.20%
Western                          2/15/2020                    94.19%              92.59%                    91.04%
Western                          2/22/2020                    93.32%              94.21%                    90.29%
Western                          2/29/2020                    93.54%              94.12%                    88.10%
Western                           3/7/2020                    92.14%              93.33%                    88.26%
Western                          3/14/2020                    92.37%              93.23%                    88.94%
Western                          3/21/2020                    92.56%              94.25%                    88.05%
Western                          3/28/2020                    92.66%              94.77%                    87.13%
Western                           4/1/2020                    93.11%              93.38%                    87.83%
Western                           4/4/2020                    92.16%              94.18%                    85.19%
Western                          4/11/2020                    90.85%              93.38%                    85.44%
Western                          4/18/2020                    92.59%              94.15%                    85.72%
Western                          4/25/2020                    91.33%              93.95%                    81.55%
Western                           5/2/2020                    91.29%              93.19%                    83.64%
Western                           5/9/2020                    90.69%              92.87%                    81.15%
Western                          5/16/2020                    92.65%              94.29%                    83.71%


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                                                            Area ‐ By Week

          Area                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                          5/23/2020                    93.25%              92.86%                    84.07%
Western                          5/30/2020                    90.87%              93.97%                    83.69%
Western                           6/6/2020                    91.43%              92.32%                    83.19%
Western                          6/13/2020                    92.54%              93.64%                    85.51%
Western                          6/20/2020                    92.13%              92.75%                    83.29%
Western                          6/27/2020                    90.95%              93.64%                    87.16%
Western                           7/1/2020                    91.94%              91.87%                    85.42%
Western                           7/4/2020                    91.37%              89.49%                    82.28%
Western                          7/11/2020                    86.80%              88.39%                    81.39%
Western                          7/18/2020                    84.66%              86.94%                    82.10%
Western                          7/25/2020                    87.04%              90.19%                    79.07%
Western                           8/1/2020                    86.05%              88.72%                    79.39%
Western                           8/8/2020                    84.67%              89.79%                    76.24%
Western                          8/15/2020                    86.23%              91.11%                    80.10%
Western                          8/22/2020                    87.48%              93.13%                    81.52%
Western                          8/29/2020                    87.23%              92.48%                    82.57%
Western                           9/5/2020                    88.86%              90.35%                    84.37%
Western                          9/12/2020                    87.12%              90.00%                    83.06%
Western                          9/19/2020                    87.66%              92.59%                    83.96%
Western                          9/26/2020                    87.70%              91.99%                    82.64%
Western                          10/3/2020                    88.38%              93.29%                    82.07%
Western                         10/10/2020                    87.48%              87.39%                    84.12%
Western                         10/17/2020                    82.88%              88.93%                    80.21%




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         Area                  District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Atlanta                             1/4/2020                    92.83%              84.53%                    81.66%
Capital Metro          Atlanta                            1/11/2020                    91.52%              82.35%                    81.44%
Capital Metro          Atlanta                            1/18/2020                    93.84%              79.42%                    87.63%
Capital Metro          Atlanta                            1/25/2020                    91.34%              85.59%                    85.13%
Capital Metro          Atlanta                             2/1/2020                    91.16%              77.71%                    80.65%
Capital Metro          Atlanta                             2/8/2020                    92.55%              86.78%                    87.46%
Capital Metro          Atlanta                            2/15/2020                    94.07%              84.00%                    90.70%
Capital Metro          Atlanta                            2/22/2020                    92.05%              87.86%                    87.92%
Capital Metro          Atlanta                            2/29/2020                    93.18%              83.15%                    78.75%
Capital Metro          Atlanta                             3/7/2020                    92.32%              88.33%                    79.72%
Capital Metro          Atlanta                            3/14/2020                    93.07%              89.46%                    80.15%
Capital Metro          Atlanta                            3/21/2020                    93.61%              89.59%                    84.71%
Capital Metro          Atlanta                            3/28/2020                    93.10%              92.59%                    83.72%
Capital Metro          Atlanta                             4/1/2020                    94.40%              82.00%                    85.27%
Capital Metro          Atlanta                             4/4/2020                    93.18%              83.56%                    83.21%
Capital Metro          Atlanta                            4/11/2020                    92.63%              90.21%                    84.09%
Capital Metro          Atlanta                            4/18/2020                    92.78%              91.55%                    80.77%
Capital Metro          Atlanta                            4/25/2020                    91.58%              87.90%                    78.32%
Capital Metro          Atlanta                             5/2/2020                    92.12%              79.79%                    69.62%
Capital Metro          Atlanta                             5/9/2020                    90.84%              80.79%                    55.69%
Capital Metro          Atlanta                            5/16/2020                    92.63%              82.94%                    59.76%
Capital Metro          Atlanta                            5/23/2020                    92.94%              86.30%                    77.07%
Capital Metro          Atlanta                            5/30/2020                    91.40%              86.04%                    72.59%
Capital Metro          Atlanta                             6/6/2020                    91.02%              76.43%                    72.63%
Capital Metro          Atlanta                            6/13/2020                    91.69%              81.79%                    76.83%
Capital Metro          Atlanta                            6/20/2020                    91.61%              83.74%                    85.04%
Capital Metro          Atlanta                            6/27/2020                    91.49%              88.79%                    83.37%
Capital Metro          Atlanta                             7/1/2020                    91.77%              77.58%                    65.41%
Capital Metro          Atlanta                             7/4/2020                    90.71%              80.35%                    70.00%
Capital Metro          Atlanta                            7/11/2020                    87.14%              76.45%                    65.86%
Capital Metro          Atlanta                            7/18/2020                    85.51%              72.51%                    55.21%
Capital Metro          Atlanta                            7/25/2020                    87.14%              79.36%                    73.20%
Capital Metro          Atlanta                             8/1/2020                    86.59%              72.52%                    71.29%
Capital Metro          Atlanta                             8/8/2020                    83.99%              77.99%                    68.78%
Capital Metro          Atlanta                            8/15/2020                    84.97%              72.34%                    66.85%
Capital Metro          Atlanta                            8/22/2020                    89.79%              80.90%                    79.80%
Capital Metro          Atlanta                            8/29/2020                    90.08%              83.23%                    81.18%
Capital Metro          Atlanta                             9/5/2020                    88.75%              75.27%                    73.21%
Capital Metro          Atlanta                            9/12/2020                    85.36%              76.04%                    76.73%
Capital Metro          Atlanta                            9/19/2020                    82.06%              72.50%                    69.70%
Capital Metro          Atlanta                            9/26/2020                    83.50%              73.58%                    65.74%
Capital Metro          Atlanta                            10/3/2020                    83.78%              72.87%                    62.69%
Capital Metro          Atlanta                           10/10/2020                    82.22%              59.55%                    55.46%
Capital Metro          Atlanta                           10/17/2020                    79.46%              56.97%                    59.14%
Capital Metro          Baltimore                           1/4/2020                    86.86%              83.71%                    82.29%
Capital Metro          Baltimore                          1/11/2020                    86.82%              76.29%                    89.55%
Capital Metro          Baltimore                          1/18/2020                    86.79%              82.91%                    87.64%
Capital Metro          Baltimore                          1/25/2020                    87.34%              88.07%                    83.09%
Capital Metro          Baltimore                           2/1/2020                    89.92%              89.30%                    80.31%
Capital Metro          Baltimore                           2/8/2020                    91.36%              89.82%                    87.77%
Capital Metro          Baltimore                          2/15/2020                    91.56%              88.99%                    86.43%
Capital Metro          Baltimore                          2/22/2020                    91.43%              91.17%                    87.84%
Capital Metro          Baltimore                          2/29/2020                    91.48%              84.23%                    80.89%
Capital Metro          Baltimore                           3/7/2020                    89.48%              90.54%                    88.67%
Capital Metro          Baltimore                          3/14/2020                    91.31%              90.94%                    88.24%
Capital Metro          Baltimore                          3/21/2020                    91.29%              89.01%                    82.65%
Capital Metro          Baltimore                          3/28/2020                    91.85%              93.12%                    87.14%
Capital Metro          Baltimore                           4/1/2020                    91.83%              90.54%                    82.92%

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                                                             District ‐ By Week

         Area                  District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Baltimore                           4/4/2020                    88.77%              87.17%                    84.37%
Capital Metro          Baltimore                          4/11/2020                    86.75%              85.31%                    76.68%
Capital Metro          Baltimore                          4/18/2020                    90.02%              89.80%                    80.94%
Capital Metro          Baltimore                          4/25/2020                    89.10%              85.93%                    70.37%
Capital Metro          Baltimore                           5/2/2020                    85.36%              77.15%                    53.59%
Capital Metro          Baltimore                           5/9/2020                    78.86%              67.20%                    36.73%
Capital Metro          Baltimore                          5/16/2020                    80.89%              66.21%                    27.03%
Capital Metro          Baltimore                          5/23/2020                    88.91%              83.67%                    61.07%
Capital Metro          Baltimore                          5/30/2020                    80.20%              76.24%                    67.31%
Capital Metro          Baltimore                           6/6/2020                    80.99%              73.22%                    67.37%
Capital Metro          Baltimore                          6/13/2020                    86.03%              86.68%                    71.02%
Capital Metro          Baltimore                          6/20/2020                    85.04%              86.87%                    76.76%
Capital Metro          Baltimore                          6/27/2020                    88.46%              93.82%                    79.25%
Capital Metro          Baltimore                           7/1/2020                    89.70%              89.77%                    79.17%
Capital Metro          Baltimore                           7/4/2020                    87.97%              88.03%                    75.78%
Capital Metro          Baltimore                          7/11/2020                    81.36%              84.02%                    67.07%
Capital Metro          Baltimore                          7/18/2020                    77.06%              80.03%                    71.79%
Capital Metro          Baltimore                          7/25/2020                    75.14%              76.00%                    47.70%
Capital Metro          Baltimore                           8/1/2020                    64.05%              65.44%                    53.58%
Capital Metro          Baltimore                           8/8/2020                    59.63%              58.54%                    41.84%
Capital Metro          Baltimore                          8/15/2020                    64.75%              59.57%                    34.88%
Capital Metro          Baltimore                          8/22/2020                    72.59%              73.85%                    34.55%
Capital Metro          Baltimore                          8/29/2020                    59.74%              58.10%                    29.15%
Capital Metro          Baltimore                           9/5/2020                    61.13%              56.11%                    48.36%
Capital Metro          Baltimore                          9/12/2020                    61.24%              59.53%                    61.61%
Capital Metro          Baltimore                          9/19/2020                    60.67%              74.89%                    65.65%
Capital Metro          Baltimore                          9/26/2020                    73.67%              86.97%                    64.91%
Capital Metro          Baltimore                          10/3/2020                    74.49%              82.33%                    67.08%
Capital Metro          Baltimore                         10/10/2020                    65.50%              74.83%                    70.46%
Capital Metro          Baltimore                         10/17/2020                    53.48%              76.38%                    55.16%
Capital Metro          Capital                             1/4/2020                    85.55%              90.55%                    75.82%
Capital Metro          Capital                            1/11/2020                    87.08%              84.24%                    78.84%
Capital Metro          Capital                            1/18/2020                    89.89%              87.11%                    85.30%
Capital Metro          Capital                            1/25/2020                    88.29%              91.06%                    79.31%
Capital Metro          Capital                             2/1/2020                    87.82%              90.08%                    85.54%
Capital Metro          Capital                             2/8/2020                    88.71%              91.03%                    85.00%
Capital Metro          Capital                            2/15/2020                    91.57%              90.28%                    85.44%
Capital Metro          Capital                            2/22/2020                    90.82%              92.49%                    85.60%
Capital Metro          Capital                            2/29/2020                    90.38%              85.57%                    84.59%
Capital Metro          Capital                             3/7/2020                    90.39%              90.03%                    84.79%
Capital Metro          Capital                            3/14/2020                    90.45%              92.77%                    87.14%
Capital Metro          Capital                            3/21/2020                    91.93%              93.43%                    87.92%
Capital Metro          Capital                            3/28/2020                    91.09%              94.16%                    85.12%
Capital Metro          Capital                             4/1/2020                    91.46%              91.93%                    86.95%
Capital Metro          Capital                             4/4/2020                    90.34%              93.96%                    83.32%
Capital Metro          Capital                            4/11/2020                    88.73%              93.43%                    77.77%
Capital Metro          Capital                            4/18/2020                    89.55%              93.38%                    85.53%
Capital Metro          Capital                            4/25/2020                    89.45%              92.36%                    84.13%
Capital Metro          Capital                             5/2/2020                    85.84%              92.01%                    79.30%
Capital Metro          Capital                             5/9/2020                    87.81%              91.47%                    74.73%
Capital Metro          Capital                            5/16/2020                    88.09%              92.30%                    82.03%
Capital Metro          Capital                            5/23/2020                    90.05%              90.62%                    85.17%
Capital Metro          Capital                            5/30/2020                    85.94%              92.11%                    78.82%
Capital Metro          Capital                             6/6/2020                    87.53%              91.45%                    73.32%
Capital Metro          Capital                            6/13/2020                    86.78%              92.44%                    79.71%
Capital Metro          Capital                            6/20/2020                    87.91%              93.63%                    84.40%
Capital Metro          Capital                            6/27/2020                    87.88%              94.34%                    83.01%
Capital Metro          Capital                             7/1/2020                    89.73%              90.81%                    76.96%

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Commission (PRC) at the end of the quarter.                           9
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         Area                  District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Capital                             7/4/2020                    86.45%              89.80%                    77.58%
Capital Metro          Capital                            7/11/2020                    85.59%              89.31%                    66.78%
Capital Metro          Capital                            7/18/2020                    82.48%              86.07%                    74.13%
Capital Metro          Capital                            7/25/2020                    78.11%              82.38%                    70.60%
Capital Metro          Capital                             8/1/2020                    77.27%              82.63%                    63.12%
Capital Metro          Capital                             8/8/2020                    76.75%              84.26%                    69.75%
Capital Metro          Capital                            8/15/2020                    78.24%              84.85%                    66.65%
Capital Metro          Capital                            8/22/2020                    82.07%              88.32%                    60.86%
Capital Metro          Capital                            8/29/2020                    78.37%              87.51%                    65.87%
Capital Metro          Capital                             9/5/2020                    76.34%              81.41%                    68.94%
Capital Metro          Capital                            9/12/2020                    77.28%              82.91%                    64.22%
Capital Metro          Capital                            9/19/2020                    70.97%              86.31%                    75.05%
Capital Metro          Capital                            9/26/2020                    74.13%              86.19%                    64.27%
Capital Metro          Capital                            10/3/2020                    74.44%              82.00%                    60.33%
Capital Metro          Capital                           10/10/2020                    78.09%              87.35%                    64.91%
Capital Metro          Capital                           10/17/2020                    67.43%              92.17%                    76.55%
Capital Metro          Greater S Carolina                  1/4/2020                    93.36%              86.18%                    93.05%
Capital Metro          Greater S Carolina                 1/11/2020                    93.03%              90.56%                    91.15%
Capital Metro          Greater S Carolina                 1/18/2020                    93.06%              85.45%                    90.20%
Capital Metro          Greater S Carolina                 1/25/2020                    93.00%              91.53%                    94.22%
Capital Metro          Greater S Carolina                  2/1/2020                    92.25%              86.52%                    94.86%
Capital Metro          Greater S Carolina                  2/8/2020                    93.48%              93.26%                    93.50%
Capital Metro          Greater S Carolina                 2/15/2020                    94.83%              88.36%                    91.00%
Capital Metro          Greater S Carolina                 2/22/2020                    93.89%              94.29%                    92.48%
Capital Metro          Greater S Carolina                 2/29/2020                    93.88%              86.51%                    94.68%
Capital Metro          Greater S Carolina                  3/7/2020                    92.90%              93.02%                    94.09%
Capital Metro          Greater S Carolina                 3/14/2020                    93.97%              86.79%                    94.75%
Capital Metro          Greater S Carolina                 3/21/2020                    93.70%              94.01%                    94.36%
Capital Metro          Greater S Carolina                 3/28/2020                    95.17%              94.65%                    88.72%
Capital Metro          Greater S Carolina                  4/1/2020                    95.16%              92.85%                    92.29%
Capital Metro          Greater S Carolina                  4/4/2020                    94.24%              95.56%                    94.94%
Capital Metro          Greater S Carolina                 4/11/2020                    93.68%              95.21%                    92.25%
Capital Metro          Greater S Carolina                 4/18/2020                    94.90%              96.28%                    93.93%
Capital Metro          Greater S Carolina                 4/25/2020                    93.76%              93.90%                    82.81%
Capital Metro          Greater S Carolina                  5/2/2020                    93.09%              85.33%                    92.13%
Capital Metro          Greater S Carolina                  5/9/2020                    91.43%              90.39%                    88.82%
Capital Metro          Greater S Carolina                 5/16/2020                    93.83%              91.47%                    87.22%
Capital Metro          Greater S Carolina                 5/23/2020                    93.91%              90.98%                    85.76%
Capital Metro          Greater S Carolina                 5/30/2020                    92.31%              93.87%                    85.87%
Capital Metro          Greater S Carolina                  6/6/2020                    92.09%              90.79%                    90.27%
Capital Metro          Greater S Carolina                 6/13/2020                    92.58%              92.58%                    85.42%
Capital Metro          Greater S Carolina                 6/20/2020                    92.76%              91.95%                    84.24%
Capital Metro          Greater S Carolina                 6/27/2020                    93.24%              94.46%                    88.81%
Capital Metro          Greater S Carolina                  7/1/2020                    93.94%              92.72%                    87.19%
Capital Metro          Greater S Carolina                  7/4/2020                    93.31%              90.64%                    74.70%
Capital Metro          Greater S Carolina                 7/11/2020                    90.37%              75.69%                    75.37%
Capital Metro          Greater S Carolina                 7/18/2020                    86.99%              78.71%                    63.96%
Capital Metro          Greater S Carolina                 7/25/2020                    85.29%              76.82%                    76.12%
Capital Metro          Greater S Carolina                  8/1/2020                    85.08%              75.02%                    72.63%
Capital Metro          Greater S Carolina                  8/8/2020                    78.41%              73.38%                    76.82%
Capital Metro          Greater S Carolina                 8/15/2020                    85.93%              86.42%                    77.36%
Capital Metro          Greater S Carolina                 8/22/2020                    89.70%              85.23%                    82.46%
Capital Metro          Greater S Carolina                 8/29/2020                    89.29%              93.00%                    90.28%
Capital Metro          Greater S Carolina                  9/5/2020                    87.99%              81.99%                    92.00%
Capital Metro          Greater S Carolina                 9/12/2020                    84.53%              84.41%                    84.77%
Capital Metro          Greater S Carolina                 9/19/2020                    79.53%              85.88%                    85.87%
Capital Metro          Greater S Carolina                 9/26/2020                    84.88%              91.10%                    80.72%
Capital Metro          Greater S Carolina                 10/3/2020                    83.48%              90.31%                    91.51%

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         Area                  District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Greater S Carolina                10/10/2020                    81.16%              83.37%                    85.37%
Capital Metro          Greater S Carolina                10/17/2020                    72.69%              85.62%                    80.98%
Capital Metro          Greensboro                          1/4/2020                    90.72%              84.28%                    85.86%
Capital Metro          Greensboro                         1/11/2020                    90.85%              87.38%                    84.62%
Capital Metro          Greensboro                         1/18/2020                    93.16%              90.81%                    84.58%
Capital Metro          Greensboro                         1/25/2020                    91.29%              89.88%                    90.79%
Capital Metro          Greensboro                          2/1/2020                    91.50%              86.19%                    86.97%
Capital Metro          Greensboro                          2/8/2020                    92.51%              91.24%                    90.05%
Capital Metro          Greensboro                         2/15/2020                    94.48%              87.11%                    90.22%
Capital Metro          Greensboro                         2/22/2020                    93.31%              93.03%                    80.02%
Capital Metro          Greensboro                         2/29/2020                    93.21%              86.67%                    86.39%
Capital Metro          Greensboro                          3/7/2020                    93.15%              92.61%                    84.90%
Capital Metro          Greensboro                         3/14/2020                    93.51%              86.68%                    87.56%
Capital Metro          Greensboro                         3/21/2020                    94.42%              94.12%                    88.10%
Capital Metro          Greensboro                         3/28/2020                    94.84%              94.19%                    86.98%
Capital Metro          Greensboro                          4/1/2020                    94.30%              93.60%                    87.15%
Capital Metro          Greensboro                          4/4/2020                    94.45%              95.39%                    85.63%
Capital Metro          Greensboro                         4/11/2020                    93.31%              88.97%                    82.58%
Capital Metro          Greensboro                         4/18/2020                    94.16%              94.40%                    85.19%
Capital Metro          Greensboro                         4/25/2020                    93.45%              92.60%                    80.68%
Capital Metro          Greensboro                          5/2/2020                    92.78%              84.61%                    76.57%
Capital Metro          Greensboro                          5/9/2020                    91.76%              92.17%                    66.91%
Capital Metro          Greensboro                         5/16/2020                    92.97%              89.93%                    78.76%
Capital Metro          Greensboro                         5/23/2020                    93.53%              90.57%                    83.77%
Capital Metro          Greensboro                         5/30/2020                    90.60%              84.87%                    73.63%
Capital Metro          Greensboro                          6/6/2020                    92.05%              92.87%                    73.93%
Capital Metro          Greensboro                         6/13/2020                    90.47%              92.83%                    86.87%
Capital Metro          Greensboro                         6/20/2020                    92.25%              87.07%                    80.89%
Capital Metro          Greensboro                         6/27/2020                    92.34%              94.42%                    80.18%
Capital Metro          Greensboro                          7/1/2020                    93.50%              91.92%                    75.40%
Capital Metro          Greensboro                          7/4/2020                    92.49%              89.41%                    76.51%
Capital Metro          Greensboro                         7/11/2020                    90.23%              83.44%                    70.95%
Capital Metro          Greensboro                         7/18/2020                    86.67%              89.08%                    72.40%
Capital Metro          Greensboro                         7/25/2020                    87.78%              84.40%                    58.31%
Capital Metro          Greensboro                          8/1/2020                    86.42%              78.34%                    67.77%
Capital Metro          Greensboro                          8/8/2020                    83.97%              76.59%                    74.90%
Capital Metro          Greensboro                         8/15/2020                    86.52%              79.80%                    74.81%
Capital Metro          Greensboro                         8/22/2020                    87.31%              91.94%                    72.59%
Capital Metro          Greensboro                         8/29/2020                    88.72%              93.14%                    82.20%
Capital Metro          Greensboro                          9/5/2020                    88.43%              86.42%                    74.63%
Capital Metro          Greensboro                         9/12/2020                    82.42%              76.98%                    68.63%
Capital Metro          Greensboro                         9/19/2020                    78.49%              77.70%                    70.66%
Capital Metro          Greensboro                         9/26/2020                    82.05%              86.47%                    68.52%
Capital Metro          Greensboro                         10/3/2020                    80.64%              83.48%                    77.01%
Capital Metro          Greensboro                        10/10/2020                    79.35%              76.02%                    67.51%
Capital Metro          Greensboro                        10/17/2020                    62.27%              56.37%                    56.59%
Capital Metro          Mid‐Carolinas                       1/4/2020                    91.62%              89.59%                    79.38%
Capital Metro          Mid‐Carolinas                      1/11/2020                    90.67%              72.16%                    72.51%
Capital Metro          Mid‐Carolinas                      1/18/2020                    92.16%              85.40%                    84.42%
Capital Metro          Mid‐Carolinas                      1/25/2020                    90.43%              86.19%                    87.40%
Capital Metro          Mid‐Carolinas                       2/1/2020                    89.41%              84.70%                    86.68%
Capital Metro          Mid‐Carolinas                       2/8/2020                    91.59%              87.19%                    84.92%
Capital Metro          Mid‐Carolinas                      2/15/2020                    93.98%              90.37%                    84.96%
Capital Metro          Mid‐Carolinas                      2/22/2020                    92.83%              92.25%                    84.46%
Capital Metro          Mid‐Carolinas                      2/29/2020                    94.44%              85.10%                    84.12%
Capital Metro          Mid‐Carolinas                       3/7/2020                    93.40%              89.88%                    84.43%
Capital Metro          Mid‐Carolinas                      3/14/2020                    94.08%              88.88%                    85.89%
Capital Metro          Mid‐Carolinas                      3/21/2020                    94.75%              93.46%                    87.55%

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         Area                 District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Mid‐Carolinas                      3/28/2020                    92.91%              95.08%                    87.16%
Capital Metro          Mid‐Carolinas                       4/1/2020                    94.89%              93.95%                    86.36%
Capital Metro          Mid‐Carolinas                       4/4/2020                    94.67%              95.23%                    90.35%
Capital Metro          Mid‐Carolinas                      4/11/2020                    92.86%              95.41%                    83.59%
Capital Metro          Mid‐Carolinas                      4/18/2020                    94.09%              94.51%                    84.84%
Capital Metro          Mid‐Carolinas                      4/25/2020                    92.65%              93.86%                    80.90%
Capital Metro          Mid‐Carolinas                       5/2/2020                    91.54%              89.35%                    77.25%
Capital Metro          Mid‐Carolinas                       5/9/2020                    91.60%              89.85%                    63.52%
Capital Metro          Mid‐Carolinas                      5/16/2020                    93.61%              91.29%                    71.18%
Capital Metro          Mid‐Carolinas                      5/23/2020                    93.01%              89.90%                    79.69%
Capital Metro          Mid‐Carolinas                      5/30/2020                    91.03%              90.35%                    74.81%
Capital Metro          Mid‐Carolinas                       6/6/2020                    92.44%              86.55%                    80.73%
Capital Metro          Mid‐Carolinas                      6/13/2020                    92.65%              91.59%                    78.59%
Capital Metro          Mid‐Carolinas                      6/20/2020                    92.22%              90.89%                    80.35%
Capital Metro          Mid‐Carolinas                      6/27/2020                    92.78%              95.72%                    80.90%
Capital Metro          Mid‐Carolinas                       7/1/2020                    92.83%              93.24%                    84.26%
Capital Metro          Mid‐Carolinas                       7/4/2020                    92.56%              92.91%                    73.52%
Capital Metro          Mid‐Carolinas                      7/11/2020                    88.38%              82.29%                    72.88%
Capital Metro          Mid‐Carolinas                      7/18/2020                    84.26%              71.86%                    64.26%
Capital Metro          Mid‐Carolinas                      7/25/2020                    86.63%              78.98%                    63.00%
Capital Metro          Mid‐Carolinas                       8/1/2020                    87.62%              83.98%                    67.65%
Capital Metro          Mid‐Carolinas                       8/8/2020                    85.35%              81.20%                    68.92%
Capital Metro          Mid‐Carolinas                      8/15/2020                    84.98%              84.22%                    70.66%
Capital Metro          Mid‐Carolinas                      8/22/2020                    88.77%              90.59%                    75.02%
Capital Metro          Mid‐Carolinas                      8/29/2020                    89.77%              93.40%                    68.74%
Capital Metro          Mid‐Carolinas                       9/5/2020                    89.28%              89.33%                    86.80%
Capital Metro          Mid‐Carolinas                      9/12/2020                    89.46%              91.55%                    83.82%
Capital Metro          Mid‐Carolinas                      9/19/2020                    83.41%              93.33%                    81.56%
Capital Metro          Mid‐Carolinas                      9/26/2020                    88.57%              91.26%                    80.83%
Capital Metro          Mid‐Carolinas                      10/3/2020                    86.15%              88.84%                    78.16%
Capital Metro          Mid‐Carolinas                     10/10/2020                    84.66%              88.46%                    79.50%
Capital Metro          Mid‐Carolinas                     10/17/2020                    81.07%              85.35%                    77.54%
Capital Metro          Northern Virginia                   1/4/2020                    89.00%              89.21%                    89.35%
Capital Metro          Northern Virginia                  1/11/2020                    89.88%              88.63%                    90.69%
Capital Metro          Northern Virginia                  1/18/2020                    92.92%              89.56%                    88.25%
Capital Metro          Northern Virginia                  1/25/2020                    92.26%              92.43%                    84.07%
Capital Metro          Northern Virginia                   2/1/2020                    90.63%              92.65%                    86.63%
Capital Metro          Northern Virginia                   2/8/2020                    92.61%              91.33%                    86.93%
Capital Metro          Northern Virginia                  2/15/2020                    93.04%              91.20%                    87.16%
Capital Metro          Northern Virginia                  2/22/2020                    92.19%              93.29%                    88.98%
Capital Metro          Northern Virginia                  2/29/2020                    92.72%              85.83%                    78.08%
Capital Metro          Northern Virginia                   3/7/2020                    91.34%              93.15%                    87.75%
Capital Metro          Northern Virginia                  3/14/2020                    92.65%              93.37%                    89.63%
Capital Metro          Northern Virginia                  3/21/2020                    91.19%              92.39%                    87.76%
Capital Metro          Northern Virginia                  3/28/2020                    93.38%              92.90%                    91.70%
Capital Metro          Northern Virginia                   4/1/2020                    93.67%              90.96%                    89.51%
Capital Metro          Northern Virginia                   4/4/2020                    91.45%              93.31%                    88.61%
Capital Metro          Northern Virginia                  4/11/2020                    90.99%              93.43%                    79.45%
Capital Metro          Northern Virginia                  4/18/2020                    91.84%              94.21%                    87.89%
Capital Metro          Northern Virginia                  4/25/2020                    92.05%              93.77%                    86.79%
Capital Metro          Northern Virginia                   5/2/2020                    90.81%              92.62%                    86.13%
Capital Metro          Northern Virginia                   5/9/2020                    89.04%              92.34%                    81.23%
Capital Metro          Northern Virginia                  5/16/2020                    90.63%              93.43%                    85.67%
Capital Metro          Northern Virginia                  5/23/2020                    92.45%              90.83%                    83.93%
Capital Metro          Northern Virginia                  5/30/2020                    88.14%              92.72%                    86.95%
Capital Metro          Northern Virginia                   6/6/2020                    88.86%              91.10%                    79.65%
Capital Metro          Northern Virginia                  6/13/2020                    90.88%              91.85%                    88.12%
Capital Metro          Northern Virginia                  6/20/2020                    89.85%              92.18%                    85.76%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                 District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Northern Virginia                  6/27/2020                    90.21%              92.82%                    91.37%
Capital Metro          Northern Virginia                   7/1/2020                    90.34%              91.73%                    90.94%
Capital Metro          Northern Virginia                   7/4/2020                    88.03%              90.36%                    86.28%
Capital Metro          Northern Virginia                  7/11/2020                    87.15%              91.38%                    84.32%
Capital Metro          Northern Virginia                  7/18/2020                    83.07%              90.13%                    86.50%
Capital Metro          Northern Virginia                  7/25/2020                    80.98%              87.79%                    88.85%
Capital Metro          Northern Virginia                   8/1/2020                    83.51%              82.41%                    87.18%
Capital Metro          Northern Virginia                   8/8/2020                    80.60%              91.01%                    84.93%
Capital Metro          Northern Virginia                  8/15/2020                    85.44%              90.39%                    84.83%
Capital Metro          Northern Virginia                  8/22/2020                    85.73%              91.96%                    86.94%
Capital Metro          Northern Virginia                  8/29/2020                    85.58%              90.19%                    69.31%
Capital Metro          Northern Virginia                   9/5/2020                    88.43%              84.77%                    87.93%
Capital Metro          Northern Virginia                  9/12/2020                    83.12%              91.20%                    86.56%
Capital Metro          Northern Virginia                  9/19/2020                    75.97%              92.85%                    86.26%
Capital Metro          Northern Virginia                  9/26/2020                    81.42%              92.33%                    86.55%
Capital Metro          Northern Virginia                  10/3/2020                    82.92%              87.53%                    85.56%
Capital Metro          Northern Virginia                 10/10/2020                    84.77%              91.51%                    71.53%
Capital Metro          Northern Virginia                 10/17/2020                    78.04%              93.20%                    82.09%
Capital Metro          Richmond                            1/4/2020                    90.17%              83.72%                    79.95%
Capital Metro          Richmond                           1/11/2020                    88.80%              77.33%                    77.12%
Capital Metro          Richmond                           1/18/2020                    90.70%              82.46%                    83.01%
Capital Metro          Richmond                           1/25/2020                    88.51%              85.74%                    83.94%
Capital Metro          Richmond                            2/1/2020                    86.32%              84.89%                    80.23%
Capital Metro          Richmond                            2/8/2020                    89.01%              85.68%                    83.19%
Capital Metro          Richmond                           2/15/2020                    92.44%              85.85%                    83.65%
Capital Metro          Richmond                           2/22/2020                    90.21%              84.22%                    81.78%
Capital Metro          Richmond                           2/29/2020                    89.67%              81.38%                    82.02%
Capital Metro          Richmond                            3/7/2020                    90.56%              85.06%                    78.02%
Capital Metro          Richmond                           3/14/2020                    90.69%              81.83%                    70.54%
Capital Metro          Richmond                           3/21/2020                    92.77%              88.55%                    78.77%
Capital Metro          Richmond                           3/28/2020                    92.55%              90.56%                    83.19%
Capital Metro          Richmond                            4/1/2020                    92.86%              90.44%                    81.83%
Capital Metro          Richmond                            4/4/2020                    92.03%              89.81%                    81.91%
Capital Metro          Richmond                           4/11/2020                    88.73%              86.94%                    70.90%
Capital Metro          Richmond                           4/18/2020                    91.55%              90.87%                    78.43%
Capital Metro          Richmond                           4/25/2020                    91.91%              89.86%                    71.17%
Capital Metro          Richmond                            5/2/2020                    90.85%              88.42%                    77.14%
Capital Metro          Richmond                            5/9/2020                    89.62%              86.95%                    63.37%
Capital Metro          Richmond                           5/16/2020                    89.87%              89.42%                    80.30%
Capital Metro          Richmond                           5/23/2020                    91.03%              86.95%                    73.66%
Capital Metro          Richmond                           5/30/2020                    88.37%              87.77%                    63.80%
Capital Metro          Richmond                            6/6/2020                    89.36%              84.41%                    70.26%
Capital Metro          Richmond                           6/13/2020                    90.13%              84.86%                    63.99%
Capital Metro          Richmond                           6/20/2020                    88.14%              86.64%                    64.28%
Capital Metro          Richmond                           6/27/2020                    87.28%              88.29%                    66.41%
Capital Metro          Richmond                            7/1/2020                    90.73%              83.21%                    77.07%
Capital Metro          Richmond                            7/4/2020                    88.05%              80.24%                    58.94%
Capital Metro          Richmond                           7/11/2020                    83.23%              75.45%                    54.80%
Capital Metro          Richmond                           7/18/2020                    75.87%              64.94%                    50.32%
Capital Metro          Richmond                           7/25/2020                    78.84%              73.92%                    47.91%
Capital Metro          Richmond                            8/1/2020                    81.64%              81.39%                    53.04%
Capital Metro          Richmond                            8/8/2020                    81.17%              78.19%                    46.69%
Capital Metro          Richmond                           8/15/2020                    85.27%              84.11%                    63.19%
Capital Metro          Richmond                           8/22/2020                    86.18%              87.42%                    69.15%
Capital Metro          Richmond                           8/29/2020                    85.30%              88.54%                    66.81%
Capital Metro          Richmond                            9/5/2020                    84.14%              86.18%                    76.42%
Capital Metro          Richmond                           9/12/2020                    84.44%              85.18%                    65.41%
Capital Metro          Richmond                           9/19/2020                    78.46%              87.48%                    68.39%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                  District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro          Richmond                           9/26/2020                    79.09%              85.63%                    60.34%
Capital Metro          Richmond                           10/3/2020                    83.65%              87.03%                    60.38%
Capital Metro          Richmond                          10/10/2020                    83.95%              82.66%                    53.73%
Capital Metro          Richmond                          10/17/2020                    79.70%              86.42%                    61.51%
Eastern                Appalachian                         1/4/2020                    93.09%              94.10%                    87.17%
Eastern                Appalachian                        1/11/2020                    94.48%              92.04%                    85.39%
Eastern                Appalachian                        1/18/2020                    94.90%              90.18%                    93.26%
Eastern                Appalachian                        1/25/2020                    93.14%              94.56%                    85.48%
Eastern                Appalachian                         2/1/2020                    93.08%              88.65%                    92.36%
Eastern                Appalachian                         2/8/2020                    92.62%              93.19%                    88.58%
Eastern                Appalachian                        2/15/2020                    95.12%              95.46%                    90.88%
Eastern                Appalachian                        2/22/2020                    94.22%              95.26%                    92.02%
Eastern                Appalachian                        2/29/2020                    93.70%              89.24%                    91.57%
Eastern                Appalachian                         3/7/2020                    93.94%              90.69%                    92.06%
Eastern                Appalachian                        3/14/2020                    93.20%              94.13%                    81.04%
Eastern                Appalachian                        3/21/2020                    94.60%              95.30%                    90.53%
Eastern                Appalachian                        3/28/2020                    93.61%              96.79%                    92.04%
Eastern                Appalachian                         4/1/2020                    94.86%              95.09%                    92.56%
Eastern                Appalachian                         4/4/2020                    94.73%              93.47%                    87.76%
Eastern                Appalachian                        4/11/2020                    94.28%              95.46%                    85.36%
Eastern                Appalachian                        4/18/2020                    94.06%              95.63%                    90.22%
Eastern                Appalachian                        4/25/2020                    94.34%              93.72%                    86.43%
Eastern                Appalachian                         5/2/2020                    94.38%              86.91%                    82.54%
Eastern                Appalachian                         5/9/2020                    92.59%              92.40%                    83.56%
Eastern                Appalachian                        5/16/2020                    93.37%              89.03%                    83.03%
Eastern                Appalachian                        5/23/2020                    94.47%              92.47%                    86.52%
Eastern                Appalachian                        5/30/2020                    92.89%              95.96%                    86.01%
Eastern                Appalachian                         6/6/2020                    93.23%              88.44%                    86.65%
Eastern                Appalachian                        6/13/2020                    93.75%              94.57%                    83.39%
Eastern                Appalachian                        6/20/2020                    93.04%              94.78%                    82.92%
Eastern                Appalachian                        6/27/2020                    93.09%              95.32%                    87.66%
Eastern                Appalachian                         7/1/2020                    94.35%              94.70%                    89.91%
Eastern                Appalachian                         7/4/2020                    93.34%              92.88%                    82.54%
Eastern                Appalachian                        7/11/2020                    89.80%              92.18%                    79.81%
Eastern                Appalachian                        7/18/2020                    86.32%              91.39%                    83.84%
Eastern                Appalachian                        7/25/2020                    84.59%              91.52%                    69.04%
Eastern                Appalachian                         8/1/2020                    88.41%              86.38%                    81.92%
Eastern                Appalachian                         8/8/2020                    85.65%              88.53%                    78.98%
Eastern                Appalachian                        8/15/2020                    88.23%              93.03%                    75.47%
Eastern                Appalachian                        8/22/2020                    90.28%              92.85%                    78.80%
Eastern                Appalachian                        8/29/2020                    88.40%              91.42%                    84.78%
Eastern                Appalachian                         9/5/2020                    90.75%              83.66%                    84.91%
Eastern                Appalachian                        9/12/2020                    84.41%              87.31%                    77.51%
Eastern                Appalachian                        9/19/2020                    82.51%              88.13%                    80.19%
Eastern                Appalachian                        9/26/2020                    82.70%              92.87%                    77.01%
Eastern                Appalachian                        10/3/2020                    80.37%              88.56%                    84.36%
Eastern                Appalachian                       10/10/2020                    85.41%              91.68%                    83.28%
Eastern                Appalachian                       10/17/2020                    81.94%              92.20%                    82.19%
Eastern                Central Pennsylvania                1/4/2020                    92.66%              90.72%                    82.45%
Eastern                Central Pennsylvania               1/11/2020                    92.32%              88.10%                    87.96%
Eastern                Central Pennsylvania               1/18/2020                    93.43%              91.57%                    90.51%
Eastern                Central Pennsylvania               1/25/2020                    92.88%              93.32%                    86.26%
Eastern                Central Pennsylvania                2/1/2020                    92.83%              93.23%                    91.05%
Eastern                Central Pennsylvania                2/8/2020                    93.78%              93.03%                    86.80%
Eastern                Central Pennsylvania               2/15/2020                    94.98%              94.31%                    91.70%
Eastern                Central Pennsylvania               2/22/2020                    93.12%              94.48%                    88.13%
Eastern                Central Pennsylvania               2/29/2020                    93.28%              94.11%                    90.13%
Eastern                Central Pennsylvania                3/7/2020                    92.79%              93.62%                    89.89%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Central Pennsylvania               3/14/2020                    92.71%              94.40%                    88.56%
Eastern                Central Pennsylvania               3/21/2020                    93.82%              93.85%                    87.07%
Eastern                Central Pennsylvania               3/28/2020                    94.33%              93.15%                    88.97%
Eastern                Central Pennsylvania                4/1/2020                    92.96%              95.00%                    89.49%
Eastern                Central Pennsylvania                4/4/2020                    92.56%              90.00%                    89.04%
Eastern                Central Pennsylvania               4/11/2020                    92.08%              86.40%                    78.01%
Eastern                Central Pennsylvania               4/18/2020                    91.28%              88.29%                    79.59%
Eastern                Central Pennsylvania               4/25/2020                    90.82%              83.97%                    70.93%
Eastern                Central Pennsylvania                5/2/2020                    91.50%              90.03%                    79.75%
Eastern                Central Pennsylvania                5/9/2020                    91.58%              92.56%                    77.05%
Eastern                Central Pennsylvania               5/16/2020                    92.36%              93.80%                    80.68%
Eastern                Central Pennsylvania               5/23/2020                    92.87%              88.67%                    85.48%
Eastern                Central Pennsylvania               5/30/2020                    92.40%              90.75%                    83.87%
Eastern                Central Pennsylvania                6/6/2020                    93.12%              88.95%                    85.56%
Eastern                Central Pennsylvania               6/13/2020                    93.14%              89.37%                    82.75%
Eastern                Central Pennsylvania               6/20/2020                    92.71%              89.82%                    80.54%
Eastern                Central Pennsylvania               6/27/2020                    91.61%              90.34%                    85.52%
Eastern                Central Pennsylvania                7/1/2020                    91.69%              93.53%                    80.28%
Eastern                Central Pennsylvania                7/4/2020                    91.50%              88.56%                    83.52%
Eastern                Central Pennsylvania               7/11/2020                    83.82%              77.15%                    72.53%
Eastern                Central Pennsylvania               7/18/2020                    67.52%              61.63%                    70.74%
Eastern                Central Pennsylvania               7/25/2020                    71.59%              73.81%                    70.44%
Eastern                Central Pennsylvania                8/1/2020                    76.04%              76.12%                    70.51%
Eastern                Central Pennsylvania                8/8/2020                    73.60%              74.05%                    69.52%
Eastern                Central Pennsylvania               8/15/2020                    80.62%              83.16%                    72.59%
Eastern                Central Pennsylvania               8/22/2020                    85.06%              90.96%                    76.14%
Eastern                Central Pennsylvania               8/29/2020                    87.59%              89.14%                    81.41%
Eastern                Central Pennsylvania                9/5/2020                    88.06%              88.21%                    83.76%
Eastern                Central Pennsylvania               9/12/2020                    86.00%              88.25%                    79.53%
Eastern                Central Pennsylvania               9/19/2020                    84.04%              80.48%                    78.66%
Eastern                Central Pennsylvania               9/26/2020                    85.22%              88.70%                    74.86%
Eastern                Central Pennsylvania               10/3/2020                    83.23%              88.70%                    78.57%
Eastern                Central Pennsylvania              10/10/2020                    79.63%              87.97%                    80.83%
Eastern                Central Pennsylvania              10/17/2020                    65.96%              69.34%                    73.65%
Eastern                Kentuckiana                         1/4/2020                    92.04%              95.43%                    90.03%
Eastern                Kentuckiana                        1/11/2020                    93.00%              93.87%                    89.77%
Eastern                Kentuckiana                        1/18/2020                    93.79%              93.20%                    91.07%
Eastern                Kentuckiana                        1/25/2020                    91.97%              94.86%                    87.05%
Eastern                Kentuckiana                         2/1/2020                    92.42%              94.10%                    92.16%
Eastern                Kentuckiana                         2/8/2020                    93.33%              94.37%                    90.67%
Eastern                Kentuckiana                        2/15/2020                    94.28%              93.89%                    89.02%
Eastern                Kentuckiana                        2/22/2020                    93.32%              95.74%                    91.55%
Eastern                Kentuckiana                        2/29/2020                    93.01%              95.34%                    90.04%
Eastern                Kentuckiana                         3/7/2020                    92.77%              94.85%                    91.18%
Eastern                Kentuckiana                        3/14/2020                    92.94%              94.32%                    90.14%
Eastern                Kentuckiana                        3/21/2020                    93.65%              94.84%                    91.72%
Eastern                Kentuckiana                        3/28/2020                    94.05%              95.42%                    88.17%
Eastern                Kentuckiana                         4/1/2020                    94.41%              95.69%                    88.24%
Eastern                Kentuckiana                         4/4/2020                    93.92%              95.94%                    87.16%
Eastern                Kentuckiana                        4/11/2020                    93.27%              95.91%                    77.88%
Eastern                Kentuckiana                        4/18/2020                    93.19%              95.13%                    84.88%
Eastern                Kentuckiana                        4/25/2020                    91.33%              95.17%                    74.85%
Eastern                Kentuckiana                         5/2/2020                    90.60%              95.25%                    79.77%
Eastern                Kentuckiana                         5/9/2020                    90.48%              93.48%                    74.72%
Eastern                Kentuckiana                        5/16/2020                    90.68%              93.51%                    77.45%
Eastern                Kentuckiana                        5/23/2020                    92.20%              91.68%                    84.76%
Eastern                Kentuckiana                        5/30/2020                    91.41%              94.06%                    84.89%
Eastern                Kentuckiana                         6/6/2020                    91.23%              94.37%                    83.79%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Kentuckiana                        6/13/2020                    92.25%              94.52%                    85.00%
Eastern                Kentuckiana                        6/20/2020                    92.05%              94.54%                    87.28%
Eastern                Kentuckiana                        6/27/2020                    92.04%              93.03%                    89.48%
Eastern                Kentuckiana                         7/1/2020                    93.11%              91.81%                    79.42%
Eastern                Kentuckiana                         7/4/2020                    90.74%              89.78%                    81.21%
Eastern                Kentuckiana                        7/11/2020                    87.65%              84.98%                    75.91%
Eastern                Kentuckiana                        7/18/2020                    81.86%              82.89%                    77.02%
Eastern                Kentuckiana                        7/25/2020                    84.19%              84.55%                    77.24%
Eastern                Kentuckiana                         8/1/2020                    84.28%              82.74%                    65.06%
Eastern                Kentuckiana                         8/8/2020                    79.31%              76.60%                    63.63%
Eastern                Kentuckiana                        8/15/2020                    85.96%              81.65%                    76.82%
Eastern                Kentuckiana                        8/22/2020                    90.15%              92.52%                    78.39%
Eastern                Kentuckiana                        8/29/2020                    89.92%              92.31%                    84.06%
Eastern                Kentuckiana                         9/5/2020                    89.44%              94.00%                    82.74%
Eastern                Kentuckiana                        9/12/2020                    87.53%              91.98%                    87.18%
Eastern                Kentuckiana                        9/19/2020                    83.87%              92.40%                    84.64%
Eastern                Kentuckiana                        9/26/2020                    86.06%              94.12%                    82.30%
Eastern                Kentuckiana                        10/3/2020                    84.15%              94.29%                    79.12%
Eastern                Kentuckiana                       10/10/2020                    86.60%              93.91%                    85.30%
Eastern                Kentuckiana                       10/17/2020                    81.53%              93.73%                    79.98%
Eastern                Northern Ohio                       1/4/2020                    93.18%              95.79%                    93.99%
Eastern                Northern Ohio                      1/11/2020                    93.53%              94.99%                    91.16%
Eastern                Northern Ohio                      1/18/2020                    94.49%              93.81%                    93.10%
Eastern                Northern Ohio                      1/25/2020                    92.83%              95.39%                    90.46%
Eastern                Northern Ohio                       2/1/2020                    93.02%              95.18%                    95.22%
Eastern                Northern Ohio                       2/8/2020                    94.00%              95.74%                    93.11%
Eastern                Northern Ohio                      2/15/2020                    94.94%              94.81%                    91.66%
Eastern                Northern Ohio                      2/22/2020                    93.64%              95.44%                    91.66%
Eastern                Northern Ohio                      2/29/2020                    93.99%              95.17%                    91.81%
Eastern                Northern Ohio                       3/7/2020                    93.94%              96.16%                    92.30%
Eastern                Northern Ohio                      3/14/2020                    94.00%              96.43%                    89.03%
Eastern                Northern Ohio                      3/21/2020                    94.42%              95.07%                    91.24%
Eastern                Northern Ohio                      3/28/2020                    93.09%              94.55%                    89.02%
Eastern                Northern Ohio                       4/1/2020                    91.85%              91.11%                    90.54%
Eastern                Northern Ohio                       4/4/2020                    90.65%              89.05%                    86.37%
Eastern                Northern Ohio                      4/11/2020                    87.36%              87.68%                    83.77%
Eastern                Northern Ohio                      4/18/2020                    89.41%              89.36%                    76.24%
Eastern                Northern Ohio                      4/25/2020                    87.34%              88.12%                    78.89%
Eastern                Northern Ohio                       5/2/2020                    89.54%              87.65%                    84.22%
Eastern                Northern Ohio                       5/9/2020                    89.91%              87.72%                    73.74%
Eastern                Northern Ohio                      5/16/2020                    92.11%              92.34%                    82.36%
Eastern                Northern Ohio                      5/23/2020                    94.20%              90.86%                    81.76%
Eastern                Northern Ohio                      5/30/2020                    92.75%              94.06%                    86.49%
Eastern                Northern Ohio                       6/6/2020                    92.65%              94.61%                    83.77%
Eastern                Northern Ohio                      6/13/2020                    93.41%              93.58%                    86.30%
Eastern                Northern Ohio                      6/20/2020                    91.46%              91.91%                    78.76%
Eastern                Northern Ohio                      6/27/2020                    91.54%              93.20%                    80.81%
Eastern                Northern Ohio                       7/1/2020                    92.66%              89.42%                    74.07%
Eastern                Northern Ohio                       7/4/2020                    91.44%              90.12%                    74.18%
Eastern                Northern Ohio                      7/11/2020                    82.86%              72.29%                    77.11%
Eastern                Northern Ohio                      7/18/2020                    75.74%              58.74%                    76.11%
Eastern                Northern Ohio                      7/25/2020                    66.92%              66.28%                    69.18%
Eastern                Northern Ohio                       8/1/2020                    64.69%              72.86%                    78.83%
Eastern                Northern Ohio                       8/8/2020                    63.60%              63.10%                    75.70%
Eastern                Northern Ohio                      8/15/2020                    72.28%              76.85%                    79.06%
Eastern                Northern Ohio                      8/22/2020                    85.29%              90.99%                    79.65%
Eastern                Northern Ohio                      8/29/2020                    88.05%              92.54%                    83.12%
Eastern                Northern Ohio                       9/5/2020                    88.62%              90.09%                    84.74%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Northern Ohio                      9/12/2020                    85.40%              85.30%                    81.60%
Eastern                Northern Ohio                      9/19/2020                    82.72%              83.29%                    85.43%
Eastern                Northern Ohio                      9/26/2020                    85.12%              86.55%                    82.08%
Eastern                Northern Ohio                      10/3/2020                    84.32%              88.68%                    88.16%
Eastern                Northern Ohio                     10/10/2020                    78.67%              73.96%                    79.84%
Eastern                Northern Ohio                     10/17/2020                    76.04%              70.62%                    80.49%
Eastern                Ohio Valley                         1/4/2020                    91.27%              91.61%                    86.04%
Eastern                Ohio Valley                        1/11/2020                    91.76%              90.02%                    86.16%
Eastern                Ohio Valley                        1/18/2020                    93.90%              91.27%                    90.55%
Eastern                Ohio Valley                        1/25/2020                    91.57%              92.55%                    83.11%
Eastern                Ohio Valley                         2/1/2020                    90.55%              91.25%                    87.40%
Eastern                Ohio Valley                         2/8/2020                    92.06%              89.87%                    88.72%
Eastern                Ohio Valley                        2/15/2020                    93.44%              91.70%                    89.86%
Eastern                Ohio Valley                        2/22/2020                    91.21%              92.96%                    88.16%
Eastern                Ohio Valley                        2/29/2020                    91.82%              93.19%                    82.35%
Eastern                Ohio Valley                         3/7/2020                    91.49%              92.80%                    86.32%
Eastern                Ohio Valley                        3/14/2020                    91.82%              92.80%                    87.21%
Eastern                Ohio Valley                        3/21/2020                    92.79%              92.67%                    88.74%
Eastern                Ohio Valley                        3/28/2020                    91.36%              94.78%                    86.81%
Eastern                Ohio Valley                         4/1/2020                    93.78%              92.36%                    86.86%
Eastern                Ohio Valley                         4/4/2020                    92.48%              94.23%                    88.10%
Eastern                Ohio Valley                        4/11/2020                    90.37%              95.14%                    87.88%
Eastern                Ohio Valley                        4/18/2020                    91.77%              94.88%                    86.97%
Eastern                Ohio Valley                        4/25/2020                    90.78%              94.27%                    81.99%
Eastern                Ohio Valley                         5/2/2020                    91.58%              93.12%                    80.78%
Eastern                Ohio Valley                         5/9/2020                    91.93%              92.82%                    80.20%
Eastern                Ohio Valley                        5/16/2020                    92.01%              94.15%                    77.91%
Eastern                Ohio Valley                        5/23/2020                    92.88%              90.09%                    83.54%
Eastern                Ohio Valley                        5/30/2020                    90.20%              88.75%                    79.36%
Eastern                Ohio Valley                         6/6/2020                    90.59%              91.34%                    83.44%
Eastern                Ohio Valley                        6/13/2020                    91.44%              91.49%                    84.21%
Eastern                Ohio Valley                        6/20/2020                    92.06%              89.51%                    79.64%
Eastern                Ohio Valley                        6/27/2020                    91.77%              93.03%                    81.89%
Eastern                Ohio Valley                         7/1/2020                    93.31%              90.31%                    87.56%
Eastern                Ohio Valley                         7/4/2020                    89.88%              83.39%                    65.16%
Eastern                Ohio Valley                        7/11/2020                    81.55%              76.38%                    80.62%
Eastern                Ohio Valley                        7/18/2020                    75.38%              69.50%                    80.51%
Eastern                Ohio Valley                        7/25/2020                    69.71%              70.10%                    73.02%
Eastern                Ohio Valley                         8/1/2020                    75.76%              75.55%                    77.58%
Eastern                Ohio Valley                         8/8/2020                    80.64%              82.44%                    76.33%
Eastern                Ohio Valley                        8/15/2020                    83.26%              87.70%                    87.02%
Eastern                Ohio Valley                        8/22/2020                    87.92%              90.68%                    76.26%
Eastern                Ohio Valley                        8/29/2020                    85.26%              88.63%                    80.59%
Eastern                Ohio Valley                         9/5/2020                    85.51%              85.88%                    83.61%
Eastern                Ohio Valley                        9/12/2020                    83.13%              84.23%                    78.54%
Eastern                Ohio Valley                        9/19/2020                    78.72%              88.19%                    87.53%
Eastern                Ohio Valley                        9/26/2020                    82.10%              87.52%                    77.07%
Eastern                Ohio Valley                        10/3/2020                    82.07%              83.90%                    83.02%
Eastern                Ohio Valley                       10/10/2020                    82.25%              84.87%                    81.13%
Eastern                Ohio Valley                       10/17/2020                    76.15%              82.59%                    83.22%
Eastern                Philadelphia Metropo                1/4/2020                    87.22%              87.17%                    80.73%
Eastern                Philadelphia Metropo               1/11/2020                    92.29%              81.51%                    86.47%
Eastern                Philadelphia Metropo               1/18/2020                    93.23%              92.18%                    91.57%
Eastern                Philadelphia Metropo               1/25/2020                    90.54%              93.84%                    88.24%
Eastern                Philadelphia Metropo                2/1/2020                    92.32%              94.48%                    88.08%
Eastern                Philadelphia Metropo                2/8/2020                    93.65%              95.31%                    88.77%
Eastern                Philadelphia Metropo               2/15/2020                    95.40%              95.51%                    91.20%
Eastern                Philadelphia Metropo               2/22/2020                    94.36%              96.28%                    90.11%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Philadelphia Metropo               2/29/2020                    94.52%              95.16%                    91.09%
Eastern                Philadelphia Metropo                3/7/2020                    93.17%              94.74%                    89.85%
Eastern                Philadelphia Metropo               3/14/2020                    93.44%              93.80%                    81.98%
Eastern                Philadelphia Metropo               3/21/2020                    93.79%              94.66%                    87.46%
Eastern                Philadelphia Metropo               3/28/2020                    93.46%              90.56%                    91.58%
Eastern                Philadelphia Metropo                4/1/2020                    94.26%              94.64%                    90.47%
Eastern                Philadelphia Metropo                4/4/2020                    92.71%              92.47%                    81.46%
Eastern                Philadelphia Metropo               4/11/2020                    92.35%              88.18%                    66.86%
Eastern                Philadelphia Metropo               4/18/2020                    92.38%              87.10%                    71.69%
Eastern                Philadelphia Metropo               4/25/2020                    91.54%              81.81%                    74.81%
Eastern                Philadelphia Metropo                5/2/2020                    91.30%              89.32%                    79.34%
Eastern                Philadelphia Metropo                5/9/2020                    92.01%              92.25%                    68.98%
Eastern                Philadelphia Metropo               5/16/2020                    90.11%              91.89%                    75.65%
Eastern                Philadelphia Metropo               5/23/2020                    92.07%              87.60%                    78.97%
Eastern                Philadelphia Metropo               5/30/2020                    90.29%              89.52%                    76.47%
Eastern                Philadelphia Metropo                6/6/2020                    91.12%              87.09%                    76.55%
Eastern                Philadelphia Metropo               6/13/2020                    92.54%              88.93%                    81.85%
Eastern                Philadelphia Metropo               6/20/2020                    92.28%              90.39%                    80.52%
Eastern                Philadelphia Metropo               6/27/2020                    91.56%              85.49%                    83.58%
Eastern                Philadelphia Metropo                7/1/2020                    91.69%              93.36%                    81.86%
Eastern                Philadelphia Metropo                7/4/2020                    87.05%              89.25%                    78.64%
Eastern                Philadelphia Metropo               7/11/2020                    87.91%              76.13%                    60.15%
Eastern                Philadelphia Metropo               7/18/2020                    83.30%              78.19%                    68.90%
Eastern                Philadelphia Metropo               7/25/2020                    84.55%              84.38%                    69.56%
Eastern                Philadelphia Metropo                8/1/2020                    83.69%              78.84%                    62.23%
Eastern                Philadelphia Metropo                8/8/2020                    79.10%              78.50%                    69.52%
Eastern                Philadelphia Metropo               8/15/2020                    85.86%              82.83%                    72.37%
Eastern                Philadelphia Metropo               8/22/2020                    88.71%              90.08%                    73.74%
Eastern                Philadelphia Metropo               8/29/2020                    88.06%              89.93%                    65.77%
Eastern                Philadelphia Metropo                9/5/2020                    88.65%              87.10%                    67.76%
Eastern                Philadelphia Metropo               9/12/2020                    87.99%              86.04%                    60.20%
Eastern                Philadelphia Metropo               9/19/2020                    78.76%              82.88%                    57.88%
Eastern                Philadelphia Metropo               9/26/2020                    83.04%              82.11%                    63.06%
Eastern                Philadelphia Metropo               10/3/2020                    79.67%              74.19%                    59.33%
Eastern                Philadelphia Metropo              10/10/2020                    76.92%              68.98%                    51.47%
Eastern                Philadelphia Metropo              10/17/2020                    58.85%              62.21%                    46.24%
Eastern                South Jersey                        1/4/2020                    91.57%              91.69%                    91.43%
Eastern                South Jersey                       1/11/2020                    92.42%              91.24%                    90.54%
Eastern                South Jersey                       1/18/2020                    93.60%              93.65%                    90.51%
Eastern                South Jersey                       1/25/2020                    91.86%              94.54%                    92.65%
Eastern                South Jersey                        2/1/2020                    92.29%              94.27%                    91.64%
Eastern                South Jersey                        2/8/2020                    93.17%              95.63%                    93.66%
Eastern                South Jersey                       2/15/2020                    94.25%              95.87%                    92.93%
Eastern                South Jersey                       2/22/2020                    93.27%              96.15%                    92.23%
Eastern                South Jersey                       2/29/2020                    93.89%              95.78%                    91.65%
Eastern                South Jersey                        3/7/2020                    92.34%              95.74%                    87.52%
Eastern                South Jersey                       3/14/2020                    92.62%              94.09%                    90.01%
Eastern                South Jersey                       3/21/2020                    93.66%              92.47%                    85.58%
Eastern                South Jersey                       3/28/2020                    92.01%              89.19%                    85.66%
Eastern                South Jersey                        4/1/2020                    94.40%              92.15%                    73.88%
Eastern                South Jersey                        4/4/2020                    92.96%              94.15%                    90.39%
Eastern                South Jersey                       4/11/2020                    91.23%              92.32%                    86.34%
Eastern                South Jersey                       4/18/2020                    92.29%              87.61%                    89.21%
Eastern                South Jersey                       4/25/2020                    91.27%              85.78%                    86.80%
Eastern                South Jersey                        5/2/2020                    89.35%              80.26%                    80.76%
Eastern                South Jersey                        5/9/2020                    89.80%              85.90%                    72.08%
Eastern                South Jersey                       5/16/2020                    90.86%              92.11%                    79.03%
Eastern                South Jersey                       5/23/2020                    92.97%              90.72%                    86.88%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
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          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                South Jersey                       5/30/2020                    90.14%              92.84%                    78.19%
Eastern                South Jersey                        6/6/2020                    91.99%              91.11%                    81.20%
Eastern                South Jersey                       6/13/2020                    91.94%              91.54%                    80.11%
Eastern                South Jersey                       6/20/2020                    91.81%              92.74%                    84.50%
Eastern                South Jersey                       6/27/2020                    92.61%              89.68%                    89.19%
Eastern                South Jersey                        7/1/2020                    93.10%              93.57%                    74.95%
Eastern                South Jersey                        7/4/2020                    91.67%              92.63%                    86.74%
Eastern                South Jersey                       7/11/2020                    87.08%              89.80%                    75.99%
Eastern                South Jersey                       7/18/2020                    83.25%              86.25%                    68.92%
Eastern                South Jersey                       7/25/2020                    85.45%              87.03%                    75.63%
Eastern                South Jersey                        8/1/2020                    77.54%              77.12%                    71.80%
Eastern                South Jersey                        8/8/2020                    81.18%              83.11%                    73.77%
Eastern                South Jersey                       8/15/2020                    84.56%              88.50%                    77.54%
Eastern                South Jersey                       8/22/2020                    88.65%              90.64%                    84.98%
Eastern                South Jersey                       8/29/2020                    89.90%              92.00%                    78.12%
Eastern                South Jersey                        9/5/2020                    89.28%              92.55%                    88.15%
Eastern                South Jersey                       9/12/2020                    87.09%              87.13%                    81.41%
Eastern                South Jersey                       9/19/2020                    80.69%              90.86%                    79.00%
Eastern                South Jersey                       9/26/2020                    82.61%              91.97%                    83.18%
Eastern                South Jersey                       10/3/2020                    80.52%              87.66%                    82.21%
Eastern                South Jersey                      10/10/2020                    83.90%              85.12%                    80.74%
Eastern                South Jersey                      10/17/2020                    74.20%              89.15%                    76.14%
Eastern                Tennessee                           1/4/2020                    91.55%              90.33%                    85.26%
Eastern                Tennessee                          1/11/2020                    90.94%              89.55%                    85.66%
Eastern                Tennessee                          1/18/2020                    93.67%              90.52%                    91.89%
Eastern                Tennessee                          1/25/2020                    92.26%              92.03%                    85.26%
Eastern                Tennessee                           2/1/2020                    91.73%              91.39%                    81.45%
Eastern                Tennessee                           2/8/2020                    92.46%              92.89%                    87.56%
Eastern                Tennessee                          2/15/2020                    94.67%              92.64%                    85.22%
Eastern                Tennessee                          2/22/2020                    93.22%              94.72%                    92.25%
Eastern                Tennessee                          2/29/2020                    92.79%              93.34%                    90.14%
Eastern                Tennessee                           3/7/2020                    92.19%              92.15%                    91.73%
Eastern                Tennessee                          3/14/2020                    91.84%              92.51%                    90.48%
Eastern                Tennessee                          3/21/2020                    92.61%              92.74%                    87.85%
Eastern                Tennessee                          3/28/2020                    94.54%              95.32%                    87.56%
Eastern                Tennessee                           4/1/2020                    94.11%              90.96%                    83.07%
Eastern                Tennessee                           4/4/2020                    93.79%              92.08%                    83.95%
Eastern                Tennessee                          4/11/2020                    91.00%              92.52%                    76.83%
Eastern                Tennessee                          4/18/2020                    92.63%              93.17%                    78.33%
Eastern                Tennessee                          4/25/2020                    91.19%              92.12%                    75.71%
Eastern                Tennessee                           5/2/2020                    89.13%              90.83%                    73.39%
Eastern                Tennessee                           5/9/2020                    90.85%              88.39%                    58.63%
Eastern                Tennessee                          5/16/2020                    92.00%              87.74%                    63.07%
Eastern                Tennessee                          5/23/2020                    92.92%              83.75%                    65.98%
Eastern                Tennessee                          5/30/2020                    91.61%              87.01%                    74.38%
Eastern                Tennessee                           6/6/2020                    92.08%              87.51%                    70.52%
Eastern                Tennessee                          6/13/2020                    92.10%              90.71%                    72.66%
Eastern                Tennessee                          6/20/2020                    91.82%              89.49%                    77.30%
Eastern                Tennessee                          6/27/2020                    92.75%              92.28%                    74.48%
Eastern                Tennessee                           7/1/2020                    92.85%              87.07%                    72.46%
Eastern                Tennessee                           7/4/2020                    91.17%              84.32%                    70.51%
Eastern                Tennessee                          7/11/2020                    85.25%              82.98%                    75.01%
Eastern                Tennessee                          7/18/2020                    80.29%              74.93%                    66.23%
Eastern                Tennessee                          7/25/2020                    81.21%              79.85%                    76.85%
Eastern                Tennessee                           8/1/2020                    86.02%              84.62%                    49.79%
Eastern                Tennessee                           8/8/2020                    86.31%              86.80%                    73.94%
Eastern                Tennessee                          8/15/2020                    88.70%              85.62%                    68.94%
Eastern                Tennessee                          8/22/2020                    88.93%              86.45%                    76.18%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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          Area                District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Tennessee                          8/29/2020                    88.96%              86.01%                    71.29%
Eastern                Tennessee                           9/5/2020                    90.21%              83.53%                    71.89%
Eastern                Tennessee                          9/12/2020                    84.43%              81.22%                    74.13%
Eastern                Tennessee                          9/19/2020                    84.93%              82.60%                    78.35%
Eastern                Tennessee                          9/26/2020                    85.67%              85.93%                    81.61%
Eastern                Tennessee                          10/3/2020                    85.81%              88.14%                    79.98%
Eastern                Tennessee                         10/10/2020                    86.77%              86.90%                    76.60%
Eastern                Tennessee                         10/17/2020                    81.76%              86.85%                    66.32%
Eastern                Western New York                    1/4/2020                    92.45%              94.53%                    89.38%
Eastern                Western New York                   1/11/2020                    94.03%              94.42%                    87.80%
Eastern                Western New York                   1/18/2020                    94.89%              94.53%                    90.58%
Eastern                Western New York                   1/25/2020                    93.29%              94.64%                    83.68%
Eastern                Western New York                    2/1/2020                    92.99%              94.87%                    92.80%
Eastern                Western New York                    2/8/2020                    93.70%              94.21%                    87.02%
Eastern                Western New York                   2/15/2020                    94.67%              94.93%                    87.53%
Eastern                Western New York                   2/22/2020                    93.69%              94.09%                    90.25%
Eastern                Western New York                   2/29/2020                    93.53%              95.65%                    87.42%
Eastern                Western New York                    3/7/2020                    94.39%              94.14%                    86.69%
Eastern                Western New York                   3/14/2020                    94.24%              94.65%                    87.09%
Eastern                Western New York                   3/21/2020                    94.77%              93.26%                    77.15%
Eastern                Western New York                   3/28/2020                    94.57%              95.57%                    90.47%
Eastern                Western New York                    4/1/2020                    94.68%              93.10%                    91.83%
Eastern                Western New York                    4/4/2020                    93.62%              94.50%                    86.75%
Eastern                Western New York                   4/11/2020                    91.35%              93.56%                    76.00%
Eastern                Western New York                   4/18/2020                    93.99%              93.76%                    66.34%
Eastern                Western New York                   4/25/2020                    92.43%              88.97%                    68.52%
Eastern                Western New York                    5/2/2020                    92.44%              90.42%                    55.55%
Eastern                Western New York                    5/9/2020                    92.21%              92.91%                    57.43%
Eastern                Western New York                   5/16/2020                    92.63%              94.94%                    71.71%
Eastern                Western New York                   5/23/2020                    94.17%              94.15%                    83.15%
Eastern                Western New York                   5/30/2020                    92.67%              94.15%                    64.90%
Eastern                Western New York                    6/6/2020                    92.58%              94.50%                    71.29%
Eastern                Western New York                   6/13/2020                    94.46%              95.99%                    78.64%
Eastern                Western New York                   6/20/2020                    94.04%              94.69%                    82.44%
Eastern                Western New York                   6/27/2020                    94.13%              96.13%                    74.19%
Eastern                Western New York                    7/1/2020                    94.91%              95.00%                    90.61%
Eastern                Western New York                    7/4/2020                    93.73%              89.90%                    74.01%
Eastern                Western New York                   7/11/2020                    86.55%              75.84%                    55.92%
Eastern                Western New York                   7/18/2020                    84.85%              58.06%                    49.20%
Eastern                Western New York                   7/25/2020                    85.45%              81.78%                    40.55%
Eastern                Western New York                    8/1/2020                    86.95%              86.36%                    44.43%
Eastern                Western New York                    8/8/2020                    86.35%              80.33%                    50.43%
Eastern                Western New York                   8/15/2020                    88.77%              85.45%                    49.71%
Eastern                Western New York                   8/22/2020                    91.81%              91.38%                    68.78%
Eastern                Western New York                   8/29/2020                    92.13%              90.01%                    76.99%
Eastern                Western New York                    9/5/2020                    92.65%              90.45%                    77.31%
Eastern                Western New York                   9/12/2020                    88.04%              77.13%                    67.46%
Eastern                Western New York                   9/19/2020                    87.06%              90.13%                    73.69%
Eastern                Western New York                   9/26/2020                    90.41%              92.13%                    75.71%
Eastern                Western New York                   10/3/2020                    90.24%              93.97%                    78.70%
Eastern                Western New York                  10/10/2020                    90.85%              92.51%                    73.15%
Eastern                Western New York                  10/17/2020                    86.08%              90.81%                    67.42%
Eastern                Western Pennsylvania                1/4/2020                    95.09%              96.45%                    91.81%
Eastern                Western Pennsylvania               1/11/2020                    94.00%              95.62%                    95.19%
Eastern                Western Pennsylvania               1/18/2020                    95.00%              95.81%                    96.60%
Eastern                Western Pennsylvania               1/25/2020                    93.80%              97.40%                    93.79%
Eastern                Western Pennsylvania                2/1/2020                    93.84%              96.97%                    95.23%
Eastern                Western Pennsylvania                2/8/2020                    93.46%              97.21%                    93.89%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                Western Pennsylvania               2/15/2020                    95.29%              96.58%                    96.35%
Eastern                Western Pennsylvania               2/22/2020                    94.69%              97.67%                    94.58%
Eastern                Western Pennsylvania               2/29/2020                    95.23%              97.71%                    94.79%
Eastern                Western Pennsylvania                3/7/2020                    94.39%              97.51%                    95.11%
Eastern                Western Pennsylvania               3/14/2020                    94.13%              97.33%                    93.33%
Eastern                Western Pennsylvania               3/21/2020                    94.21%              97.20%                    89.69%
Eastern                Western Pennsylvania               3/28/2020                    94.53%              97.54%                    94.05%
Eastern                Western Pennsylvania                4/1/2020                    95.51%              95.35%                    96.17%
Eastern                Western Pennsylvania                4/4/2020                    94.59%              97.51%                    93.40%
Eastern                Western Pennsylvania               4/11/2020                    94.07%              91.78%                    92.33%
Eastern                Western Pennsylvania               4/18/2020                    93.70%              96.55%                    94.80%
Eastern                Western Pennsylvania               4/25/2020                    94.26%              96.43%                    92.19%
Eastern                Western Pennsylvania                5/2/2020                    94.51%              96.68%                    94.44%
Eastern                Western Pennsylvania                5/9/2020                    92.75%              96.65%                    88.97%
Eastern                Western Pennsylvania               5/16/2020                    94.59%              96.62%                    91.31%
Eastern                Western Pennsylvania               5/23/2020                    94.80%              95.13%                    89.97%
Eastern                Western Pennsylvania               5/30/2020                    93.63%              97.03%                    95.06%
Eastern                Western Pennsylvania                6/6/2020                    93.97%              96.47%                    93.45%
Eastern                Western Pennsylvania               6/13/2020                    93.95%              96.28%                    93.90%
Eastern                Western Pennsylvania               6/20/2020                    93.66%              96.33%                    91.69%
Eastern                Western Pennsylvania               6/27/2020                    93.59%              97.24%                    93.22%
Eastern                Western Pennsylvania                7/1/2020                    94.86%              94.56%                    86.84%
Eastern                Western Pennsylvania                7/4/2020                    93.11%              95.01%                    92.38%
Eastern                Western Pennsylvania               7/11/2020                    88.87%              94.49%                    89.60%
Eastern                Western Pennsylvania               7/18/2020                    88.40%              92.90%                    90.96%
Eastern                Western Pennsylvania               7/25/2020                    89.91%              93.37%                    86.99%
Eastern                Western Pennsylvania                8/1/2020                    88.71%              93.26%                    92.53%
Eastern                Western Pennsylvania                8/8/2020                    88.82%              89.76%                    88.95%
Eastern                Western Pennsylvania               8/15/2020                    90.42%              93.92%                    90.35%
Eastern                Western Pennsylvania               8/22/2020                    91.85%              94.85%                    91.23%
Eastern                Western Pennsylvania               8/29/2020                    91.55%              95.47%                    90.37%
Eastern                Western Pennsylvania                9/5/2020                    92.52%              94.00%                    93.05%
Eastern                Western Pennsylvania               9/12/2020                    90.54%              95.71%                    88.04%
Eastern                Western Pennsylvania               9/19/2020                    89.63%              95.76%                    89.98%
Eastern                Western Pennsylvania               9/26/2020                    88.49%              94.28%                    86.91%
Eastern                Western Pennsylvania               10/3/2020                    89.40%              95.88%                    95.42%
Eastern                Western Pennsylvania              10/10/2020                    87.32%              93.00%                    87.76%
Eastern                Western Pennsylvania              10/17/2020                    83.22%              94.48%                    85.71%
Great Lakes            Central Illinois                    1/4/2020                    90.16%              90.17%                    81.02%
Great Lakes            Central Illinois                   1/11/2020                    89.13%              85.49%                    82.41%
Great Lakes            Central Illinois                   1/18/2020                    90.85%              87.28%                    82.39%
Great Lakes            Central Illinois                   1/25/2020                    86.75%              89.07%                    79.08%
Great Lakes            Central Illinois                    2/1/2020                    80.22%              83.70%                    80.93%
Great Lakes            Central Illinois                    2/8/2020                    88.80%              86.05%                    80.43%
Great Lakes            Central Illinois                   2/15/2020                    89.71%              89.08%                    75.61%
Great Lakes            Central Illinois                   2/22/2020                    90.12%              89.75%                    72.73%
Great Lakes            Central Illinois                   2/29/2020                    90.31%              88.06%                    76.95%
Great Lakes            Central Illinois                    3/7/2020                    89.83%              87.83%                    80.39%
Great Lakes            Central Illinois                   3/14/2020                    88.86%              86.50%                    81.73%
Great Lakes            Central Illinois                   3/21/2020                    90.34%              85.98%                    73.67%
Great Lakes            Central Illinois                   3/28/2020                    88.87%              84.49%                    78.53%
Great Lakes            Central Illinois                    4/1/2020                    90.38%              76.56%                    64.64%
Great Lakes            Central Illinois                    4/4/2020                    89.01%              85.69%                    66.84%
Great Lakes            Central Illinois                   4/11/2020                    88.59%              86.11%                    73.29%
Great Lakes            Central Illinois                   4/18/2020                    90.10%              87.74%                    67.76%
Great Lakes            Central Illinois                   4/25/2020                    88.06%              88.01%                    70.61%
Great Lakes            Central Illinois                    5/2/2020                    86.86%              83.74%                    70.09%
Great Lakes            Central Illinois                    5/9/2020                    88.00%              83.73%                    61.47%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          21
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Central Illinois                   5/16/2020                    88.56%              88.21%                    55.02%
Great Lakes            Central Illinois                   5/23/2020                    88.39%              86.93%                    70.04%
Great Lakes            Central Illinois                   5/30/2020                    87.33%              87.88%                    74.49%
Great Lakes            Central Illinois                    6/6/2020                    89.10%              85.30%                    69.65%
Great Lakes            Central Illinois                   6/13/2020                    89.39%              90.09%                    79.51%
Great Lakes            Central Illinois                   6/20/2020                    88.86%              91.44%                    69.56%
Great Lakes            Central Illinois                   6/27/2020                    87.63%              90.95%                    77.12%
Great Lakes            Central Illinois                    7/1/2020                    86.92%              87.85%                    77.02%
Great Lakes            Central Illinois                    7/4/2020                    89.13%              87.70%                    75.01%
Great Lakes            Central Illinois                   7/11/2020                    82.95%              86.57%                    65.36%
Great Lakes            Central Illinois                   7/18/2020                    80.53%              86.63%                    65.82%
Great Lakes            Central Illinois                   7/25/2020                    81.49%              82.14%                    60.13%
Great Lakes            Central Illinois                    8/1/2020                    80.83%              79.78%                    46.82%
Great Lakes            Central Illinois                    8/8/2020                    79.56%              80.97%                    58.16%
Great Lakes            Central Illinois                   8/15/2020                    81.77%              80.78%                    55.24%
Great Lakes            Central Illinois                   8/22/2020                    84.18%              78.87%                    49.98%
Great Lakes            Central Illinois                   8/29/2020                    84.48%              81.95%                    46.81%
Great Lakes            Central Illinois                    9/5/2020                    84.38%              75.91%                    64.06%
Great Lakes            Central Illinois                   9/12/2020                    80.23%              82.23%                    68.08%
Great Lakes            Central Illinois                   9/19/2020                    70.32%              82.44%                    50.15%
Great Lakes            Central Illinois                   9/26/2020                    73.90%              81.45%                    55.46%
Great Lakes            Central Illinois                   10/3/2020                    81.20%              73.85%                    49.45%
Great Lakes            Central Illinois                  10/10/2020                    80.10%              82.43%                    51.09%
Great Lakes            Central Illinois                  10/17/2020                    77.83%              83.26%                    51.79%
Great Lakes            Chicago                             1/4/2020                    90.45%              90.64%                    71.34%
Great Lakes            Chicago                            1/11/2020                    89.04%              87.80%                    80.99%
Great Lakes            Chicago                            1/18/2020                    90.13%              85.46%                    77.53%
Great Lakes            Chicago                            1/25/2020                    88.18%              89.59%                    73.44%
Great Lakes            Chicago                             2/1/2020                    86.86%              88.35%                    78.07%
Great Lakes            Chicago                             2/8/2020                    89.48%              89.53%                    79.20%
Great Lakes            Chicago                            2/15/2020                    89.68%              89.40%                    78.34%
Great Lakes            Chicago                            2/22/2020                    88.14%              93.72%                    76.08%
Great Lakes            Chicago                            2/29/2020                    90.17%              90.98%                    75.29%
Great Lakes            Chicago                             3/7/2020                    89.14%              89.90%                    76.80%
Great Lakes            Chicago                            3/14/2020                    88.07%              85.16%                    77.56%
Great Lakes            Chicago                            3/21/2020                    89.55%              84.63%                    70.21%
Great Lakes            Chicago                            3/28/2020                    89.71%              83.12%                    72.80%
Great Lakes            Chicago                             4/1/2020                    90.60%              84.03%                    73.24%
Great Lakes            Chicago                             4/4/2020                    89.19%              83.66%                    64.04%
Great Lakes            Chicago                            4/11/2020                    84.75%              79.72%                    67.58%
Great Lakes            Chicago                            4/18/2020                    89.36%              81.37%                    40.14%
Great Lakes            Chicago                            4/25/2020                    92.37%              79.40%                    42.65%
Great Lakes            Chicago                             5/2/2020                    86.07%              83.20%                    60.77%
Great Lakes            Chicago                             5/9/2020                    86.83%              82.93%                    72.61%
Great Lakes            Chicago                            5/16/2020                    87.20%              80.22%                    56.72%
Great Lakes            Chicago                            5/23/2020                    84.29%              83.40%                    64.85%
Great Lakes            Chicago                            5/30/2020                    71.25%              73.40%                    47.63%
Great Lakes            Chicago                             6/6/2020                    85.85%              83.43%                    59.40%
Great Lakes            Chicago                            6/13/2020                    88.85%              86.46%                    66.77%
Great Lakes            Chicago                            6/20/2020                    85.94%              83.08%                    67.32%
Great Lakes            Chicago                            6/27/2020                    87.19%              86.33%                    71.80%
Great Lakes            Chicago                             7/1/2020                    87.13%              84.26%                    63.37%
Great Lakes            Chicago                             7/4/2020                    84.73%              81.39%                    71.36%
Great Lakes            Chicago                            7/11/2020                    79.26%              79.11%                    61.34%
Great Lakes            Chicago                            7/18/2020                    79.42%              77.63%                    49.82%
Great Lakes            Chicago                            7/25/2020                    71.19%              58.38%                    42.95%
Great Lakes            Chicago                             8/1/2020                    74.60%              73.63%                    47.04%
Great Lakes            Chicago                             8/8/2020                    75.38%              77.78%                    50.42%

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Commission (PRC) at the end of the quarter.                          22
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Chicago                            8/15/2020                    78.39%              73.02%                    53.71%
Great Lakes            Chicago                            8/22/2020                    81.78%              83.33%                    61.35%
Great Lakes            Chicago                            8/29/2020                    81.52%              82.78%                    62.50%
Great Lakes            Chicago                             9/5/2020                    81.96%              81.26%                    64.24%
Great Lakes            Chicago                            9/12/2020                    72.30%              79.06%                    61.26%
Great Lakes            Chicago                            9/19/2020                    70.66%              81.66%                    57.22%
Great Lakes            Chicago                            9/26/2020                    69.91%              81.98%                    49.49%
Great Lakes            Chicago                            10/3/2020                    82.33%              87.34%                    66.24%
Great Lakes            Chicago                           10/10/2020                    84.25%              86.97%                    70.90%
Great Lakes            Chicago                           10/17/2020                    79.23%              85.56%                    60.36%
Great Lakes            Detroit                             1/4/2020                    92.22%              93.64%                    88.38%
Great Lakes            Detroit                            1/11/2020                    91.63%              90.66%                    85.10%
Great Lakes            Detroit                            1/18/2020                    92.97%              90.04%                    88.06%
Great Lakes            Detroit                            1/25/2020                    91.28%              90.63%                    91.26%
Great Lakes            Detroit                             2/1/2020                    91.43%              91.20%                    89.96%
Great Lakes            Detroit                             2/8/2020                    91.68%              92.12%                    91.34%
Great Lakes            Detroit                            2/15/2020                    93.73%              92.28%                    91.97%
Great Lakes            Detroit                            2/22/2020                    92.33%              92.98%                    91.12%
Great Lakes            Detroit                            2/29/2020                    91.71%              83.99%                    87.72%
Great Lakes            Detroit                             3/7/2020                    92.05%              90.75%                    91.02%
Great Lakes            Detroit                            3/14/2020                    91.65%              89.92%                    88.83%
Great Lakes            Detroit                            3/21/2020                    91.17%              86.86%                    89.44%
Great Lakes            Detroit                            3/28/2020                    83.07%              77.57%                    77.39%
Great Lakes            Detroit                             4/1/2020                    73.04%              37.14%                    45.35%
Great Lakes            Detroit                             4/4/2020                    67.94%              26.09%                    38.38%
Great Lakes            Detroit                            4/11/2020                    58.80%              27.00%                    38.36%
Great Lakes            Detroit                            4/18/2020                    70.98%              23.65%                    29.72%
Great Lakes            Detroit                            4/25/2020                    67.70%              38.99%                    24.99%
Great Lakes            Detroit                             5/2/2020                    69.79%              44.16%                    18.56%
Great Lakes            Detroit                             5/9/2020                    69.61%              49.14%                    45.26%
Great Lakes            Detroit                            5/16/2020                    77.64%              77.32%                    28.62%
Great Lakes            Detroit                            5/23/2020                    87.33%              80.48%                    53.20%
Great Lakes            Detroit                            5/30/2020                    88.20%              88.55%                    61.03%
Great Lakes            Detroit                             6/6/2020                    86.12%              88.19%                    73.45%
Great Lakes            Detroit                            6/13/2020                    86.00%              85.23%                    63.60%
Great Lakes            Detroit                            6/20/2020                    85.49%              85.76%                    64.03%
Great Lakes            Detroit                            6/27/2020                    84.11%              85.98%                    66.96%
Great Lakes            Detroit                             7/1/2020                    86.81%              76.33%                    36.04%
Great Lakes            Detroit                             7/4/2020                    81.17%              75.79%                    51.19%
Great Lakes            Detroit                            7/11/2020                    70.87%              70.80%                    55.22%
Great Lakes            Detroit                            7/18/2020                    67.97%              65.41%                    41.09%
Great Lakes            Detroit                            7/25/2020                    63.14%              56.96%                    33.38%
Great Lakes            Detroit                             8/1/2020                    61.01%              50.85%                    47.43%
Great Lakes            Detroit                             8/8/2020                    63.16%              52.44%                    55.72%
Great Lakes            Detroit                            8/15/2020                    72.31%              62.94%                    65.56%
Great Lakes            Detroit                            8/22/2020                    76.51%              72.90%                    69.58%
Great Lakes            Detroit                            8/29/2020                    81.22%              74.97%                    75.35%
Great Lakes            Detroit                             9/5/2020                    83.13%              84.16%                    75.89%
Great Lakes            Detroit                            9/12/2020                    82.94%              83.67%                    72.57%
Great Lakes            Detroit                            9/19/2020                    79.27%              83.57%                    66.38%
Great Lakes            Detroit                            9/26/2020                    72.20%              69.85%                    64.99%
Great Lakes            Detroit                            10/3/2020                    70.94%              67.73%                    65.04%
Great Lakes            Detroit                           10/10/2020                    71.55%              64.18%                    70.19%
Great Lakes            Detroit                           10/17/2020                    63.48%              72.64%                    71.99%
Great Lakes            Gateway                             1/4/2020                    91.97%              82.01%                    81.16%
Great Lakes            Gateway                            1/11/2020                    91.12%              88.55%                    85.85%
Great Lakes            Gateway                            1/18/2020                    92.37%              91.27%                    85.33%
Great Lakes            Gateway                            1/25/2020                    90.78%              90.81%                    84.72%

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Commission (PRC) at the end of the quarter.                          23
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        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Gateway                             2/1/2020                    91.04%              84.02%                    80.12%
Great Lakes            Gateway                             2/8/2020                    92.36%              92.22%                    85.16%
Great Lakes            Gateway                            2/15/2020                    94.15%              93.69%                    89.84%
Great Lakes            Gateway                            2/22/2020                    92.43%              92.78%                    81.77%
Great Lakes            Gateway                            2/29/2020                    93.32%              92.72%                    79.17%
Great Lakes            Gateway                             3/7/2020                    92.03%              90.79%                    86.71%
Great Lakes            Gateway                            3/14/2020                    92.61%              91.88%                    84.68%
Great Lakes            Gateway                            3/21/2020                    91.55%              92.93%                    84.33%
Great Lakes            Gateway                            3/28/2020                    92.53%              86.27%                    84.33%
Great Lakes            Gateway                             4/1/2020                    93.77%              90.85%                    74.84%
Great Lakes            Gateway                             4/4/2020                    92.85%              93.91%                    83.34%
Great Lakes            Gateway                            4/11/2020                    92.65%              94.47%                    82.11%
Great Lakes            Gateway                            4/18/2020                    92.87%              90.44%                    81.81%
Great Lakes            Gateway                            4/25/2020                    92.14%              89.18%                    80.23%
Great Lakes            Gateway                             5/2/2020                    92.45%              90.17%                    76.24%
Great Lakes            Gateway                             5/9/2020                    92.49%              91.72%                    83.46%
Great Lakes            Gateway                            5/16/2020                    93.54%              93.26%                    79.99%
Great Lakes            Gateway                            5/23/2020                    93.25%              90.44%                    80.23%
Great Lakes            Gateway                            5/30/2020                    91.75%              85.16%                    77.33%
Great Lakes            Gateway                             6/6/2020                    92.26%              91.75%                    78.93%
Great Lakes            Gateway                            6/13/2020                    92.99%              91.59%                    77.79%
Great Lakes            Gateway                            6/20/2020                    92.13%              93.44%                    81.52%
Great Lakes            Gateway                            6/27/2020                    92.03%              94.53%                    80.75%
Great Lakes            Gateway                             7/1/2020                    93.03%              85.32%                    60.79%
Great Lakes            Gateway                             7/4/2020                    90.01%              86.45%                    78.07%
Great Lakes            Gateway                            7/11/2020                    83.75%              74.66%                    80.78%
Great Lakes            Gateway                            7/18/2020                    83.30%              65.85%                    79.14%
Great Lakes            Gateway                            7/25/2020                    84.03%              63.90%                    64.49%
Great Lakes            Gateway                             8/1/2020                    84.89%              65.85%                    62.47%
Great Lakes            Gateway                             8/8/2020                    85.83%              80.95%                    70.95%
Great Lakes            Gateway                            8/15/2020                    88.35%              87.20%                    71.82%
Great Lakes            Gateway                            8/22/2020                    91.09%              90.00%                    74.25%
Great Lakes            Gateway                            8/29/2020                    90.22%              89.94%                    82.56%
Great Lakes            Gateway                             9/5/2020                    91.14%              90.18%                    76.51%
Great Lakes            Gateway                            9/12/2020                    87.79%              82.60%                    76.54%
Great Lakes            Gateway                            9/19/2020                    77.13%              87.27%                    74.98%
Great Lakes            Gateway                            9/26/2020                    84.96%              88.05%                    74.86%
Great Lakes            Gateway                            10/3/2020                    87.19%              87.85%                    69.13%
Great Lakes            Gateway                           10/10/2020                    87.88%              89.85%                    72.51%
Great Lakes            Gateway                           10/17/2020                    83.04%              90.45%                    67.82%
Great Lakes            Greater Indiana                     1/4/2020                    89.78%              91.85%                    83.74%
Great Lakes            Greater Indiana                    1/11/2020                    91.39%              88.85%                    82.66%
Great Lakes            Greater Indiana                    1/18/2020                    93.26%              89.06%                    84.02%
Great Lakes            Greater Indiana                    1/25/2020                    91.35%              89.91%                    83.23%
Great Lakes            Greater Indiana                     2/1/2020                    91.91%              90.16%                    86.42%
Great Lakes            Greater Indiana                     2/8/2020                    93.41%              88.63%                    85.20%
Great Lakes            Greater Indiana                    2/15/2020                    94.74%              89.06%                    87.86%
Great Lakes            Greater Indiana                    2/22/2020                    92.95%              89.89%                    87.44%
Great Lakes            Greater Indiana                    2/29/2020                    93.29%              87.27%                    75.82%
Great Lakes            Greater Indiana                     3/7/2020                    93.53%              88.65%                    81.29%
Great Lakes            Greater Indiana                    3/14/2020                    93.34%              88.80%                    73.04%
Great Lakes            Greater Indiana                    3/21/2020                    93.86%              88.92%                    72.94%
Great Lakes            Greater Indiana                    3/28/2020                    93.78%              93.16%                    80.75%
Great Lakes            Greater Indiana                     4/1/2020                    94.11%              88.90%                    83.33%
Great Lakes            Greater Indiana                     4/4/2020                    94.03%              88.57%                    85.24%
Great Lakes            Greater Indiana                    4/11/2020                    92.03%              90.00%                    80.27%
Great Lakes            Greater Indiana                    4/18/2020                    93.57%              90.38%                    80.08%
Great Lakes            Greater Indiana                    4/25/2020                    93.64%              90.33%                    73.06%

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Commission (PRC) at the end of the quarter.                          24
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Greater Indiana                     5/2/2020                    93.53%              86.15%                    73.87%
Great Lakes            Greater Indiana                     5/9/2020                    92.74%              88.16%                    77.32%
Great Lakes            Greater Indiana                    5/16/2020                    93.02%              89.90%                    78.44%
Great Lakes            Greater Indiana                    5/23/2020                    93.05%              87.94%                    73.36%
Great Lakes            Greater Indiana                    5/30/2020                    93.01%              89.90%                    76.26%
Great Lakes            Greater Indiana                     6/6/2020                    93.03%              84.24%                    70.10%
Great Lakes            Greater Indiana                    6/13/2020                    93.73%              86.36%                    43.90%
Great Lakes            Greater Indiana                    6/20/2020                    92.94%              86.70%                    68.64%
Great Lakes            Greater Indiana                    6/27/2020                    92.64%              91.82%                    78.97%
Great Lakes            Greater Indiana                     7/1/2020                    91.45%              87.97%                    79.56%
Great Lakes            Greater Indiana                     7/4/2020                    90.32%              87.85%                    53.63%
Great Lakes            Greater Indiana                    7/11/2020                    88.04%              83.13%                    66.64%
Great Lakes            Greater Indiana                    7/18/2020                    86.41%              81.00%                    51.21%
Great Lakes            Greater Indiana                    7/25/2020                    86.59%              83.19%                    57.47%
Great Lakes            Greater Indiana                     8/1/2020                    86.31%              81.34%                    58.62%
Great Lakes            Greater Indiana                     8/8/2020                    87.23%              79.09%                    63.12%
Great Lakes            Greater Indiana                    8/15/2020                    88.85%              85.46%                    68.77%
Great Lakes            Greater Indiana                    8/22/2020                    91.41%              88.92%                    76.46%
Great Lakes            Greater Indiana                    8/29/2020                    90.50%              89.33%                    76.98%
Great Lakes            Greater Indiana                     9/5/2020                    89.86%              88.11%                    80.39%
Great Lakes            Greater Indiana                    9/12/2020                    89.51%              86.89%                    77.48%
Great Lakes            Greater Indiana                    9/19/2020                    86.10%              89.54%                    76.31%
Great Lakes            Greater Indiana                    9/26/2020                    88.26%              88.16%                    67.41%
Great Lakes            Greater Indiana                    10/3/2020                    89.42%              90.29%                    76.01%
Great Lakes            Greater Indiana                   10/10/2020                    88.88%              89.79%                    83.18%
Great Lakes            Greater Indiana                   10/17/2020                    88.32%              90.13%                    62.90%
Great Lakes            Greater Michigan                    1/4/2020                    93.11%              94.88%                    90.63%
Great Lakes            Greater Michigan                   1/11/2020                    93.09%              93.65%                    92.67%
Great Lakes            Greater Michigan                   1/18/2020                    93.19%              92.50%                    89.59%
Great Lakes            Greater Michigan                   1/25/2020                    93.34%              93.34%                    89.56%
Great Lakes            Greater Michigan                    2/1/2020                    93.24%              93.86%                    90.01%
Great Lakes            Greater Michigan                    2/8/2020                    93.18%              94.67%                    91.88%
Great Lakes            Greater Michigan                   2/15/2020                    94.40%              94.85%                    92.51%
Great Lakes            Greater Michigan                   2/22/2020                    93.85%              94.55%                    91.91%
Great Lakes            Greater Michigan                   2/29/2020                    93.65%              93.30%                    92.66%
Great Lakes            Greater Michigan                    3/7/2020                    93.99%              94.42%                    90.25%
Great Lakes            Greater Michigan                   3/14/2020                    93.34%              94.46%                    90.65%
Great Lakes            Greater Michigan                   3/21/2020                    93.74%              94.09%                    91.79%
Great Lakes            Greater Michigan                   3/28/2020                    93.38%              95.77%                    91.08%
Great Lakes            Greater Michigan                    4/1/2020                    92.79%              87.65%                    86.55%
Great Lakes            Greater Michigan                    4/4/2020                    88.95%              86.36%                    87.99%
Great Lakes            Greater Michigan                   4/11/2020                    85.04%              85.89%                    87.43%
Great Lakes            Greater Michigan                   4/18/2020                    90.59%              79.65%                    80.95%
Great Lakes            Greater Michigan                   4/25/2020                    90.49%              82.09%                    74.62%
Great Lakes            Greater Michigan                    5/2/2020                    89.04%              82.73%                    62.29%
Great Lakes            Greater Michigan                    5/9/2020                    88.89%              84.39%                    73.13%
Great Lakes            Greater Michigan                   5/16/2020                    90.69%              91.35%                    71.29%
Great Lakes            Greater Michigan                   5/23/2020                    92.60%              91.45%                    75.56%
Great Lakes            Greater Michigan                   5/30/2020                    91.77%              95.30%                    86.57%
Great Lakes            Greater Michigan                    6/6/2020                    91.62%              90.20%                    84.27%
Great Lakes            Greater Michigan                   6/13/2020                    92.45%              89.69%                    80.98%
Great Lakes            Greater Michigan                   6/20/2020                    91.81%              92.04%                    85.13%
Great Lakes            Greater Michigan                   6/27/2020                    91.11%              93.11%                    85.39%
Great Lakes            Greater Michigan                    7/1/2020                    91.73%              90.99%                    86.98%
Great Lakes            Greater Michigan                    7/4/2020                    90.96%              90.19%                    79.16%
Great Lakes            Greater Michigan                   7/11/2020                    86.85%              83.32%                    86.98%
Great Lakes            Greater Michigan                   7/18/2020                    83.19%              80.54%                    71.59%
Great Lakes            Greater Michigan                   7/25/2020                    83.58%              82.40%                    60.84%

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Commission (PRC) at the end of the quarter.                          25
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes            Greater Michigan                    8/1/2020                    81.44%              60.27%                    71.27%
Great Lakes            Greater Michigan                    8/8/2020                    80.28%              58.00%                    68.48%
Great Lakes            Greater Michigan                   8/15/2020                    86.94%              77.89%                    69.41%
Great Lakes            Greater Michigan                   8/22/2020                    89.28%              86.46%                    79.76%
Great Lakes            Greater Michigan                   8/29/2020                    90.08%              89.27%                    87.02%
Great Lakes            Greater Michigan                    9/5/2020                    89.26%              86.88%                    80.56%
Great Lakes            Greater Michigan                   9/12/2020                    89.00%              92.00%                    82.82%
Great Lakes            Greater Michigan                   9/19/2020                    86.12%              91.72%                    83.15%
Great Lakes            Greater Michigan                   9/26/2020                    86.56%              88.99%                    85.35%
Great Lakes            Greater Michigan                   10/3/2020                    86.08%              90.00%                    80.17%
Great Lakes            Greater Michigan                  10/10/2020                    84.52%              87.58%                    85.15%
Great Lakes            Greater Michigan                  10/17/2020                    82.39%              90.43%                    80.51%
Great Lakes            Lakeland                            1/4/2020                    90.65%              92.10%                    88.96%
Great Lakes            Lakeland                           1/11/2020                    91.13%              90.36%                    92.20%
Great Lakes            Lakeland                           1/18/2020                    92.20%              89.84%                    89.48%
Great Lakes            Lakeland                           1/25/2020                    90.11%              90.47%                    88.12%
Great Lakes            Lakeland                            2/1/2020                    89.93%              91.40%                    91.02%
Great Lakes            Lakeland                            2/8/2020                    91.95%              92.52%                    88.08%
Great Lakes            Lakeland                           2/15/2020                    92.84%              90.91%                    91.23%
Great Lakes            Lakeland                           2/22/2020                    92.75%              93.70%                    87.96%
Great Lakes            Lakeland                           2/29/2020                    92.89%              93.34%                    89.89%
Great Lakes            Lakeland                            3/7/2020                    92.39%              93.27%                    90.48%
Great Lakes            Lakeland                           3/14/2020                    91.17%              93.62%                    85.81%
Great Lakes            Lakeland                           3/21/2020                    91.13%              90.37%                    89.03%
Great Lakes            Lakeland                           3/28/2020                    90.40%              88.76%                    86.37%
Great Lakes            Lakeland                            4/1/2020                    89.46%              87.49%                    85.51%
Great Lakes            Lakeland                            4/4/2020                    90.78%              87.71%                    82.15%
Great Lakes            Lakeland                           4/11/2020                    88.66%              81.46%                    70.88%
Great Lakes            Lakeland                           4/18/2020                    90.21%              89.28%                    73.94%
Great Lakes            Lakeland                           4/25/2020                    90.47%              88.40%                    77.70%
Great Lakes            Lakeland                            5/2/2020                    89.82%              85.99%                    72.80%
Great Lakes            Lakeland                            5/9/2020                    90.49%              84.51%                    73.22%
Great Lakes            Lakeland                           5/16/2020                    91.00%              88.48%                    70.82%
Great Lakes            Lakeland                           5/23/2020                    92.59%              88.84%                    80.51%
Great Lakes            Lakeland                           5/30/2020                    90.54%              89.71%                    82.66%
Great Lakes            Lakeland                            6/6/2020                    90.34%              85.79%                    75.46%
Great Lakes            Lakeland                           6/13/2020                    90.97%              90.49%                    85.96%
Great Lakes            Lakeland                           6/20/2020                    88.22%              92.35%                    81.67%
Great Lakes            Lakeland                           6/27/2020                    89.91%              92.48%                    75.52%
Great Lakes            Lakeland                            7/1/2020                    91.20%              89.60%                    85.33%
Great Lakes            Lakeland                            7/4/2020                    88.86%              84.67%                    82.78%
Great Lakes            Lakeland                           7/11/2020                    82.92%              81.59%                    75.71%
Great Lakes            Lakeland                           7/18/2020                    83.70%              85.09%                    69.81%
Great Lakes            Lakeland                           7/25/2020                    83.88%              82.24%                    61.69%
Great Lakes            Lakeland                            8/1/2020                    80.00%              77.42%                    67.14%
Great Lakes            Lakeland                            8/8/2020                    78.90%              77.12%                    70.35%
Great Lakes            Lakeland                           8/15/2020                    84.52%              85.94%                    80.00%
Great Lakes            Lakeland                           8/22/2020                    84.95%              89.06%                    78.40%
Great Lakes            Lakeland                           8/29/2020                    88.23%              87.64%                    81.10%
Great Lakes            Lakeland                            9/5/2020                    88.03%              85.99%                    76.19%
Great Lakes            Lakeland                           9/12/2020                    84.76%              86.89%                    70.43%
Great Lakes            Lakeland                           9/19/2020                    77.11%              88.84%                    77.08%
Great Lakes            Lakeland                           9/26/2020                    83.52%              87.89%                    79.44%
Great Lakes            Lakeland                           10/3/2020                    84.25%              89.13%                    76.77%
Great Lakes            Lakeland                          10/10/2020                    84.61%              88.33%                    80.20%
Great Lakes            Lakeland                          10/17/2020                    81.98%              92.56%                    77.79%
Northeast              Albany                              1/4/2020                    93.41%              92.95%                    87.74%
Northeast              Albany                             1/11/2020                    93.71%              91.81%                    87.83%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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       Area                   District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Albany                             1/18/2020                    94.42%              90.85%                    89.56%
Northeast              Albany                             1/25/2020                    93.72%              93.75%                    89.48%
Northeast              Albany                              2/1/2020                    92.07%              86.12%                    88.36%
Northeast              Albany                              2/8/2020                    93.64%              93.18%                    89.73%
Northeast              Albany                             2/15/2020                    95.17%              93.03%                    90.71%
Northeast              Albany                             2/22/2020                    94.37%              92.94%                    85.35%
Northeast              Albany                             2/29/2020                    94.87%              87.95%                    87.24%
Northeast              Albany                              3/7/2020                    93.57%              93.81%                    88.25%
Northeast              Albany                             3/14/2020                    93.36%              93.40%                    88.68%
Northeast              Albany                             3/21/2020                    93.47%              92.42%                    84.56%
Northeast              Albany                             3/28/2020                    93.85%              95.52%                    86.54%
Northeast              Albany                              4/1/2020                    93.59%              94.53%                    88.93%
Northeast              Albany                              4/4/2020                    93.93%              87.78%                    87.48%
Northeast              Albany                             4/11/2020                    92.20%              94.60%                    91.59%
Northeast              Albany                             4/18/2020                    91.80%              94.41%                    83.08%
Northeast              Albany                             4/25/2020                    91.33%              91.27%                    75.97%
Northeast              Albany                              5/2/2020                    90.98%              84.57%                    89.02%
Northeast              Albany                              5/9/2020                    91.09%              91.86%                    65.16%
Northeast              Albany                             5/16/2020                    92.47%              92.64%                    75.13%
Northeast              Albany                             5/23/2020                    93.52%              90.14%                    83.08%
Northeast              Albany                             5/30/2020                    91.19%              93.91%                    81.10%
Northeast              Albany                              6/6/2020                    91.31%              84.67%                    80.63%
Northeast              Albany                             6/13/2020                    93.65%              93.01%                    84.23%
Northeast              Albany                             6/20/2020                    93.14%              93.83%                    80.13%
Northeast              Albany                             6/27/2020                    92.44%              93.38%                    84.83%
Northeast              Albany                              7/1/2020                    94.07%              91.96%                    86.97%
Northeast              Albany                              7/4/2020                    91.97%              89.01%                    84.76%
Northeast              Albany                             7/11/2020                    88.38%              74.46%                    77.75%
Northeast              Albany                             7/18/2020                    87.54%              76.75%                    65.78%
Northeast              Albany                             7/25/2020                    89.71%              86.74%                    74.49%
Northeast              Albany                              8/1/2020                    86.63%              82.27%                    82.94%
Northeast              Albany                              8/8/2020                    86.53%              90.50%                    75.74%
Northeast              Albany                             8/15/2020                    88.22%              92.20%                    80.31%
Northeast              Albany                             8/22/2020                    91.31%              91.94%                    81.68%
Northeast              Albany                             8/29/2020                    91.23%              91.60%                    81.32%
Northeast              Albany                              9/5/2020                    92.38%              84.74%                    82.95%
Northeast              Albany                             9/12/2020                    87.63%              83.00%                    70.52%
Northeast              Albany                             9/19/2020                    88.32%              85.90%                    76.91%
Northeast              Albany                             9/26/2020                    89.55%              93.51%                    80.12%
Northeast              Albany                             10/3/2020                    89.80%              82.96%                    81.44%
Northeast              Albany                            10/10/2020                    88.07%              88.59%                    81.97%
Northeast              Albany                            10/17/2020                    87.28%              95.38%                    78.68%
Northeast              Caribbean                           1/4/2020                    87.65%              97.63%                    82.40%
Northeast              Caribbean                          1/11/2020                    90.93%              90.31%                    62.87%
Northeast              Caribbean                          1/18/2020                    89.66%              65.36%                    79.52%
Northeast              Caribbean                          1/25/2020                    71.71%              93.86%                    75.50%
Northeast              Caribbean                           2/1/2020                    93.19%              88.61%                    85.71%
Northeast              Caribbean                           2/8/2020                    93.53%              92.77%                    91.81%
Northeast              Caribbean                          2/15/2020                    94.93%              67.91%                    59.00%
Northeast              Caribbean                          2/22/2020                    94.16%              81.92%                    69.95%
Northeast              Caribbean                          2/29/2020                    94.13%              82.09%                    90.11%
Northeast              Caribbean                           3/7/2020                    91.91%              93.88%                    91.43%
Northeast              Caribbean                          3/14/2020                    93.97%              94.27%                    86.23%
Northeast              Caribbean                          3/21/2020                    91.02%              88.54%                    82.54%
Northeast              Caribbean                          3/28/2020                    91.42%              82.04%                    90.49%
Northeast              Caribbean                           4/1/2020                    92.55%              82.42%                    97.58%
Northeast              Caribbean                           4/4/2020                    93.18%              97.65%                    79.81%
Northeast              Caribbean                          4/11/2020                    87.11%              93.60%                    88.17%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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       Area                   District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Caribbean                          4/18/2020                    92.78%              96.11%                    85.08%
Northeast              Caribbean                          4/25/2020                    91.45%              83.70%                    87.55%
Northeast              Caribbean                           5/2/2020                    91.92%              91.57%                    70.52%
Northeast              Caribbean                           5/9/2020                    91.85%              92.99%                    51.76%
Northeast              Caribbean                          5/16/2020                    93.81%              90.31%                    58.41%
Northeast              Caribbean                          5/23/2020                    92.10%              87.63%                    72.33%
Northeast              Caribbean                          5/30/2020                    86.25%              58.14%                    94.63%
Northeast              Caribbean                           6/6/2020                    89.96%              90.62%                    81.93%
Northeast              Caribbean                          6/13/2020                    90.29%              75.63%                    84.19%
Northeast              Caribbean                          6/20/2020                    91.66%              76.03%                    18.83%
Northeast              Caribbean                          6/27/2020                    88.36%              71.64%                    76.96%
Northeast              Caribbean                           7/1/2020                    91.54%              81.98%                    77.16%
Northeast              Caribbean                           7/4/2020                    90.27%              84.13%                    95.61%
Northeast              Caribbean                          7/11/2020                    88.11%              84.86%                    89.12%
Northeast              Caribbean                          7/18/2020                    81.58%              89.79%                    79.22%
Northeast              Caribbean                          7/25/2020                    75.51%              91.68%                    55.01%
Northeast              Caribbean                           8/1/2020                    79.66%              75.86%                    86.39%
Northeast              Caribbean                           8/8/2020                    85.13%              84.99%                    86.73%
Northeast              Caribbean                          8/15/2020                    86.00%              83.63%                    72.81%
Northeast              Caribbean                          8/22/2020                    89.24%              87.91%                    75.85%
Northeast              Caribbean                          8/29/2020                    93.32%              87.24%                    70.77%
Northeast              Caribbean                           9/5/2020                    89.82%              88.17%                    73.44%
Northeast              Caribbean                          9/12/2020                    87.06%              94.83%                    95.21%
Northeast              Caribbean                          9/19/2020                    90.92%              91.47%                    96.70%
Northeast              Caribbean                          9/26/2020                    92.15%              88.17%                    93.61%
Northeast              Caribbean                          10/3/2020                    93.61%              88.43%                    94.88%
Northeast              Caribbean                         10/10/2020                    94.70%              76.66%                    98.88%
Northeast              Caribbean                         10/17/2020                    91.38%              91.43%                    91.37%
Northeast              Connecticut Valley                  1/4/2020                    92.46%              91.18%                    84.36%
Northeast              Connecticut Valley                 1/11/2020                    92.44%              87.71%                    79.78%
Northeast              Connecticut Valley                 1/18/2020                    93.74%              90.23%                    81.22%
Northeast              Connecticut Valley                 1/25/2020                    92.77%              91.39%                    81.60%
Northeast              Connecticut Valley                  2/1/2020                    92.55%              90.52%                    84.07%
Northeast              Connecticut Valley                  2/8/2020                    93.22%              92.44%                    83.54%
Northeast              Connecticut Valley                 2/15/2020                    94.39%              92.42%                    85.21%
Northeast              Connecticut Valley                 2/22/2020                    93.69%              91.38%                    75.28%
Northeast              Connecticut Valley                 2/29/2020                    93.05%              93.00%                    80.46%
Northeast              Connecticut Valley                  3/7/2020                    92.84%              91.18%                    79.39%
Northeast              Connecticut Valley                 3/14/2020                    91.80%              88.08%                    72.54%
Northeast              Connecticut Valley                 3/21/2020                    93.10%              91.94%                    76.63%
Northeast              Connecticut Valley                 3/28/2020                    91.85%              92.28%                    77.38%
Northeast              Connecticut Valley                  4/1/2020                    91.16%              89.72%                    75.20%
Northeast              Connecticut Valley                  4/4/2020                    91.53%              87.06%                    64.29%
Northeast              Connecticut Valley                 4/11/2020                    86.67%              76.93%                    45.70%
Northeast              Connecticut Valley                 4/18/2020                    89.55%              84.38%                    32.11%
Northeast              Connecticut Valley                 4/25/2020                    89.32%              82.61%                    37.14%
Northeast              Connecticut Valley                  5/2/2020                    89.61%              77.66%                    32.75%
Northeast              Connecticut Valley                  5/9/2020                    88.49%              81.58%                    28.04%
Northeast              Connecticut Valley                 5/16/2020                    90.49%              86.70%                    51.21%
Northeast              Connecticut Valley                 5/23/2020                    91.55%              87.42%                    54.02%
Northeast              Connecticut Valley                 5/30/2020                    89.85%              89.28%                    60.10%
Northeast              Connecticut Valley                  6/6/2020                    90.48%              85.55%                    43.43%
Northeast              Connecticut Valley                 6/13/2020                    91.74%              88.89%                    64.63%
Northeast              Connecticut Valley                 6/20/2020                    90.72%              88.19%                    68.96%
Northeast              Connecticut Valley                 6/27/2020                    91.18%              84.50%                    74.46%
Northeast              Connecticut Valley                  7/1/2020                    91.01%              91.72%                    74.05%
Northeast              Connecticut Valley                  7/4/2020                    91.77%              90.17%                    70.87%
Northeast              Connecticut Valley                 7/11/2020                    87.46%              87.90%                    68.07%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                    District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Connecticut Valley                 7/18/2020                    85.52%              85.40%                    59.72%
Northeast              Connecticut Valley                 7/25/2020                    86.73%              88.14%                    62.89%
Northeast              Connecticut Valley                  8/1/2020                    82.33%              74.75%                    65.70%
Northeast              Connecticut Valley                  8/8/2020                    76.70%              55.77%                    61.48%
Northeast              Connecticut Valley                 8/15/2020                    87.69%              85.77%                    67.18%
Northeast              Connecticut Valley                 8/22/2020                    89.78%              89.80%                    76.07%
Northeast              Connecticut Valley                 8/29/2020                    90.81%              92.01%                    79.41%
Northeast              Connecticut Valley                  9/5/2020                    90.89%              92.09%                    80.60%
Northeast              Connecticut Valley                 9/12/2020                    88.34%              87.25%                    76.78%
Northeast              Connecticut Valley                 9/19/2020                    85.82%              91.94%                    81.11%
Northeast              Connecticut Valley                 9/26/2020                    88.28%              93.63%                    80.90%
Northeast              Connecticut Valley                 10/3/2020                    88.69%              91.86%                    79.99%
Northeast              Connecticut Valley                10/10/2020                    87.43%              90.12%                    77.64%
Northeast              Connecticut Valley                10/17/2020                    86.43%              93.33%                    82.42%
Northeast              Greater Boston                      1/4/2020                    92.23%              89.30%                    89.80%
Northeast              Greater Boston                     1/11/2020                    92.36%              86.77%                    83.92%
Northeast              Greater Boston                     1/18/2020                    92.69%              88.65%                    85.56%
Northeast              Greater Boston                     1/25/2020                    91.09%              90.82%                    88.01%
Northeast              Greater Boston                      2/1/2020                    91.34%              89.21%                    86.52%
Northeast              Greater Boston                      2/8/2020                    90.65%              87.45%                    87.16%
Northeast              Greater Boston                     2/15/2020                    93.65%              91.25%                    89.26%
Northeast              Greater Boston                     2/22/2020                    92.55%              90.32%                    83.45%
Northeast              Greater Boston                     2/29/2020                    92.54%              91.93%                    85.56%
Northeast              Greater Boston                      3/7/2020                    92.42%              90.56%                    88.71%
Northeast              Greater Boston                     3/14/2020                    92.74%              90.93%                    84.17%
Northeast              Greater Boston                     3/21/2020                    92.86%              91.68%                    81.79%
Northeast              Greater Boston                     3/28/2020                    91.96%              92.16%                    80.52%
Northeast              Greater Boston                      4/1/2020                    92.67%              87.35%                    83.77%
Northeast              Greater Boston                      4/4/2020                    90.33%              72.79%                    67.33%
Northeast              Greater Boston                     4/11/2020                    87.24%              80.63%                    49.33%
Northeast              Greater Boston                     4/18/2020                    90.34%              82.29%                    47.42%
Northeast              Greater Boston                     4/25/2020                    90.34%              82.58%                    44.47%
Northeast              Greater Boston                      5/2/2020                    90.03%              85.45%                    52.37%
Northeast              Greater Boston                      5/9/2020                    89.87%              82.43%                    48.47%
Northeast              Greater Boston                     5/16/2020                    90.46%              81.64%                    62.75%
Northeast              Greater Boston                     5/23/2020                    89.95%              82.73%                    47.09%
Northeast              Greater Boston                     5/30/2020                    89.33%              83.56%                    64.93%
Northeast              Greater Boston                      6/6/2020                    89.52%              78.90%                    35.56%
Northeast              Greater Boston                     6/13/2020                    91.50%              80.47%                    46.99%
Northeast              Greater Boston                     6/20/2020                    90.56%              84.94%                    57.13%
Northeast              Greater Boston                     6/27/2020                    90.02%              87.88%                    65.87%
Northeast              Greater Boston                      7/1/2020                    90.45%              91.12%                    74.48%
Northeast              Greater Boston                      7/4/2020                    90.64%              85.73%                    75.91%
Northeast              Greater Boston                     7/11/2020                    85.60%              81.61%                    53.64%
Northeast              Greater Boston                     7/18/2020                    84.16%              84.18%                    71.67%
Northeast              Greater Boston                     7/25/2020                    86.45%              86.80%                    73.07%
Northeast              Greater Boston                      8/1/2020                    86.42%              82.65%                    69.11%
Northeast              Greater Boston                      8/8/2020                    84.98%              88.46%                    78.16%
Northeast              Greater Boston                     8/15/2020                    88.70%              91.12%                    71.35%
Northeast              Greater Boston                     8/22/2020                    89.40%              87.15%                    69.85%
Northeast              Greater Boston                     8/29/2020                    90.20%              88.64%                    71.98%
Northeast              Greater Boston                      9/5/2020                    90.66%              88.31%                    80.80%
Northeast              Greater Boston                     9/12/2020                    88.68%              82.97%                    74.15%
Northeast              Greater Boston                     9/19/2020                    83.58%              85.18%                    80.11%
Northeast              Greater Boston                     9/26/2020                    89.69%              91.78%                    78.72%
Northeast              Greater Boston                     10/3/2020                    89.53%              89.36%                    77.63%
Northeast              Greater Boston                    10/10/2020                    88.70%              86.99%                    72.33%
Northeast              Greater Boston                    10/17/2020                    86.58%              89.80%                    75.12%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                     District                Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Long Island                         1/4/2020                    90.16%              91.16%                    88.65%
Northeast              Long Island                        1/11/2020                    88.56%              89.42%                    82.62%
Northeast              Long Island                        1/18/2020                    91.39%              90.35%                    86.97%
Northeast              Long Island                        1/25/2020                    88.25%              91.53%                    89.23%
Northeast              Long Island                         2/1/2020                    90.77%              90.13%                    88.64%
Northeast              Long Island                         2/8/2020                    90.11%              92.20%                    86.88%
Northeast              Long Island                        2/15/2020                    92.40%              93.49%                    90.05%
Northeast              Long Island                        2/22/2020                    91.31%              95.29%                    85.67%
Northeast              Long Island                        2/29/2020                    92.15%              92.72%                    88.70%
Northeast              Long Island                         3/7/2020                    89.86%              91.83%                    83.93%
Northeast              Long Island                        3/14/2020                    90.31%              92.14%                    90.71%
Northeast              Long Island                        3/21/2020                    89.04%              93.26%                    90.25%
Northeast              Long Island                        3/28/2020                    90.14%              93.69%                    82.01%
Northeast              Long Island                         4/1/2020                    90.84%              74.32%                    75.61%
Northeast              Long Island                         4/4/2020                    84.77%              62.40%                    39.98%
Northeast              Long Island                        4/11/2020                    79.18%              58.75%                    25.15%
Northeast              Long Island                        4/18/2020                    82.86%              49.05%                    38.40%
Northeast              Long Island                        4/25/2020                    82.33%              51.29%                    28.52%
Northeast              Long Island                         5/2/2020                    75.80%              65.70%                    30.96%
Northeast              Long Island                         5/9/2020                    79.72%              68.45%                    29.11%
Northeast              Long Island                        5/16/2020                    85.58%              76.42%                    33.62%
Northeast              Long Island                        5/23/2020                    86.62%              84.12%                    46.75%
Northeast              Long Island                        5/30/2020                    83.70%              85.64%                    59.77%
Northeast              Long Island                         6/6/2020                    83.59%              90.23%                    57.00%
Northeast              Long Island                        6/13/2020                    87.49%              90.80%                    78.55%
Northeast              Long Island                        6/20/2020                    87.34%              91.42%                    69.94%
Northeast              Long Island                        6/27/2020                    87.11%              89.77%                    81.57%
Northeast              Long Island                         7/1/2020                    88.84%              88.03%                    72.17%
Northeast              Long Island                         7/4/2020                    85.64%              85.28%                    74.22%
Northeast              Long Island                        7/11/2020                    76.25%              85.21%                    76.38%
Northeast              Long Island                        7/18/2020                    76.83%              86.89%                    75.35%
Northeast              Long Island                        7/25/2020                    82.98%              86.79%                    70.15%
Northeast              Long Island                         8/1/2020                    82.71%              83.38%                    57.31%
Northeast              Long Island                         8/8/2020                    75.89%              88.68%                    70.43%
Northeast              Long Island                        8/15/2020                    80.09%              89.12%                    75.62%
Northeast              Long Island                        8/22/2020                    84.19%              91.73%                    81.95%
Northeast              Long Island                        8/29/2020                    87.19%              90.98%                    79.12%
Northeast              Long Island                         9/5/2020                    88.21%              89.24%                    85.34%
Northeast              Long Island                        9/12/2020                    87.80%              91.47%                    78.77%
Northeast              Long Island                        9/19/2020                    85.03%              93.47%                    82.74%
Northeast              Long Island                        9/26/2020                    86.85%              94.23%                    84.15%
Northeast              Long Island                        10/3/2020                    84.85%              93.04%                    81.32%
Northeast              Long Island                       10/10/2020                    84.48%              92.44%                    73.29%
Northeast              Long Island                       10/17/2020                    82.67%              92.28%                    75.48%
Northeast              New York                            1/4/2020                    83.90%              89.38%                    80.38%
Northeast              New York                           1/11/2020                    87.42%              86.00%                    74.97%
Northeast              New York                           1/18/2020                    89.11%              82.78%                    74.34%
Northeast              New York                           1/25/2020                    88.11%              88.55%                    76.33%
Northeast              New York                            2/1/2020                    87.20%              88.68%                    79.91%
Northeast              New York                            2/8/2020                    87.11%              91.37%                    82.68%
Northeast              New York                           2/15/2020                    89.18%              89.58%                    83.14%
Northeast              New York                           2/22/2020                    88.10%              82.19%                    76.82%
Northeast              New York                           2/29/2020                    89.09%              86.73%                    79.71%
Northeast              New York                            3/7/2020                    87.05%              87.47%                    77.56%
Northeast              New York                           3/14/2020                    84.64%              77.75%                    81.21%
Northeast              New York                           3/21/2020                    77.13%              67.92%                    61.23%
Northeast              New York                           3/28/2020                    79.72%              80.61%                    46.85%
Northeast              New York                            4/1/2020                    75.78%              65.20%                    35.10%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          30
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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       Area                   District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              New York                            4/4/2020                    56.73%              16.30%                    38.08%
Northeast              New York                           4/11/2020                    42.99%              12.72%                    35.44%
Northeast              New York                           4/18/2020                    38.99%              14.52%                    30.25%
Northeast              New York                           4/25/2020                    38.06%              10.83%                    34.82%
Northeast              New York                            5/2/2020                    36.47%              18.43%                    35.56%
Northeast              New York                            5/9/2020                    55.06%              54.45%                    52.78%
Northeast              New York                           5/16/2020                    82.93%              84.68%                    66.38%
Northeast              New York                           5/23/2020                    83.57%              88.52%                    70.60%
Northeast              New York                           5/30/2020                    81.45%              89.08%                    57.08%
Northeast              New York                            6/6/2020                    81.53%              90.62%                    67.97%
Northeast              New York                           6/13/2020                    83.66%              92.38%                    70.30%
Northeast              New York                           6/20/2020                    82.57%              90.92%                    70.34%
Northeast              New York                           6/27/2020                    83.12%              91.34%                    71.67%
Northeast              New York                            7/1/2020                    85.63%              90.78%                    72.04%
Northeast              New York                            7/4/2020                    85.41%              85.82%                    75.34%
Northeast              New York                           7/11/2020                    80.05%              88.65%                    78.34%
Northeast              New York                           7/18/2020                    79.02%              88.09%                    78.15%
Northeast              New York                           7/25/2020                    82.94%              86.85%                    67.57%
Northeast              New York                            8/1/2020                    81.72%              87.17%                    69.98%
Northeast              New York                            8/8/2020                    78.04%              88.02%                    73.55%
Northeast              New York                           8/15/2020                    82.20%              89.65%                    75.33%
Northeast              New York                           8/22/2020                    83.84%              89.50%                    81.68%
Northeast              New York                           8/29/2020                    85.88%              91.35%                    82.20%
Northeast              New York                            9/5/2020                    87.75%              89.25%                    89.42%
Northeast              New York                           9/12/2020                    84.60%              92.69%                    84.78%
Northeast              New York                           9/19/2020                    85.49%              91.62%                    81.33%
Northeast              New York                           9/26/2020                    85.80%              94.32%                    85.26%
Northeast              New York                           10/3/2020                    85.06%              92.56%                    85.12%
Northeast              New York                          10/10/2020                    87.53%              90.31%                    84.01%
Northeast              New York                          10/17/2020                    83.03%              93.79%                    83.30%
Northeast              Northern New England                1/4/2020                    91.62%              91.09%                    80.42%
Northeast              Northern New England               1/11/2020                    91.28%              90.82%                    79.80%
Northeast              Northern New England               1/18/2020                    92.83%              91.02%                    83.79%
Northeast              Northern New England               1/25/2020                    91.18%              93.40%                    82.35%
Northeast              Northern New England                2/1/2020                    91.59%              92.68%                    84.06%
Northeast              Northern New England                2/8/2020                    91.34%              93.23%                    81.94%
Northeast              Northern New England               2/15/2020                    93.22%              92.36%                    86.73%
Northeast              Northern New England               2/22/2020                    92.15%              93.40%                    84.46%
Northeast              Northern New England               2/29/2020                    93.21%              94.46%                    80.84%
Northeast              Northern New England                3/7/2020                    90.11%              91.76%                    85.38%
Northeast              Northern New England               3/14/2020                    92.85%              92.40%                    82.29%
Northeast              Northern New England               3/21/2020                    92.38%              94.60%                    82.91%
Northeast              Northern New England               3/28/2020                    92.04%              87.35%                    70.55%
Northeast              Northern New England                4/1/2020                    92.78%              93.82%                    85.10%
Northeast              Northern New England                4/4/2020                    91.09%              93.45%                    64.14%
Northeast              Northern New England               4/11/2020                    86.61%              89.45%                    60.55%
Northeast              Northern New England               4/18/2020                    91.44%              88.90%                    72.42%
Northeast              Northern New England               4/25/2020                    89.92%              84.16%                    44.47%
Northeast              Northern New England                5/2/2020                    87.37%              87.45%                    62.58%
Northeast              Northern New England                5/9/2020                    86.96%              89.86%                    65.10%
Northeast              Northern New England               5/16/2020                    89.10%              87.85%                    59.33%
Northeast              Northern New England               5/23/2020                    88.30%              88.51%                    66.15%
Northeast              Northern New England               5/30/2020                    87.50%              91.12%                    62.39%
Northeast              Northern New England                6/6/2020                    86.63%              88.96%                    61.33%
Northeast              Northern New England               6/13/2020                    90.16%              90.66%                    67.56%
Northeast              Northern New England               6/20/2020                    88.53%              90.37%                    56.49%
Northeast              Northern New England               6/27/2020                    89.21%              83.45%                    65.02%
Northeast              Northern New England                7/1/2020                    90.96%              94.25%                    37.16%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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       Area                   District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Northern New England                7/4/2020                    90.85%              89.59%                    59.52%
Northeast              Northern New England               7/11/2020                    81.99%              87.48%                    58.20%
Northeast              Northern New England               7/18/2020                    85.04%              89.08%                    61.31%
Northeast              Northern New England               7/25/2020                    87.56%              90.90%                    48.73%
Northeast              Northern New England                8/1/2020                    85.34%              88.04%                    59.24%
Northeast              Northern New England                8/8/2020                    84.28%              91.16%                    49.25%
Northeast              Northern New England               8/15/2020                    86.38%              93.00%                    59.41%
Northeast              Northern New England               8/22/2020                    89.09%              94.70%                    56.88%
Northeast              Northern New England               8/29/2020                    90.24%              94.02%                    66.61%
Northeast              Northern New England                9/5/2020                    90.17%              87.31%                    74.26%
Northeast              Northern New England               9/12/2020                    87.92%              88.86%                    44.10%
Northeast              Northern New England               9/19/2020                    84.75%              93.03%                    64.91%
Northeast              Northern New England               9/26/2020                    87.44%              93.14%                    69.14%
Northeast              Northern New England               10/3/2020                    86.65%              88.30%                    68.64%
Northeast              Northern New England              10/10/2020                    87.72%              85.72%                    73.56%
Northeast              Northern New England              10/17/2020                    84.92%              93.15%                    61.64%
Northeast              Northern New Jersey                 1/4/2020                    92.49%              87.20%                    76.98%
Northeast              Northern New Jersey                1/11/2020                    92.44%              87.24%                    79.15%
Northeast              Northern New Jersey                1/18/2020                    93.33%              91.00%                    85.70%
Northeast              Northern New Jersey                1/25/2020                    93.34%              92.86%                    83.08%
Northeast              Northern New Jersey                 2/1/2020                    93.11%              92.00%                    86.10%
Northeast              Northern New Jersey                 2/8/2020                    93.50%              92.81%                    89.32%
Northeast              Northern New Jersey                2/15/2020                    94.50%              94.66%                    85.18%
Northeast              Northern New Jersey                2/22/2020                    93.56%              94.12%                    85.27%
Northeast              Northern New Jersey                2/29/2020                    93.99%              93.00%                    83.11%
Northeast              Northern New Jersey                 3/7/2020                    93.62%              92.75%                    81.41%
Northeast              Northern New Jersey                3/14/2020                    92.93%              91.79%                    81.27%
Northeast              Northern New Jersey                3/21/2020                    93.44%              91.84%                    78.27%
Northeast              Northern New Jersey                3/28/2020                    92.97%              86.34%                    79.29%
Northeast              Northern New Jersey                 4/1/2020                    92.16%              87.03%                    67.65%
Northeast              Northern New Jersey                 4/4/2020                    90.27%              82.98%                    81.44%
Northeast              Northern New Jersey                4/11/2020                    88.47%              78.18%                    56.85%
Northeast              Northern New Jersey                4/18/2020                    90.05%              72.94%                    30.67%
Northeast              Northern New Jersey                4/25/2020                    87.66%              68.38%                    16.80%
Northeast              Northern New Jersey                 5/2/2020                    86.36%              59.71%                    11.24%
Northeast              Northern New Jersey                 5/9/2020                    87.25%              76.18%                    15.89%
Northeast              Northern New Jersey                5/16/2020                    88.68%              77.00%                    31.48%
Northeast              Northern New Jersey                5/23/2020                    90.86%              82.46%                    37.80%
Northeast              Northern New Jersey                5/30/2020                    88.22%              89.52%                    56.10%
Northeast              Northern New Jersey                 6/6/2020                    89.34%              90.66%                    62.52%
Northeast              Northern New Jersey                6/13/2020                    89.91%              90.39%                    67.18%
Northeast              Northern New Jersey                6/20/2020                    90.82%              89.32%                    71.39%
Northeast              Northern New Jersey                6/27/2020                    89.81%              83.17%                    75.95%
Northeast              Northern New Jersey                 7/1/2020                    91.98%              91.31%                    76.68%
Northeast              Northern New Jersey                 7/4/2020                    90.29%              86.65%                    67.75%
Northeast              Northern New Jersey                7/11/2020                    84.33%              87.64%                    70.58%
Northeast              Northern New Jersey                7/18/2020                    80.74%              84.01%                    64.18%
Northeast              Northern New Jersey                7/25/2020                    87.12%              85.07%                    70.92%
Northeast              Northern New Jersey                 8/1/2020                    86.09%              78.79%                    66.26%
Northeast              Northern New Jersey                 8/8/2020                    83.97%              83.10%                    61.77%
Northeast              Northern New Jersey                8/15/2020                    85.27%              86.61%                    69.68%
Northeast              Northern New Jersey                8/22/2020                    88.20%              89.16%                    72.55%
Northeast              Northern New Jersey                8/29/2020                    89.99%              89.08%                    69.43%
Northeast              Northern New Jersey                 9/5/2020                    91.00%              89.21%                    80.21%
Northeast              Northern New Jersey                9/12/2020                    88.72%              89.64%                    76.87%
Northeast              Northern New Jersey                9/19/2020                    84.48%              91.54%                    77.01%
Northeast              Northern New Jersey                9/26/2020                    88.98%              89.42%                    83.32%
Northeast              Northern New Jersey                10/3/2020                    89.24%              90.86%                    82.36%

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Commission (PRC) at the end of the quarter.                          32
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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       Area                    District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Northern New Jersey               10/10/2020                    89.27%              88.29%                    76.17%
Northeast              Northern New Jersey               10/17/2020                    84.93%              89.39%                    67.58%
Northeast              Triboro                             1/4/2020                    87.43%              88.87%                    81.86%
Northeast              Triboro                            1/11/2020                    86.14%              85.62%                    77.24%
Northeast              Triboro                            1/18/2020                    86.10%              83.78%                    70.99%
Northeast              Triboro                            1/25/2020                    82.22%              87.18%                    77.53%
Northeast              Triboro                             2/1/2020                    86.97%              87.49%                    79.92%
Northeast              Triboro                             2/8/2020                    88.39%              89.18%                    82.97%
Northeast              Triboro                            2/15/2020                    89.52%              89.03%                    75.78%
Northeast              Triboro                            2/22/2020                    88.50%              90.71%                    74.27%
Northeast              Triboro                            2/29/2020                    89.61%              87.98%                    78.95%
Northeast              Triboro                             3/7/2020                    89.49%              88.48%                    74.14%
Northeast              Triboro                            3/14/2020                    82.93%              81.36%                    79.07%
Northeast              Triboro                            3/21/2020                    85.66%              86.12%                    75.87%
Northeast              Triboro                            3/28/2020                    83.19%              82.97%                    50.98%
Northeast              Triboro                             4/1/2020                    84.22%              82.42%                    65.77%
Northeast              Triboro                             4/4/2020                    78.92%              76.28%                    58.38%
Northeast              Triboro                            4/11/2020                    69.95%              77.67%                    44.82%
Northeast              Triboro                            4/18/2020                    69.55%              73.43%                    53.99%
Northeast              Triboro                            4/25/2020                    75.00%              67.48%                    45.06%
Northeast              Triboro                             5/2/2020                    67.97%              67.40%                    39.92%
Northeast              Triboro                             5/9/2020                    74.43%              73.24%                    50.28%
Northeast              Triboro                            5/16/2020                    80.06%              81.51%                    52.74%
Northeast              Triboro                            5/23/2020                    80.13%              79.48%                    46.03%
Northeast              Triboro                            5/30/2020                    84.35%              85.31%                    53.33%
Northeast              Triboro                             6/6/2020                    83.58%              87.56%                    50.65%
Northeast              Triboro                            6/13/2020                    85.60%              85.80%                    61.99%
Northeast              Triboro                            6/20/2020                    84.18%              88.45%                    62.41%
Northeast              Triboro                            6/27/2020                    85.01%              89.20%                    69.06%
Northeast              Triboro                             7/1/2020                    88.64%              87.91%                    53.10%
Northeast              Triboro                             7/4/2020                    86.51%              84.99%                    53.23%
Northeast              Triboro                            7/11/2020                    83.35%              83.20%                    61.71%
Northeast              Triboro                            7/18/2020                    77.09%              79.51%                    57.12%
Northeast              Triboro                            7/25/2020                    80.82%              79.57%                    49.31%
Northeast              Triboro                             8/1/2020                    80.82%              79.92%                    52.49%
Northeast              Triboro                             8/8/2020                    81.16%              80.63%                    50.32%
Northeast              Triboro                            8/15/2020                    82.04%              83.24%                    60.43%
Northeast              Triboro                            8/22/2020                    85.29%              81.84%                    64.45%
Northeast              Triboro                            8/29/2020                    85.27%              85.94%                    52.45%
Northeast              Triboro                             9/5/2020                    87.00%              86.99%                    68.78%
Northeast              Triboro                            9/12/2020                    85.33%              83.72%                    69.03%
Northeast              Triboro                            9/19/2020                    85.18%              87.20%                    70.01%
Northeast              Triboro                            9/26/2020                    86.32%              87.53%                    61.15%
Northeast              Triboro                            10/3/2020                    86.82%              88.46%                    66.84%
Northeast              Triboro                           10/10/2020                    87.14%              84.79%                    65.73%
Northeast              Triboro                           10/17/2020                    82.81%              87.41%                    68.47%
Northeast              Westchester                         1/4/2020                    90.05%              89.06%                    75.26%
Northeast              Westchester                        1/11/2020                    90.55%              87.11%                    77.75%
Northeast              Westchester                        1/18/2020                    91.89%              89.96%                    80.35%
Northeast              Westchester                        1/25/2020                    91.48%              92.17%                    85.92%
Northeast              Westchester                         2/1/2020                    91.51%              92.20%                    87.24%
Northeast              Westchester                         2/8/2020                    92.43%              91.60%                    86.27%
Northeast              Westchester                        2/15/2020                    93.37%              92.61%                    87.99%
Northeast              Westchester                        2/22/2020                    93.23%              93.19%                    83.39%
Northeast              Westchester                        2/29/2020                    93.14%              92.61%                    77.88%
Northeast              Westchester                         3/7/2020                    91.88%              88.74%                    78.34%
Northeast              Westchester                        3/14/2020                    77.92%              60.49%                    61.81%
Northeast              Westchester                        3/21/2020                    89.60%              84.65%                    68.49%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast              Westchester                        3/28/2020                    91.49%              78.88%                    65.56%
Northeast              Westchester                         4/1/2020                    90.72%              75.47%                    58.96%
Northeast              Westchester                         4/4/2020                    84.97%              42.80%                    44.35%
Northeast              Westchester                        4/11/2020                    79.26%              42.07%                    39.29%
Northeast              Westchester                        4/18/2020                    84.90%              73.71%                    52.28%
Northeast              Westchester                        4/25/2020                    84.12%              73.76%                    45.82%
Northeast              Westchester                         5/2/2020                    83.59%              72.09%                    42.58%
Northeast              Westchester                         5/9/2020                    86.60%              85.48%                    54.53%
Northeast              Westchester                        5/16/2020                    89.21%              86.99%                    61.23%
Northeast              Westchester                        5/23/2020                    90.54%              87.04%                    69.01%
Northeast              Westchester                        5/30/2020                    88.36%              85.86%                    68.91%
Northeast              Westchester                         6/6/2020                    87.32%              87.87%                    69.61%
Northeast              Westchester                        6/13/2020                    89.31%              89.08%                    72.94%
Northeast              Westchester                        6/20/2020                    90.16%              88.00%                    73.90%
Northeast              Westchester                        6/27/2020                    91.07%              82.32%                    80.26%
Northeast              Westchester                         7/1/2020                    92.68%              89.36%                    76.43%
Northeast              Westchester                         7/4/2020                    89.91%              87.88%                    75.07%
Northeast              Westchester                        7/11/2020                    83.80%              82.18%                    69.28%
Northeast              Westchester                        7/18/2020                    81.79%              83.91%                    68.70%
Northeast              Westchester                        7/25/2020                    84.87%              82.04%                    64.74%
Northeast              Westchester                         8/1/2020                    84.60%              82.17%                    59.21%
Northeast              Westchester                         8/8/2020                    77.94%              81.94%                    53.34%
Northeast              Westchester                        8/15/2020                    84.42%              88.08%                    64.05%
Northeast              Westchester                        8/22/2020                    86.52%              88.31%                    59.89%
Northeast              Westchester                        8/29/2020                    89.26%              89.10%                    67.68%
Northeast              Westchester                         9/5/2020                    88.65%              89.21%                    62.51%
Northeast              Westchester                        9/12/2020                    82.96%              80.48%                    60.08%
Northeast              Westchester                        9/19/2020                    85.80%              84.31%                    66.05%
Northeast              Westchester                        9/26/2020                    86.75%              88.49%                    71.63%
Northeast              Westchester                        10/3/2020                    85.22%              89.25%                    67.10%
Northeast              Westchester                       10/10/2020                    85.09%              85.09%                    68.01%
Northeast              Westchester                       10/17/2020                    83.30%              87.21%                    69.85%
Pacific                Bay‐Valley                          1/4/2020                    93.90%              93.37%                    77.21%
Pacific                Bay‐Valley                         1/11/2020                    93.36%              92.87%                    90.28%
Pacific                Bay‐Valley                         1/18/2020                    95.00%              93.79%                    87.41%
Pacific                Bay‐Valley                         1/25/2020                    93.54%              92.15%                    89.12%
Pacific                Bay‐Valley                          2/1/2020                    91.25%              91.03%                    86.93%
Pacific                Bay‐Valley                          2/8/2020                    91.88%              93.21%                    88.80%
Pacific                Bay‐Valley                         2/15/2020                    94.71%              95.04%                    90.63%
Pacific                Bay‐Valley                         2/22/2020                    94.16%              95.81%                    84.50%
Pacific                Bay‐Valley                         2/29/2020                    93.54%              92.26%                    83.13%
Pacific                Bay‐Valley                          3/7/2020                    93.77%              94.16%                    92.07%
Pacific                Bay‐Valley                         3/14/2020                    93.41%              94.09%                    90.21%
Pacific                Bay‐Valley                         3/21/2020                    94.29%              94.52%                    88.49%
Pacific                Bay‐Valley                         3/28/2020                    94.38%              95.62%                    88.92%
Pacific                Bay‐Valley                          4/1/2020                    94.29%              86.97%                    89.47%
Pacific                Bay‐Valley                          4/4/2020                    94.01%              94.26%                    89.42%
Pacific                Bay‐Valley                         4/11/2020                    91.83%              94.21%                    86.87%
Pacific                Bay‐Valley                         4/18/2020                    93.18%              93.03%                    89.55%
Pacific                Bay‐Valley                         4/25/2020                    93.47%              92.97%                    88.03%
Pacific                Bay‐Valley                          5/2/2020                    91.66%              92.91%                    85.79%
Pacific                Bay‐Valley                          5/9/2020                    91.08%              92.84%                    87.25%
Pacific                Bay‐Valley                         5/16/2020                    91.13%              92.84%                    83.53%
Pacific                Bay‐Valley                         5/23/2020                    93.76%              91.93%                    85.17%
Pacific                Bay‐Valley                         5/30/2020                    91.78%              91.52%                    84.59%
Pacific                Bay‐Valley                          6/6/2020                    92.05%              91.95%                    77.48%
Pacific                Bay‐Valley                         6/13/2020                    92.98%              91.50%                    86.73%
Pacific                Bay‐Valley                         6/20/2020                    92.14%              91.57%                    85.70%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          34
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Bay‐Valley                         6/27/2020                    93.66%              93.29%                    87.82%
Pacific                Bay‐Valley                          7/1/2020                    91.32%              83.51%                    87.84%
Pacific                Bay‐Valley                          7/4/2020                    92.43%              89.12%                    75.14%
Pacific                Bay‐Valley                         7/11/2020                    88.96%              85.41%                    84.08%
Pacific                Bay‐Valley                         7/18/2020                    87.97%              80.11%                    83.63%
Pacific                Bay‐Valley                         7/25/2020                    89.30%              80.13%                    82.25%
Pacific                Bay‐Valley                          8/1/2020                    86.94%              81.56%                    71.42%
Pacific                Bay‐Valley                          8/8/2020                    85.64%              85.76%                    69.03%
Pacific                Bay‐Valley                         8/15/2020                    88.41%              88.00%                    81.54%
Pacific                Bay‐Valley                         8/22/2020                    90.13%              89.05%                    83.41%
Pacific                Bay‐Valley                         8/29/2020                    91.03%              87.55%                    80.86%
Pacific                Bay‐Valley                          9/5/2020                    92.54%              90.82%                    83.73%
Pacific                Bay‐Valley                         9/12/2020                    89.99%              89.89%                    84.73%
Pacific                Bay‐Valley                         9/19/2020                    90.98%              93.25%                    87.75%
Pacific                Bay‐Valley                         9/26/2020                    92.04%              92.38%                    84.85%
Pacific                Bay‐Valley                         10/3/2020                    91.64%              88.30%                    75.47%
Pacific                Bay‐Valley                        10/10/2020                    91.89%              88.29%                    79.51%
Pacific                Bay‐Valley                        10/17/2020                    87.74%              92.51%                    83.14%
Pacific                Honolulu                            1/4/2020                    93.07%              92.72%                    86.73%
Pacific                Honolulu                           1/11/2020                    90.63%              84.49%                    82.84%
Pacific                Honolulu                           1/18/2020                    92.54%              92.30%                    77.32%
Pacific                Honolulu                           1/25/2020                    87.06%              92.21%                    86.58%
Pacific                Honolulu                            2/1/2020                    87.71%              92.38%                    89.04%
Pacific                Honolulu                            2/8/2020                    91.43%              77.79%                    94.08%
Pacific                Honolulu                           2/15/2020                    92.83%              92.11%                    91.78%
Pacific                Honolulu                           2/22/2020                    92.69%              94.76%                    91.41%
Pacific                Honolulu                           2/29/2020                    91.72%              94.27%                    79.76%
Pacific                Honolulu                            3/7/2020                    89.39%              92.61%                    80.10%
Pacific                Honolulu                           3/14/2020                    89.73%              92.10%                    83.49%
Pacific                Honolulu                           3/21/2020                    91.28%              79.98%                    89.66%
Pacific                Honolulu                           3/28/2020                    90.23%              95.11%                    86.13%
Pacific                Honolulu                            4/1/2020                    89.50%              96.79%                    69.65%
Pacific                Honolulu                            4/4/2020                    90.97%              94.84%                    81.81%
Pacific                Honolulu                           4/11/2020                    89.77%              95.95%                    68.64%
Pacific                Honolulu                           4/18/2020                    87.56%              95.54%                    89.71%
Pacific                Honolulu                           4/25/2020                    88.64%              91.92%                    76.59%
Pacific                Honolulu                            5/2/2020                    90.16%              91.63%                    92.36%
Pacific                Honolulu                            5/9/2020                    86.95%              80.68%                    74.72%
Pacific                Honolulu                           5/16/2020                    88.24%              79.46%                    88.67%
Pacific                Honolulu                           5/23/2020                    87.01%              79.68%                    61.89%
Pacific                Honolulu                           5/30/2020                    83.36%              92.13%                    58.82%
Pacific                Honolulu                            6/6/2020                    81.82%              91.58%                    82.62%
Pacific                Honolulu                           6/13/2020                    79.01%              82.27%                    79.77%
Pacific                Honolulu                           6/20/2020                    68.85%              95.12%                    68.25%
Pacific                Honolulu                           6/27/2020                    75.58%              95.76%                    88.17%
Pacific                Honolulu                            7/1/2020                    71.15%              95.73%                    88.77%
Pacific                Honolulu                            7/4/2020                    83.19%              94.80%                    83.07%
Pacific                Honolulu                           7/11/2020                    80.41%              84.11%                    54.73%
Pacific                Honolulu                           7/18/2020                    70.53%              84.36%                    44.36%
Pacific                Honolulu                           7/25/2020                    57.47%              74.16%                    39.74%
Pacific                Honolulu                            8/1/2020                    55.23%              61.85%                    60.96%
Pacific                Honolulu                            8/8/2020                    63.81%              72.37%                    76.66%
Pacific                Honolulu                           8/15/2020                    84.01%              93.28%                    84.97%
Pacific                Honolulu                           8/22/2020                    88.67%              96.10%                    78.17%
Pacific                Honolulu                           8/29/2020                    88.54%              97.23%                    93.54%
Pacific                Honolulu                            9/5/2020                    90.41%              94.57%                    84.19%
Pacific                Honolulu                           9/12/2020                    87.26%              89.59%                    89.53%
Pacific                Honolulu                           9/19/2020                    85.06%              81.75%                    90.67%

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Commission (PRC) at the end of the quarter.                          35
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          Area                District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Honolulu                           9/26/2020                    83.88%              95.86%                    73.04%
Pacific                Honolulu                           10/3/2020                    88.06%              93.47%                    89.72%
Pacific                Honolulu                          10/10/2020                    85.27%              94.98%                    83.00%
Pacific                Honolulu                          10/17/2020                    87.45%              94.56%                    69.75%
Pacific                Los Angeles                         1/4/2020                    94.09%              92.59%                    84.55%
Pacific                Los Angeles                        1/11/2020                    92.59%              90.44%                    83.85%
Pacific                Los Angeles                        1/18/2020                    92.90%              89.13%                    88.15%
Pacific                Los Angeles                        1/25/2020                    93.37%              89.71%                    86.56%
Pacific                Los Angeles                         2/1/2020                    90.05%              76.98%                    81.80%
Pacific                Los Angeles                         2/8/2020                    91.05%              89.55%                    87.50%
Pacific                Los Angeles                        2/15/2020                    93.66%              91.80%                    87.51%
Pacific                Los Angeles                        2/22/2020                    94.15%              93.70%                    86.62%
Pacific                Los Angeles                        2/29/2020                    93.85%              87.37%                    78.31%
Pacific                Los Angeles                         3/7/2020                    92.76%              88.70%                    78.53%
Pacific                Los Angeles                        3/14/2020                    92.62%              89.91%                    84.01%
Pacific                Los Angeles                        3/21/2020                    92.69%              93.88%                    77.10%
Pacific                Los Angeles                        3/28/2020                    93.95%              94.57%                    84.09%
Pacific                Los Angeles                         4/1/2020                    92.91%              90.95%                    86.86%
Pacific                Los Angeles                         4/4/2020                    93.01%              90.99%                    89.00%
Pacific                Los Angeles                        4/11/2020                    91.74%              89.62%                    82.14%
Pacific                Los Angeles                        4/18/2020                    92.26%              90.74%                    81.41%
Pacific                Los Angeles                        4/25/2020                    87.49%              90.88%                    72.33%
Pacific                Los Angeles                         5/2/2020                    92.10%              91.83%                    75.56%
Pacific                Los Angeles                         5/9/2020                    91.29%              91.44%                    60.81%
Pacific                Los Angeles                        5/16/2020                    92.33%              92.08%                    72.34%
Pacific                Los Angeles                        5/23/2020                    91.52%              91.59%                    71.93%
Pacific                Los Angeles                        5/30/2020                    88.98%              85.57%                    52.95%
Pacific                Los Angeles                         6/6/2020                    88.32%              87.32%                    65.16%
Pacific                Los Angeles                        6/13/2020                    90.77%              86.95%                    67.54%
Pacific                Los Angeles                        6/20/2020                    87.71%              86.37%                    67.08%
Pacific                Los Angeles                        6/27/2020                    87.86%              83.60%                    69.35%
Pacific                Los Angeles                         7/1/2020                    89.32%              85.52%                    74.05%
Pacific                Los Angeles                         7/4/2020                    88.88%              82.65%                    66.61%
Pacific                Los Angeles                        7/11/2020                    82.68%              75.74%                    56.56%
Pacific                Los Angeles                        7/18/2020                    77.93%              74.79%                    46.45%
Pacific                Los Angeles                        7/25/2020                    77.29%              74.37%                    48.90%
Pacific                Los Angeles                         8/1/2020                    73.51%              72.38%                    36.82%
Pacific                Los Angeles                         8/8/2020                    78.03%              77.82%                    53.56%
Pacific                Los Angeles                        8/15/2020                    83.39%              84.37%                    51.97%
Pacific                Los Angeles                        8/22/2020                    86.23%              87.04%                    55.65%
Pacific                Los Angeles                        8/29/2020                    88.66%              87.06%                    65.00%
Pacific                Los Angeles                         9/5/2020                    89.17%              90.87%                    78.82%
Pacific                Los Angeles                        9/12/2020                    91.52%              90.34%                    80.36%
Pacific                Los Angeles                        9/19/2020                    90.24%              93.30%                    79.58%
Pacific                Los Angeles                        9/26/2020                    89.30%              93.43%                    75.07%
Pacific                Los Angeles                        10/3/2020                    89.40%              93.10%                    78.07%
Pacific                Los Angeles                       10/10/2020                    89.44%              91.36%                    75.77%
Pacific                Los Angeles                       10/17/2020                    88.16%              95.05%                    69.74%
Pacific                Sacramento                          1/4/2020                    93.62%              93.13%                    87.90%
Pacific                Sacramento                         1/11/2020                    91.42%              92.65%                    85.09%
Pacific                Sacramento                         1/18/2020                    93.72%              91.91%                    91.15%
Pacific                Sacramento                         1/25/2020                    91.54%              93.23%                    88.72%
Pacific                Sacramento                          2/1/2020                    91.03%              92.40%                    91.44%
Pacific                Sacramento                          2/8/2020                    91.41%              92.67%                    91.27%
Pacific                Sacramento                         2/15/2020                    94.23%              93.65%                    90.51%
Pacific                Sacramento                         2/22/2020                    94.00%              95.82%                    88.51%
Pacific                Sacramento                         2/29/2020                    94.17%              94.92%                    88.57%
Pacific                Sacramento                          3/7/2020                    93.75%              93.48%                    88.43%

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Commission (PRC) at the end of the quarter.                          36
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                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Sacramento                         3/14/2020                    92.72%              92.49%                    88.46%
Pacific                Sacramento                         3/21/2020                    93.32%              94.65%                    88.01%
Pacific                Sacramento                         3/28/2020                    93.38%              93.99%                    85.50%
Pacific                Sacramento                          4/1/2020                    93.56%              86.14%                    91.73%
Pacific                Sacramento                          4/4/2020                    91.60%              93.05%                    87.05%
Pacific                Sacramento                         4/11/2020                    90.57%              93.45%                    74.89%
Pacific                Sacramento                         4/18/2020                    91.93%              93.12%                    81.49%
Pacific                Sacramento                         4/25/2020                    91.15%              89.23%                    80.96%
Pacific                Sacramento                          5/2/2020                    89.50%              91.71%                    75.85%
Pacific                Sacramento                          5/9/2020                    86.56%              90.06%                    62.22%
Pacific                Sacramento                         5/16/2020                    88.04%              89.43%                    72.06%
Pacific                Sacramento                         5/23/2020                    92.08%              88.97%                    73.05%
Pacific                Sacramento                         5/30/2020                    90.02%              89.61%                    77.27%
Pacific                Sacramento                          6/6/2020                    91.01%              90.88%                    73.57%
Pacific                Sacramento                         6/13/2020                    92.05%              91.04%                    82.94%
Pacific                Sacramento                         6/20/2020                    89.45%              87.93%                    73.70%
Pacific                Sacramento                         6/27/2020                    92.15%              87.23%                    65.73%
Pacific                Sacramento                          7/1/2020                    91.59%              84.81%                    78.89%
Pacific                Sacramento                          7/4/2020                    91.22%              83.92%                    67.20%
Pacific                Sacramento                         7/11/2020                    85.19%              81.01%                    49.06%
Pacific                Sacramento                         7/18/2020                    80.48%              68.41%                    63.88%
Pacific                Sacramento                         7/25/2020                    85.65%              82.26%                    58.98%
Pacific                Sacramento                          8/1/2020                    80.86%              77.50%                    50.19%
Pacific                Sacramento                          8/8/2020                    81.19%              82.76%                    48.97%
Pacific                Sacramento                         8/15/2020                    86.70%              87.08%                    66.65%
Pacific                Sacramento                         8/22/2020                    88.15%              91.78%                    75.12%
Pacific                Sacramento                         8/29/2020                    90.08%              91.65%                    80.42%
Pacific                Sacramento                          9/5/2020                    90.49%              91.07%                    83.66%
Pacific                Sacramento                         9/12/2020                    89.26%              90.43%                    72.98%
Pacific                Sacramento                         9/19/2020                    91.02%              90.83%                    86.23%
Pacific                Sacramento                         9/26/2020                    90.23%              92.53%                    80.13%
Pacific                Sacramento                         10/3/2020                    89.16%              92.71%                    83.12%
Pacific                Sacramento                        10/10/2020                    90.05%              90.61%                    77.07%
Pacific                Sacramento                        10/17/2020                    87.10%              92.13%                    85.48%
Pacific                San Diego                           1/4/2020                    93.25%              94.24%                    82.44%
Pacific                San Diego                          1/11/2020                    92.52%              93.18%                    77.70%
Pacific                San Diego                          1/18/2020                    94.64%              93.96%                    91.94%
Pacific                San Diego                          1/25/2020                    92.02%              93.32%                    90.09%
Pacific                San Diego                           2/1/2020                    90.91%              91.52%                    83.93%
Pacific                San Diego                           2/8/2020                    92.25%              92.27%                    82.65%
Pacific                San Diego                          2/15/2020                    94.76%              92.91%                    92.84%
Pacific                San Diego                          2/22/2020                    93.04%              94.97%                    85.55%
Pacific                San Diego                          2/29/2020                    91.78%              93.41%                    82.33%
Pacific                San Diego                           3/7/2020                    92.55%              94.42%                    86.37%
Pacific                San Diego                          3/14/2020                    90.87%              94.00%                    87.29%
Pacific                San Diego                          3/21/2020                    93.97%              94.23%                    89.24%
Pacific                San Diego                          3/28/2020                    93.42%              95.45%                    83.80%
Pacific                San Diego                           4/1/2020                    94.11%              90.63%                    83.49%
Pacific                San Diego                           4/4/2020                    92.59%              95.11%                    86.64%
Pacific                San Diego                          4/11/2020                    90.91%              93.90%                    84.40%
Pacific                San Diego                          4/18/2020                    92.43%              90.27%                    84.76%
Pacific                San Diego                          4/25/2020                    86.96%              92.76%                    83.45%
Pacific                San Diego                           5/2/2020                    91.07%              92.36%                    81.23%
Pacific                San Diego                           5/9/2020                    89.58%              91.84%                    77.56%
Pacific                San Diego                          5/16/2020                    91.32%              92.81%                    80.04%
Pacific                San Diego                          5/23/2020                    92.39%              92.36%                    76.90%
Pacific                San Diego                          5/30/2020                    89.99%              93.32%                    81.87%
Pacific                San Diego                           6/6/2020                    90.60%              92.39%                    79.96%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                San Diego                          6/13/2020                    91.57%              91.63%                    83.90%
Pacific                San Diego                          6/20/2020                    90.64%              91.91%                    81.98%
Pacific                San Diego                          6/27/2020                    90.13%              92.65%                    82.38%
Pacific                San Diego                           7/1/2020                    93.13%              88.61%                    85.29%
Pacific                San Diego                           7/4/2020                    93.15%              90.76%                    81.03%
Pacific                San Diego                          7/11/2020                    87.83%              89.55%                    69.80%
Pacific                San Diego                          7/18/2020                    84.24%              90.52%                    83.15%
Pacific                San Diego                          7/25/2020                    86.45%              88.67%                    72.57%
Pacific                San Diego                           8/1/2020                    81.65%              89.06%                    73.16%
Pacific                San Diego                           8/8/2020                    81.49%              86.86%                    67.20%
Pacific                San Diego                          8/15/2020                    85.37%              90.83%                    67.40%
Pacific                San Diego                          8/22/2020                    88.36%              92.19%                    79.43%
Pacific                San Diego                          8/29/2020                    89.43%              90.72%                    79.42%
Pacific                San Diego                           9/5/2020                    93.12%              91.78%                    84.37%
Pacific                San Diego                          9/12/2020                    92.07%              92.53%                    82.23%
Pacific                San Diego                          9/19/2020                    90.29%              93.45%                    86.87%
Pacific                San Diego                          9/26/2020                    91.28%              93.51%                    86.52%
Pacific                San Diego                          10/3/2020                    90.44%              93.37%                    83.17%
Pacific                San Diego                         10/10/2020                    91.84%              92.14%                    77.77%
Pacific                San Diego                         10/17/2020                    88.08%              92.51%                    71.16%
Pacific                San Francisco                       1/4/2020                    93.33%              91.61%                    87.61%
Pacific                San Francisco                      1/11/2020                    92.76%              92.17%                    90.17%
Pacific                San Francisco                      1/18/2020                    93.44%              93.20%                    90.84%
Pacific                San Francisco                      1/25/2020                    92.95%              92.33%                    92.73%
Pacific                San Francisco                       2/1/2020                    91.71%              90.46%                    89.28%
Pacific                San Francisco                       2/8/2020                    92.52%              94.10%                    90.52%
Pacific                San Francisco                      2/15/2020                    94.57%              94.41%                    90.36%
Pacific                San Francisco                      2/22/2020                    94.55%              94.72%                    89.58%
Pacific                San Francisco                      2/29/2020                    94.65%              93.54%                    86.53%
Pacific                San Francisco                       3/7/2020                    94.18%              94.49%                    90.94%
Pacific                San Francisco                      3/14/2020                    93.36%              93.71%                    91.56%
Pacific                San Francisco                      3/21/2020                    93.19%              94.15%                    91.28%
Pacific                San Francisco                      3/28/2020                    92.93%              95.44%                    87.37%
Pacific                San Francisco                       4/1/2020                    93.78%              87.92%                    90.62%
Pacific                San Francisco                       4/4/2020                    93.34%              93.84%                    92.87%
Pacific                San Francisco                      4/11/2020                    92.84%              94.52%                    89.53%
Pacific                San Francisco                      4/18/2020                    93.49%              93.27%                    90.48%
Pacific                San Francisco                      4/25/2020                    93.97%              92.89%                    87.67%
Pacific                San Francisco                       5/2/2020                    92.87%              93.47%                    91.09%
Pacific                San Francisco                       5/9/2020                    92.85%              92.17%                    83.94%
Pacific                San Francisco                      5/16/2020                    91.96%              93.44%                    88.98%
Pacific                San Francisco                      5/23/2020                    94.17%              91.32%                    84.18%
Pacific                San Francisco                      5/30/2020                    93.18%              91.13%                    88.58%
Pacific                San Francisco                       6/6/2020                    94.00%              91.99%                    89.23%
Pacific                San Francisco                      6/13/2020                    93.13%              91.80%                    88.26%
Pacific                San Francisco                      6/20/2020                    92.63%              93.49%                    89.61%
Pacific                San Francisco                      6/27/2020                    93.68%              95.18%                    88.10%
Pacific                San Francisco                       7/1/2020                    94.46%              83.27%                    88.10%
Pacific                San Francisco                       7/4/2020                    93.80%              90.09%                    88.24%
Pacific                San Francisco                      7/11/2020                    91.70%              89.14%                    89.87%
Pacific                San Francisco                      7/18/2020                    90.31%              86.48%                    82.72%
Pacific                San Francisco                      7/25/2020                    90.41%              87.37%                    72.21%
Pacific                San Francisco                       8/1/2020                    87.88%              86.84%                    69.82%
Pacific                San Francisco                       8/8/2020                    87.96%              87.64%                    73.76%
Pacific                San Francisco                      8/15/2020                    89.80%              89.96%                    83.55%
Pacific                San Francisco                      8/22/2020                    92.60%              89.69%                    86.03%
Pacific                San Francisco                      8/29/2020                    92.79%              90.43%                    84.52%
Pacific                San Francisco                       9/5/2020                    93.11%              90.59%                    88.49%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          38
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                San Francisco                      9/12/2020                    92.34%              87.58%                    87.36%
Pacific                San Francisco                      9/19/2020                    92.04%              94.14%                    91.13%
Pacific                San Francisco                      9/26/2020                    91.82%              92.35%                    78.04%
Pacific                San Francisco                      10/3/2020                    92.15%              92.10%                    90.20%
Pacific                San Francisco                     10/10/2020                    90.59%              92.17%                    82.10%
Pacific                San Francisco                     10/17/2020                    87.94%              94.47%                    84.39%
Pacific                Santa Ana                           1/4/2020                    93.70%              92.86%                    82.94%
Pacific                Santa Ana                          1/11/2020                    93.69%              90.83%                    87.39%
Pacific                Santa Ana                          1/18/2020                    94.32%              92.47%                    92.27%
Pacific                Santa Ana                          1/25/2020                    91.48%              86.48%                    88.47%
Pacific                Santa Ana                           2/1/2020                    88.98%              84.99%                    87.16%
Pacific                Santa Ana                           2/8/2020                    89.87%              89.76%                    84.90%
Pacific                Santa Ana                          2/15/2020                    94.43%              93.12%                    90.63%
Pacific                Santa Ana                          2/22/2020                    92.70%              94.63%                    90.44%
Pacific                Santa Ana                          2/29/2020                    93.66%              93.81%                    83.59%
Pacific                Santa Ana                           3/7/2020                    94.09%              94.84%                    85.11%
Pacific                Santa Ana                          3/14/2020                    92.61%              94.75%                    88.02%
Pacific                Santa Ana                          3/21/2020                    94.44%              94.86%                    86.95%
Pacific                Santa Ana                          3/28/2020                    93.38%              95.63%                    85.71%
Pacific                Santa Ana                           4/1/2020                    94.86%              91.86%                    83.69%
Pacific                Santa Ana                           4/4/2020                    93.72%              95.28%                    85.61%
Pacific                Santa Ana                          4/11/2020                    93.52%              95.09%                    81.44%
Pacific                Santa Ana                          4/18/2020                    93.31%              90.36%                    85.17%
Pacific                Santa Ana                          4/25/2020                    91.16%              92.87%                    81.75%
Pacific                Santa Ana                           5/2/2020                    93.02%              94.36%                    79.22%
Pacific                Santa Ana                           5/9/2020                    91.51%              94.22%                    76.33%
Pacific                Santa Ana                          5/16/2020                    93.43%              95.72%                    77.63%
Pacific                Santa Ana                          5/23/2020                    91.15%              93.75%                    80.88%
Pacific                Santa Ana                          5/30/2020                    90.83%              93.40%                    76.33%
Pacific                Santa Ana                           6/6/2020                    92.07%              93.42%                    82.91%
Pacific                Santa Ana                          6/13/2020                    93.21%              92.92%                    79.90%
Pacific                Santa Ana                          6/20/2020                    92.66%              92.23%                    86.24%
Pacific                Santa Ana                          6/27/2020                    89.92%              93.19%                    81.16%
Pacific                Santa Ana                           7/1/2020                    92.23%              90.55%                    76.01%
Pacific                Santa Ana                           7/4/2020                    90.93%              89.39%                    73.93%
Pacific                Santa Ana                          7/11/2020                    86.26%              88.35%                    73.54%
Pacific                Santa Ana                          7/18/2020                    81.35%              85.05%                    81.55%
Pacific                Santa Ana                          7/25/2020                    84.05%              89.71%                    71.37%
Pacific                Santa Ana                           8/1/2020                    81.67%              90.56%                    71.21%
Pacific                Santa Ana                           8/8/2020                    80.95%              90.23%                    75.26%
Pacific                Santa Ana                          8/15/2020                    85.13%              92.03%                    74.78%
Pacific                Santa Ana                          8/22/2020                    88.96%              92.71%                    76.28%
Pacific                Santa Ana                          8/29/2020                    89.83%              93.86%                    81.46%
Pacific                Santa Ana                           9/5/2020                    91.16%              92.60%                    75.20%
Pacific                Santa Ana                          9/12/2020                    91.40%              93.20%                    80.99%
Pacific                Santa Ana                          9/19/2020                    90.40%              95.09%                    88.63%
Pacific                Santa Ana                          9/26/2020                    91.63%              94.80%                    72.07%
Pacific                Santa Ana                          10/3/2020                    89.25%              96.92%                    88.23%
Pacific                Santa Ana                         10/10/2020                    91.99%              95.17%                    84.59%
Pacific                Santa Ana                         10/17/2020                    86.46%              96.73%                    82.37%
Pacific                Sierra Coastal                      1/4/2020                    93.28%              94.49%                    78.92%
Pacific                Sierra Coastal                     1/11/2020                    93.38%              94.77%                    85.21%
Pacific                Sierra Coastal                     1/18/2020                    94.22%              93.43%                    92.18%
Pacific                Sierra Coastal                     1/25/2020                    92.52%              95.08%                    89.65%
Pacific                Sierra Coastal                      2/1/2020                    92.37%              94.17%                    88.18%
Pacific                Sierra Coastal                      2/8/2020                    92.98%              94.90%                    86.90%
Pacific                Sierra Coastal                     2/15/2020                    94.86%              94.95%                    91.62%
Pacific                Sierra Coastal                     2/22/2020                    94.20%              95.78%                    92.61%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          39
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                Sierra Coastal                     2/29/2020                    94.26%              95.05%                    86.10%
Pacific                Sierra Coastal                      3/7/2020                    94.66%              95.15%                    87.02%
Pacific                Sierra Coastal                     3/14/2020                    94.03%              95.28%                    87.58%
Pacific                Sierra Coastal                     3/21/2020                    94.52%              95.28%                    89.11%
Pacific                Sierra Coastal                     3/28/2020                    94.17%              95.09%                    87.61%
Pacific                Sierra Coastal                      4/1/2020                    94.39%              92.45%                    86.12%
Pacific                Sierra Coastal                      4/4/2020                    93.64%              95.32%                    85.40%
Pacific                Sierra Coastal                     4/11/2020                    93.01%              95.15%                    83.11%
Pacific                Sierra Coastal                     4/18/2020                    93.51%              91.53%                    84.66%
Pacific                Sierra Coastal                     4/25/2020                    90.36%              93.20%                    78.17%
Pacific                Sierra Coastal                      5/2/2020                    93.03%              94.10%                    84.85%
Pacific                Sierra Coastal                      5/9/2020                    91.67%              93.52%                    73.90%
Pacific                Sierra Coastal                     5/16/2020                    92.94%              94.36%                    81.19%
Pacific                Sierra Coastal                     5/23/2020                    92.93%              93.32%                    81.54%
Pacific                Sierra Coastal                     5/30/2020                    91.09%              92.81%                    78.72%
Pacific                Sierra Coastal                      6/6/2020                    90.55%              92.90%                    68.95%
Pacific                Sierra Coastal                     6/13/2020                    92.51%              93.06%                    87.61%
Pacific                Sierra Coastal                     6/20/2020                    90.36%              92.81%                    82.49%
Pacific                Sierra Coastal                     6/27/2020                    92.28%              94.54%                    79.93%
Pacific                Sierra Coastal                      7/1/2020                    93.38%              91.71%                    82.33%
Pacific                Sierra Coastal                      7/4/2020                    91.96%              91.19%                    75.45%
Pacific                Sierra Coastal                     7/11/2020                    87.50%              90.71%                    74.67%
Pacific                Sierra Coastal                     7/18/2020                    86.83%              90.75%                    76.05%
Pacific                Sierra Coastal                     7/25/2020                    85.94%              92.02%                    70.45%
Pacific                Sierra Coastal                      8/1/2020                    84.16%              91.15%                    77.31%
Pacific                Sierra Coastal                      8/8/2020                    83.32%              89.96%                    78.27%
Pacific                Sierra Coastal                     8/15/2020                    89.36%              93.13%                    81.32%
Pacific                Sierra Coastal                     8/22/2020                    90.24%              93.00%                    77.07%
Pacific                Sierra Coastal                     8/29/2020                    91.87%              92.09%                    83.72%
Pacific                Sierra Coastal                      9/5/2020                    91.92%              90.62%                    70.95%
Pacific                Sierra Coastal                     9/12/2020                    91.19%              94.06%                    79.59%
Pacific                Sierra Coastal                     9/19/2020                    91.78%              94.55%                    86.90%
Pacific                Sierra Coastal                     9/26/2020                    92.06%              94.23%                    90.15%
Pacific                Sierra Coastal                     10/3/2020                    90.77%              95.95%                    83.90%
Pacific                Sierra Coastal                    10/10/2020                    92.13%              94.19%                    83.54%
Pacific                Sierra Coastal                    10/17/2020                    87.21%              95.04%                    85.54%
Southern               Alabama                             1/4/2020                    93.75%              93.69%                    84.57%
Southern               Alabama                            1/11/2020                    93.38%              91.55%                    86.76%
Southern               Alabama                            1/18/2020                    94.51%              92.36%                    88.71%
Southern               Alabama                            1/25/2020                    93.62%              93.22%                    89.00%
Southern               Alabama                             2/1/2020                    92.53%              93.33%                    86.17%
Southern               Alabama                             2/8/2020                    93.17%              94.79%                    88.67%
Southern               Alabama                            2/15/2020                    94.89%              94.89%                    89.58%
Southern               Alabama                            2/22/2020                    93.29%              94.70%                    87.22%
Southern               Alabama                            2/29/2020                    93.63%              93.57%                    89.60%
Southern               Alabama                             3/7/2020                    93.60%              94.38%                    88.10%
Southern               Alabama                            3/14/2020                    93.32%              94.19%                    88.98%
Southern               Alabama                            3/21/2020                    94.72%              93.86%                    80.66%
Southern               Alabama                            3/28/2020                    94.16%              94.27%                    82.73%
Southern               Alabama                             4/1/2020                    94.12%              93.69%                    87.68%
Southern               Alabama                             4/4/2020                    93.73%              93.93%                    88.96%
Southern               Alabama                            4/11/2020                    91.43%              92.54%                    76.13%
Southern               Alabama                            4/18/2020                    93.46%              93.44%                    84.55%
Southern               Alabama                            4/25/2020                    93.01%              92.54%                    81.66%
Southern               Alabama                             5/2/2020                    92.22%              91.39%                    79.59%
Southern               Alabama                             5/9/2020                    91.93%              84.63%                    65.69%
Southern               Alabama                            5/16/2020                    92.88%              86.15%                    76.73%
Southern               Alabama                            5/23/2020                    93.38%              89.63%                    71.94%

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Commission (PRC) at the end of the quarter.                          40
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Alabama                            5/30/2020                    92.45%              89.43%                    73.48%
Southern               Alabama                             6/6/2020                    91.60%              87.84%                    71.85%
Southern               Alabama                            6/13/2020                    92.00%              84.46%                    67.63%
Southern               Alabama                            6/20/2020                    91.45%              83.79%                    72.57%
Southern               Alabama                            6/27/2020                    90.63%              87.18%                    81.73%
Southern               Alabama                             7/1/2020                    92.38%              92.23%                    75.82%
Southern               Alabama                             7/4/2020                    91.04%              87.89%                    82.05%
Southern               Alabama                            7/11/2020                    88.21%              86.64%                    68.64%
Southern               Alabama                            7/18/2020                    87.64%              89.16%                    76.37%
Southern               Alabama                            7/25/2020                    87.53%              89.43%                    76.08%
Southern               Alabama                             8/1/2020                    86.30%              86.57%                    71.17%
Southern               Alabama                             8/8/2020                    84.59%              87.02%                    65.25%
Southern               Alabama                            8/15/2020                    88.60%              89.90%                    74.73%
Southern               Alabama                            8/22/2020                    89.06%              92.54%                    73.39%
Southern               Alabama                            8/29/2020                    86.46%              90.38%                    82.04%
Southern               Alabama                             9/5/2020                    83.93%              88.56%                    81.85%
Southern               Alabama                            9/12/2020                    82.33%              77.23%                    73.08%
Southern               Alabama                            9/19/2020                    75.32%              74.63%                    68.70%
Southern               Alabama                            9/26/2020                    80.02%              73.05%                    70.89%
Southern               Alabama                            10/3/2020                    79.65%              82.62%                    72.62%
Southern               Alabama                           10/10/2020                    78.78%              69.01%                    77.03%
Southern               Alabama                           10/17/2020                    75.26%              81.73%                    65.19%
Southern               Arkansas                            1/4/2020                    91.55%              89.90%                    87.59%
Southern               Arkansas                           1/11/2020                    92.74%              89.59%                    87.04%
Southern               Arkansas                           1/18/2020                    94.56%              90.61%                    90.27%
Southern               Arkansas                           1/25/2020                    92.24%              93.07%                    92.97%
Southern               Arkansas                            2/1/2020                    93.01%              92.40%                    87.56%
Southern               Arkansas                            2/8/2020                    93.07%              95.32%                    89.30%
Southern               Arkansas                           2/15/2020                    94.50%              94.07%                    89.58%
Southern               Arkansas                           2/22/2020                    92.22%              92.05%                    89.54%
Southern               Arkansas                           2/29/2020                    93.54%              95.07%                    87.01%
Southern               Arkansas                            3/7/2020                    93.10%              93.96%                    89.16%
Southern               Arkansas                           3/14/2020                    92.96%              93.41%                    86.17%
Southern               Arkansas                           3/21/2020                    94.32%              94.56%                    88.80%
Southern               Arkansas                           3/28/2020                    94.80%              95.20%                    78.26%
Southern               Arkansas                            4/1/2020                    93.72%              94.05%                    82.08%
Southern               Arkansas                            4/4/2020                    94.09%              95.62%                    88.79%
Southern               Arkansas                           4/11/2020                    93.12%              92.59%                    65.36%
Southern               Arkansas                           4/18/2020                    94.59%              95.45%                    86.69%
Southern               Arkansas                           4/25/2020                    93.60%              94.51%                    88.32%
Southern               Arkansas                            5/2/2020                    93.89%              93.68%                    84.01%
Southern               Arkansas                            5/9/2020                    92.97%              91.49%                    76.24%
Southern               Arkansas                           5/16/2020                    93.73%              89.72%                    86.17%
Southern               Arkansas                           5/23/2020                    93.35%              84.60%                    85.80%
Southern               Arkansas                           5/30/2020                    92.83%              86.92%                    77.15%
Southern               Arkansas                            6/6/2020                    92.56%              89.28%                    75.57%
Southern               Arkansas                           6/13/2020                    94.02%              92.12%                    80.36%
Southern               Arkansas                           6/20/2020                    92.43%              91.13%                    85.79%
Southern               Arkansas                           6/27/2020                    92.87%              93.78%                    84.29%
Southern               Arkansas                            7/1/2020                    92.70%              91.67%                    81.16%
Southern               Arkansas                            7/4/2020                    92.70%              86.56%                    79.11%
Southern               Arkansas                           7/11/2020                    88.97%              86.19%                    74.91%
Southern               Arkansas                           7/18/2020                    88.35%              85.90%                    75.58%
Southern               Arkansas                           7/25/2020                    88.27%              85.71%                    72.34%
Southern               Arkansas                            8/1/2020                    88.02%              86.15%                    67.47%
Southern               Arkansas                            8/8/2020                    87.38%              87.37%                    67.41%
Southern               Arkansas                           8/15/2020                    88.08%              87.05%                    73.27%
Southern               Arkansas                           8/22/2020                    91.11%              86.80%                    79.33%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          41
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Arkansas                           8/29/2020                    90.53%              89.11%                    79.91%
Southern               Arkansas                            9/5/2020                    92.01%              84.13%                    68.86%
Southern               Arkansas                           9/12/2020                    88.64%              87.35%                    79.12%
Southern               Arkansas                           9/19/2020                    89.37%              89.33%                    82.11%
Southern               Arkansas                           9/26/2020                    89.98%              91.11%                    83.25%
Southern               Arkansas                           10/3/2020                    90.37%              94.01%                    78.89%
Southern               Arkansas                          10/10/2020                    89.88%              93.35%                    81.37%
Southern               Arkansas                          10/17/2020                    87.20%              92.26%                    76.02%
Southern               Dallas                              1/4/2020                    91.80%              89.63%                    80.93%
Southern               Dallas                             1/11/2020                    88.60%              80.52%                    75.81%
Southern               Dallas                             1/18/2020                    92.90%              84.18%                    73.88%
Southern               Dallas                             1/25/2020                    91.13%              87.50%                    87.23%
Southern               Dallas                              2/1/2020                    91.06%              86.77%                    82.54%
Southern               Dallas                              2/8/2020                    92.35%              90.02%                    84.40%
Southern               Dallas                             2/15/2020                    94.38%              91.37%                    85.41%
Southern               Dallas                             2/22/2020                    92.89%              92.08%                    86.19%
Southern               Dallas                             2/29/2020                    92.71%              89.90%                    82.76%
Southern               Dallas                              3/7/2020                    92.34%              91.46%                    84.51%
Southern               Dallas                             3/14/2020                    92.40%              89.80%                    82.97%
Southern               Dallas                             3/21/2020                    93.76%              91.99%                    84.92%
Southern               Dallas                             3/28/2020                    92.77%              93.87%                    79.93%
Southern               Dallas                              4/1/2020                    90.88%              86.37%                    87.17%
Southern               Dallas                              4/4/2020                    90.00%              90.63%                    72.75%
Southern               Dallas                             4/11/2020                    88.97%              92.32%                    76.81%
Southern               Dallas                             4/18/2020                    91.06%              94.36%                    89.63%
Southern               Dallas                             4/25/2020                    91.36%              92.20%                    90.89%
Southern               Dallas                              5/2/2020                    90.29%              91.64%                    83.95%
Southern               Dallas                              5/9/2020                    90.76%              90.57%                    56.56%
Southern               Dallas                             5/16/2020                    92.10%              92.92%                    83.32%
Southern               Dallas                             5/23/2020                    93.24%              90.60%                    81.61%
Southern               Dallas                             5/30/2020                    91.27%              92.85%                    81.91%
Southern               Dallas                              6/6/2020                    90.32%              91.76%                    81.31%
Southern               Dallas                             6/13/2020                    91.86%              92.72%                    82.65%
Southern               Dallas                             6/20/2020                    90.56%              92.41%                    78.23%
Southern               Dallas                             6/27/2020                    91.04%              94.91%                    79.53%
Southern               Dallas                              7/1/2020                    92.35%              88.97%                    83.92%
Southern               Dallas                              7/4/2020                    89.25%              87.40%                    73.83%
Southern               Dallas                             7/11/2020                    84.17%              69.00%                    66.23%
Southern               Dallas                             7/18/2020                    78.86%              64.08%                    55.72%
Southern               Dallas                             7/25/2020                    82.80%              83.44%                    57.69%
Southern               Dallas                              8/1/2020                    84.51%              84.69%                    62.74%
Southern               Dallas                              8/8/2020                    80.59%              85.33%                    52.44%
Southern               Dallas                             8/15/2020                    85.63%              86.65%                    58.72%
Southern               Dallas                             8/22/2020                    89.11%              92.15%                    67.86%
Southern               Dallas                             8/29/2020                    88.07%              92.21%                    83.01%
Southern               Dallas                              9/5/2020                    91.51%              90.49%                    80.27%
Southern               Dallas                             9/12/2020                    86.97%              86.26%                    69.59%
Southern               Dallas                             9/19/2020                    86.21%              91.13%                    75.13%
Southern               Dallas                             9/26/2020                    88.38%              92.86%                    84.08%
Southern               Dallas                             10/3/2020                    87.14%              91.86%                    77.44%
Southern               Dallas                            10/10/2020                    85.64%              92.19%                    76.62%
Southern               Dallas                            10/17/2020                    83.87%              90.61%                    73.19%
Southern               Ft Worth                            1/4/2020                    91.70%              93.16%                    85.46%
Southern               Ft Worth                           1/11/2020                    92.02%              91.74%                    88.31%
Southern               Ft Worth                           1/18/2020                    93.46%              89.11%                    79.39%
Southern               Ft Worth                           1/25/2020                    90.94%              92.26%                    89.70%
Southern               Ft Worth                            2/1/2020                    88.78%              90.13%                    81.37%
Southern               Ft Worth                            2/8/2020                    91.51%              92.21%                    87.42%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          42
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Ft Worth                           2/15/2020                    94.10%              91.94%                    84.52%
Southern               Ft Worth                           2/22/2020                    92.46%              91.69%                    79.75%
Southern               Ft Worth                           2/29/2020                    92.97%              93.61%                    82.20%
Southern               Ft Worth                            3/7/2020                    92.36%              91.64%                    75.62%
Southern               Ft Worth                           3/14/2020                    90.47%              86.51%                    80.77%
Southern               Ft Worth                           3/21/2020                    93.25%              93.15%                    85.54%
Southern               Ft Worth                           3/28/2020                    92.02%              94.45%                    89.48%
Southern               Ft Worth                            4/1/2020                    93.42%              89.98%                    79.26%
Southern               Ft Worth                            4/4/2020                    92.19%              95.93%                    87.42%
Southern               Ft Worth                           4/11/2020                    91.27%              93.73%                    83.87%
Southern               Ft Worth                           4/18/2020                    92.83%              95.76%                    84.42%
Southern               Ft Worth                           4/25/2020                    92.24%              89.29%                    82.38%
Southern               Ft Worth                            5/2/2020                    90.05%              86.08%                    62.41%
Southern               Ft Worth                            5/9/2020                    89.74%              85.79%                    62.08%
Southern               Ft Worth                           5/16/2020                    90.70%              83.03%                    61.40%
Southern               Ft Worth                           5/23/2020                    92.71%              88.79%                    70.03%
Southern               Ft Worth                           5/30/2020                    91.21%              94.75%                    82.97%
Southern               Ft Worth                            6/6/2020                    89.29%              92.35%                    82.61%
Southern               Ft Worth                           6/13/2020                    90.19%              91.59%                    78.94%
Southern               Ft Worth                           6/20/2020                    89.92%              90.99%                    78.85%
Southern               Ft Worth                           6/27/2020                    88.94%              91.68%                    71.56%
Southern               Ft Worth                            7/1/2020                    91.63%              91.47%                    76.97%
Southern               Ft Worth                            7/4/2020                    89.71%              89.18%                    71.24%
Southern               Ft Worth                           7/11/2020                    84.01%              81.22%                    66.65%
Southern               Ft Worth                           7/18/2020                    80.50%              73.87%                    58.57%
Southern               Ft Worth                           7/25/2020                    82.53%              80.50%                    69.62%
Southern               Ft Worth                            8/1/2020                    81.48%              83.04%                    72.51%
Southern               Ft Worth                            8/8/2020                    84.09%              82.33%                    61.84%
Southern               Ft Worth                           8/15/2020                    86.04%              84.53%                    58.56%
Southern               Ft Worth                           8/22/2020                    88.49%              87.40%                    73.43%
Southern               Ft Worth                           8/29/2020                    87.79%              88.57%                    78.75%
Southern               Ft Worth                            9/5/2020                    89.06%              87.26%                    82.03%
Southern               Ft Worth                           9/12/2020                    85.54%              87.25%                    85.55%
Southern               Ft Worth                           9/19/2020                    88.67%              92.22%                    85.54%
Southern               Ft Worth                           9/26/2020                    89.41%              93.08%                    85.29%
Southern               Ft Worth                           10/3/2020                    89.97%              93.50%                    85.53%
Southern               Ft Worth                          10/10/2020                    88.70%              93.45%                    87.32%
Southern               Ft Worth                          10/17/2020                    83.72%              88.31%                    77.41%
Southern               Gulf Atlantic                       1/4/2020                    92.29%              92.87%                    87.45%
Southern               Gulf Atlantic                      1/11/2020                    91.84%              90.51%                    87.60%
Southern               Gulf Atlantic                      1/18/2020                    94.00%              88.89%                    90.35%
Southern               Gulf Atlantic                      1/25/2020                    91.66%              88.33%                    86.35%
Southern               Gulf Atlantic                       2/1/2020                    92.47%              91.38%                    85.68%
Southern               Gulf Atlantic                       2/8/2020                    93.11%              90.65%                    84.77%
Southern               Gulf Atlantic                      2/15/2020                    93.92%              89.41%                    90.74%
Southern               Gulf Atlantic                      2/22/2020                    92.23%              93.08%                    89.50%
Southern               Gulf Atlantic                      2/29/2020                    93.88%              91.54%                    84.11%
Southern               Gulf Atlantic                       3/7/2020                    92.23%              90.86%                    87.92%
Southern               Gulf Atlantic                      3/14/2020                    91.97%              88.02%                    83.22%
Southern               Gulf Atlantic                      3/21/2020                    93.71%              93.31%                    90.18%
Southern               Gulf Atlantic                      3/28/2020                    93.96%              95.83%                    88.01%
Southern               Gulf Atlantic                       4/1/2020                    94.63%              92.56%                    89.21%
Southern               Gulf Atlantic                       4/4/2020                    92.24%              95.10%                    88.67%
Southern               Gulf Atlantic                      4/11/2020                    92.69%              94.38%                    80.85%
Southern               Gulf Atlantic                      4/18/2020                    93.70%              92.24%                    85.27%
Southern               Gulf Atlantic                      4/25/2020                    92.14%              92.56%                    81.49%
Southern               Gulf Atlantic                       5/2/2020                    92.86%              93.63%                    76.68%
Southern               Gulf Atlantic                       5/9/2020                    92.12%              92.07%                    77.30%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          43
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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        Area                    District                Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Gulf Atlantic                      5/16/2020                    93.08%              93.36%                    85.07%
Southern               Gulf Atlantic                      5/23/2020                    93.64%              91.32%                    84.21%
Southern               Gulf Atlantic                      5/30/2020                    91.71%              91.52%                    78.98%
Southern               Gulf Atlantic                       6/6/2020                    91.89%              90.85%                    83.14%
Southern               Gulf Atlantic                      6/13/2020                    92.80%              90.94%                    72.93%
Southern               Gulf Atlantic                      6/20/2020                    91.54%              92.28%                    86.49%
Southern               Gulf Atlantic                      6/27/2020                    91.48%              93.93%                    83.10%
Southern               Gulf Atlantic                       7/1/2020                    93.72%              91.42%                    83.06%
Southern               Gulf Atlantic                       7/4/2020                    92.00%              90.01%                    83.03%
Southern               Gulf Atlantic                      7/11/2020                    86.72%              83.12%                    80.75%
Southern               Gulf Atlantic                      7/18/2020                    83.76%              80.64%                    70.55%
Southern               Gulf Atlantic                      7/25/2020                    88.26%              86.90%                    67.29%
Southern               Gulf Atlantic                       8/1/2020                    86.26%              81.72%                    61.06%
Southern               Gulf Atlantic                       8/8/2020                    85.15%              87.27%                    71.49%
Southern               Gulf Atlantic                      8/15/2020                    88.83%              89.12%                    76.32%
Southern               Gulf Atlantic                      8/22/2020                    88.89%              90.23%                    73.64%
Southern               Gulf Atlantic                      8/29/2020                    89.51%              90.02%                    80.57%
Southern               Gulf Atlantic                       9/5/2020                    89.11%              88.26%                    82.17%
Southern               Gulf Atlantic                      9/12/2020                    87.14%              88.43%                    77.92%
Southern               Gulf Atlantic                      9/19/2020                    80.56%              87.07%                    80.19%
Southern               Gulf Atlantic                      9/26/2020                    82.56%              86.75%                    72.99%
Southern               Gulf Atlantic                      10/3/2020                    83.34%              86.26%                    74.88%
Southern               Gulf Atlantic                     10/10/2020                    82.69%              83.10%                    78.64%
Southern               Gulf Atlantic                     10/17/2020                    76.16%              83.37%                    75.74%
Southern               Houston                             1/4/2020                    91.35%              89.75%                    87.43%
Southern               Houston                            1/11/2020                    88.08%              83.91%                    83.10%
Southern               Houston                            1/18/2020                    91.91%              87.72%                    84.32%
Southern               Houston                            1/25/2020                    89.89%              90.04%                    89.37%
Southern               Houston                             2/1/2020                    87.92%              88.21%                    86.36%
Southern               Houston                             2/8/2020                    89.27%              91.75%                    87.50%
Southern               Houston                            2/15/2020                    91.76%              92.40%                    86.10%
Southern               Houston                            2/22/2020                    90.66%              93.32%                    86.15%
Southern               Houston                            2/29/2020                    92.12%              92.51%                    86.23%
Southern               Houston                             3/7/2020                    90.47%              92.03%                    87.02%
Southern               Houston                            3/14/2020                    86.45%              88.57%                    86.36%
Southern               Houston                            3/21/2020                    90.93%              93.37%                    88.29%
Southern               Houston                            3/28/2020                    91.73%              95.64%                    91.87%
Southern               Houston                             4/1/2020                    93.78%              94.37%                    81.34%
Southern               Houston                             4/4/2020                    92.27%              95.36%                    86.81%
Southern               Houston                            4/11/2020                    88.96%              95.05%                    84.69%
Southern               Houston                            4/18/2020                    91.17%              95.17%                    86.59%
Southern               Houston                            4/25/2020                    91.09%              93.15%                    77.29%
Southern               Houston                             5/2/2020                    90.37%              90.69%                    73.94%
Southern               Houston                             5/9/2020                    87.69%              88.46%                    62.20%
Southern               Houston                            5/16/2020                    89.91%              93.30%                    78.23%
Southern               Houston                            5/23/2020                    91.81%              91.80%                    83.26%
Southern               Houston                            5/30/2020                    90.26%              94.29%                    87.47%
Southern               Houston                             6/6/2020                    90.71%              92.75%                    86.25%
Southern               Houston                            6/13/2020                    91.07%              90.85%                    84.42%
Southern               Houston                            6/20/2020                    90.53%              92.73%                    84.79%
Southern               Houston                            6/27/2020                    91.04%              92.73%                    83.93%
Southern               Houston                             7/1/2020                    91.95%              91.38%                    91.69%
Southern               Houston                             7/4/2020                    91.44%              86.45%                    78.27%
Southern               Houston                            7/11/2020                    83.98%              86.02%                    81.47%
Southern               Houston                            7/18/2020                    80.81%              86.92%                    73.68%
Southern               Houston                            7/25/2020                    82.02%              82.90%                    75.26%
Southern               Houston                             8/1/2020                    81.80%              83.58%                    76.67%
Southern               Houston                             8/8/2020                    78.45%              85.23%                    71.59%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          44
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Houston                            8/15/2020                    84.55%              87.57%                    66.58%
Southern               Houston                            8/22/2020                    88.39%              91.73%                    78.41%
Southern               Houston                            8/29/2020                    86.00%              92.03%                    87.85%
Southern               Houston                             9/5/2020                    90.19%              89.18%                    79.45%
Southern               Houston                            9/12/2020                    87.46%              92.44%                    87.57%
Southern               Houston                            9/19/2020                    86.17%              92.67%                    80.10%
Southern               Houston                            9/26/2020                    86.78%              93.23%                    76.05%
Southern               Houston                            10/3/2020                    86.29%              94.46%                    82.11%
Southern               Houston                           10/10/2020                    89.33%              92.88%                    80.83%
Southern               Houston                           10/17/2020                    83.77%              92.68%                    84.95%
Southern               Louisiana                           1/4/2020                    91.39%              88.65%                    81.19%
Southern               Louisiana                          1/11/2020                    91.75%              88.40%                    83.32%
Southern               Louisiana                          1/18/2020                    93.51%              84.50%                    84.26%
Southern               Louisiana                          1/25/2020                    92.13%              89.56%                    87.38%
Southern               Louisiana                           2/1/2020                    92.31%              88.31%                    85.00%
Southern               Louisiana                           2/8/2020                    91.66%              88.98%                    80.45%
Southern               Louisiana                          2/15/2020                    92.98%              88.21%                    78.41%
Southern               Louisiana                          2/22/2020                    90.00%              82.86%                    77.99%
Southern               Louisiana                          2/29/2020                    92.59%              88.41%                    83.03%
Southern               Louisiana                           3/7/2020                    91.54%              87.60%                    79.81%
Southern               Louisiana                          3/14/2020                    92.31%              85.86%                    76.11%
Southern               Louisiana                          3/21/2020                    93.29%              91.12%                    83.57%
Southern               Louisiana                          3/28/2020                    91.42%              91.76%                    78.81%
Southern               Louisiana                           4/1/2020                    93.21%              87.94%                    63.34%
Southern               Louisiana                           4/4/2020                    94.15%              90.55%                    83.47%
Southern               Louisiana                          4/11/2020                    91.23%              91.65%                    71.48%
Southern               Louisiana                          4/18/2020                    92.67%              89.90%                    85.97%
Southern               Louisiana                          4/25/2020                    90.71%              86.28%                    70.10%
Southern               Louisiana                           5/2/2020                    91.32%              90.01%                    76.58%
Southern               Louisiana                           5/9/2020                    90.58%              86.92%                    58.99%
Southern               Louisiana                          5/16/2020                    91.70%              86.07%                    73.95%
Southern               Louisiana                          5/23/2020                    91.68%              85.03%                    78.81%
Southern               Louisiana                          5/30/2020                    91.29%              85.30%                    70.48%
Southern               Louisiana                           6/6/2020                    89.03%              82.13%                    68.03%
Southern               Louisiana                          6/13/2020                    91.20%              87.13%                    69.01%
Southern               Louisiana                          6/20/2020                    86.00%              85.97%                    66.27%
Southern               Louisiana                          6/27/2020                    85.38%              85.51%                    79.82%
Southern               Louisiana                           7/1/2020                    89.43%              82.96%                    70.07%
Southern               Louisiana                           7/4/2020                    88.04%              79.19%                    65.41%
Southern               Louisiana                          7/11/2020                    83.75%              75.80%                    58.57%
Southern               Louisiana                          7/18/2020                    81.80%              68.22%                    61.33%
Southern               Louisiana                          7/25/2020                    80.49%              70.34%                    49.94%
Southern               Louisiana                           8/1/2020                    82.08%              69.30%                    45.12%
Southern               Louisiana                           8/8/2020                    73.71%              73.13%                    42.82%
Southern               Louisiana                          8/15/2020                    79.20%              80.59%                    53.34%
Southern               Louisiana                          8/22/2020                    74.01%              82.49%                    56.21%
Southern               Louisiana                          8/29/2020                    82.18%              86.73%                    60.95%
Southern               Louisiana                           9/5/2020                    85.97%              83.06%                    73.33%
Southern               Louisiana                          9/12/2020                    83.52%              84.85%                    65.09%
Southern               Louisiana                          9/19/2020                    83.83%              85.67%                    77.52%
Southern               Louisiana                          9/26/2020                    87.72%              87.39%                    65.82%
Southern               Louisiana                          10/3/2020                    87.83%              90.58%                    64.90%
Southern               Louisiana                         10/10/2020                    83.42%              85.63%                    63.96%
Southern               Louisiana                         10/17/2020                    83.82%              84.88%                    64.71%
Southern               Mississippi                         1/4/2020                    90.57%              91.96%                    80.94%
Southern               Mississippi                        1/11/2020                    91.83%              88.43%                    82.97%
Southern               Mississippi                        1/18/2020                    93.09%              84.44%                    93.10%
Southern               Mississippi                        1/25/2020                    91.30%              86.87%                    87.49%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          45
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Mississippi                         2/1/2020                    90.28%              90.11%                    79.62%
Southern               Mississippi                         2/8/2020                    92.62%              91.65%                    89.83%
Southern               Mississippi                        2/15/2020                    94.26%              89.74%                    88.95%
Southern               Mississippi                        2/22/2020                    92.49%              92.61%                    84.94%
Southern               Mississippi                        2/29/2020                    93.33%              93.62%                    85.93%
Southern               Mississippi                         3/7/2020                    92.41%              90.19%                    87.92%
Southern               Mississippi                        3/14/2020                    91.27%              87.37%                    89.49%
Southern               Mississippi                        3/21/2020                    93.97%              93.65%                    88.36%
Southern               Mississippi                        3/28/2020                    94.78%              94.69%                    77.39%
Southern               Mississippi                         4/1/2020                    93.77%              92.05%                    87.58%
Southern               Mississippi                         4/4/2020                    94.09%              94.81%                    86.52%
Southern               Mississippi                        4/11/2020                    91.00%              94.42%                    88.22%
Southern               Mississippi                        4/18/2020                    94.46%              91.05%                    85.26%
Southern               Mississippi                        4/25/2020                    91.93%              92.65%                    72.38%
Southern               Mississippi                         5/2/2020                    91.83%              88.41%                    71.15%
Southern               Mississippi                         5/9/2020                    92.03%              89.01%                    84.06%
Southern               Mississippi                        5/16/2020                    91.85%              87.46%                    72.09%
Southern               Mississippi                        5/23/2020                    92.57%              85.57%                    74.66%
Southern               Mississippi                        5/30/2020                    90.68%              84.77%                    52.76%
Southern               Mississippi                         6/6/2020                    88.96%              81.65%                    56.19%
Southern               Mississippi                        6/13/2020                    90.76%              85.71%                    65.85%
Southern               Mississippi                        6/20/2020                    89.71%              91.11%                    78.81%
Southern               Mississippi                        6/27/2020                    92.15%              90.35%                    77.12%
Southern               Mississippi                         7/1/2020                    91.91%              85.89%                    31.48%
Southern               Mississippi                         7/4/2020                    90.68%              83.44%                    54.60%
Southern               Mississippi                        7/11/2020                    90.19%              83.16%                    72.67%
Southern               Mississippi                        7/18/2020                    86.62%              76.84%                    76.22%
Southern               Mississippi                        7/25/2020                    87.68%              80.16%                    74.94%
Southern               Mississippi                         8/1/2020                    86.74%              80.39%                    75.93%
Southern               Mississippi                         8/8/2020                    86.76%              88.38%                    76.60%
Southern               Mississippi                        8/15/2020                    87.26%              88.83%                    79.73%
Southern               Mississippi                        8/22/2020                    89.44%              86.29%                    73.44%
Southern               Mississippi                        8/29/2020                    89.68%              90.15%                    84.93%
Southern               Mississippi                         9/5/2020                    88.95%              80.63%                    50.80%
Southern               Mississippi                        9/12/2020                    81.86%              77.94%                    74.97%
Southern               Mississippi                        9/19/2020                    79.85%              80.35%                    82.21%
Southern               Mississippi                        9/26/2020                    80.81%              88.49%                    80.96%
Southern               Mississippi                        10/3/2020                    77.46%              87.53%                    86.90%
Southern               Mississippi                       10/10/2020                    78.09%              81.38%                    79.96%
Southern               Mississippi                       10/17/2020                    74.06%              85.69%                    72.45%
Southern               Oklahoma                            1/4/2020                    94.49%              93.72%                    88.59%
Southern               Oklahoma                           1/11/2020                    93.33%              90.38%                    89.42%
Southern               Oklahoma                           1/18/2020                    94.86%              92.45%                    89.85%
Southern               Oklahoma                           1/25/2020                    93.54%              92.92%                    92.97%
Southern               Oklahoma                            2/1/2020                    93.10%              92.08%                    92.77%
Southern               Oklahoma                            2/8/2020                    92.77%              93.87%                    92.54%
Southern               Oklahoma                           2/15/2020                    95.39%              92.54%                    92.52%
Southern               Oklahoma                           2/22/2020                    94.19%              93.86%                    91.87%
Southern               Oklahoma                           2/29/2020                    94.71%              94.19%                    86.70%
Southern               Oklahoma                            3/7/2020                    94.62%              93.60%                    91.95%
Southern               Oklahoma                           3/14/2020                    93.89%              93.87%                    87.21%
Southern               Oklahoma                           3/21/2020                    94.97%              94.06%                    93.26%
Southern               Oklahoma                           3/28/2020                    95.28%              95.95%                    90.60%
Southern               Oklahoma                            4/1/2020                    95.83%              92.91%                    97.05%
Southern               Oklahoma                            4/4/2020                    93.99%              94.97%                    91.19%
Southern               Oklahoma                           4/11/2020                    94.48%              94.89%                    87.69%
Southern               Oklahoma                           4/18/2020                    95.02%              95.66%                    89.07%
Southern               Oklahoma                           4/25/2020                    93.90%              93.63%                    90.10%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          46
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Oklahoma                            5/2/2020                    92.67%              91.53%                    85.18%
Southern               Oklahoma                            5/9/2020                    93.42%              92.85%                    89.58%
Southern               Oklahoma                           5/16/2020                    94.14%              94.25%                    86.48%
Southern               Oklahoma                           5/23/2020                    94.25%              91.23%                    87.49%
Southern               Oklahoma                           5/30/2020                    92.91%              93.32%                    90.57%
Southern               Oklahoma                            6/6/2020                    93.22%              92.55%                    88.75%
Southern               Oklahoma                           6/13/2020                    93.72%              94.75%                    86.45%
Southern               Oklahoma                           6/20/2020                    93.37%              94.32%                    88.47%
Southern               Oklahoma                           6/27/2020                    93.44%              95.01%                    85.53%
Southern               Oklahoma                            7/1/2020                    92.98%              92.97%                    91.41%
Southern               Oklahoma                            7/4/2020                    92.61%              92.25%                    79.47%
Southern               Oklahoma                           7/11/2020                    89.79%              87.33%                    85.92%
Southern               Oklahoma                           7/18/2020                    88.83%              84.37%                    80.93%
Southern               Oklahoma                           7/25/2020                    90.28%              87.72%                    71.68%
Southern               Oklahoma                            8/1/2020                    89.18%              84.16%                    83.80%
Southern               Oklahoma                            8/8/2020                    85.15%              87.52%                    67.68%
Southern               Oklahoma                           8/15/2020                    89.64%              91.21%                    84.36%
Southern               Oklahoma                           8/22/2020                    92.89%              94.74%                    87.26%
Southern               Oklahoma                           8/29/2020                    92.59%              93.47%                    93.22%
Southern               Oklahoma                            9/5/2020                    93.28%              89.32%                    84.93%
Southern               Oklahoma                           9/12/2020                    89.93%              89.67%                    89.38%
Southern               Oklahoma                           9/19/2020                    90.23%              92.12%                    88.90%
Southern               Oklahoma                           9/26/2020                    90.68%              93.30%                    90.89%
Southern               Oklahoma                           10/3/2020                    90.36%              94.37%                    90.10%
Southern               Oklahoma                          10/10/2020                    92.42%              93.07%                    87.33%
Southern               Oklahoma                          10/17/2020                    88.83%              94.85%                    83.65%
Southern               Rio Grande                          1/4/2020                    92.24%              92.80%                    86.08%
Southern               Rio Grande                         1/11/2020                    92.95%              90.41%                    89.65%
Southern               Rio Grande                         1/18/2020                    94.55%              90.02%                    89.66%
Southern               Rio Grande                         1/25/2020                    92.61%              93.29%                    92.43%
Southern               Rio Grande                          2/1/2020                    92.82%              92.19%                    86.99%
Southern               Rio Grande                          2/8/2020                    92.82%              94.33%                    88.52%
Southern               Rio Grande                         2/15/2020                    94.77%              92.87%                    90.09%
Southern               Rio Grande                         2/22/2020                    93.30%              94.68%                    87.18%
Southern               Rio Grande                         2/29/2020                    92.61%              93.53%                    90.54%
Southern               Rio Grande                          3/7/2020                    92.50%              93.90%                    86.71%
Southern               Rio Grande                         3/14/2020                    93.18%              93.59%                    86.81%
Southern               Rio Grande                         3/21/2020                    93.17%              94.06%                    87.05%
Southern               Rio Grande                         3/28/2020                    93.08%              96.19%                    91.16%
Southern               Rio Grande                          4/1/2020                    93.15%              93.99%                    93.87%
Southern               Rio Grande                          4/4/2020                    93.58%              95.67%                    91.16%
Southern               Rio Grande                         4/11/2020                    92.13%              94.48%                    83.47%
Southern               Rio Grande                         4/18/2020                    92.58%              94.98%                    90.58%
Southern               Rio Grande                         4/25/2020                    92.25%              94.20%                    86.65%
Southern               Rio Grande                          5/2/2020                    91.45%              92.74%                    84.17%
Southern               Rio Grande                          5/9/2020                    91.21%              93.44%                    83.51%
Southern               Rio Grande                         5/16/2020                    92.63%              94.43%                    83.60%
Southern               Rio Grande                         5/23/2020                    93.03%              91.99%                    83.35%
Southern               Rio Grande                         5/30/2020                    92.14%              93.76%                    85.73%
Southern               Rio Grande                          6/6/2020                    91.71%              92.80%                    81.71%
Southern               Rio Grande                         6/13/2020                    91.51%              91.29%                    82.13%
Southern               Rio Grande                         6/20/2020                    90.80%              91.48%                    77.38%
Southern               Rio Grande                         6/27/2020                    89.60%              90.00%                    71.83%
Southern               Rio Grande                          7/1/2020                    92.30%              91.17%                    83.20%
Southern               Rio Grande                          7/4/2020                    92.24%              85.61%                    73.28%
Southern               Rio Grande                         7/11/2020                    82.66%              69.08%                    74.14%
Southern               Rio Grande                         7/18/2020                    85.69%              75.00%                    68.65%
Southern               Rio Grande                         7/25/2020                    85.26%              74.65%                    73.99%

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Commission (PRC) at the end of the quarter.                          47
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Rio Grande                          8/1/2020                    86.58%              79.06%                    69.58%
Southern               Rio Grande                          8/8/2020                    85.21%              86.08%                    71.05%
Southern               Rio Grande                         8/15/2020                    88.28%              89.10%                    74.77%
Southern               Rio Grande                         8/22/2020                    89.16%              93.69%                    77.70%
Southern               Rio Grande                         8/29/2020                    89.54%              94.99%                    90.16%
Southern               Rio Grande                          9/5/2020                    90.64%              89.97%                    82.16%
Southern               Rio Grande                         9/12/2020                    89.48%              89.83%                    81.04%
Southern               Rio Grande                         9/19/2020                    88.77%              91.14%                    82.30%
Southern               Rio Grande                         9/26/2020                    88.10%              93.35%                    84.17%
Southern               Rio Grande                         10/3/2020                    89.64%              94.21%                    89.29%
Southern               Rio Grande                        10/10/2020                    90.46%              92.87%                    82.25%
Southern               Rio Grande                        10/17/2020                    85.50%              90.35%                    79.67%
Southern               South Florida                       1/4/2020                    91.89%              91.07%                    84.43%
Southern               South Florida                      1/11/2020                    91.12%              88.70%                    84.90%
Southern               South Florida                      1/18/2020                    93.19%              87.56%                    86.37%
Southern               South Florida                      1/25/2020                    91.71%              88.87%                    86.17%
Southern               South Florida                       2/1/2020                    90.94%              87.46%                    86.83%
Southern               South Florida                       2/8/2020                    90.57%              89.29%                    85.75%
Southern               South Florida                      2/15/2020                    92.49%              89.49%                    86.84%
Southern               South Florida                      2/22/2020                    92.55%              91.78%                    87.89%
Southern               South Florida                      2/29/2020                    93.24%              90.24%                    85.82%
Southern               South Florida                       3/7/2020                    92.29%              90.49%                    83.10%
Southern               South Florida                      3/14/2020                    92.66%              91.24%                    82.91%
Southern               South Florida                      3/21/2020                    92.65%              92.00%                    84.78%
Southern               South Florida                      3/28/2020                    92.42%              94.00%                    78.10%
Southern               South Florida                       4/1/2020                    92.73%              91.18%                    86.47%
Southern               South Florida                       4/4/2020                    91.43%              93.30%                    85.13%
Southern               South Florida                      4/11/2020                    90.58%              93.30%                    81.06%
Southern               South Florida                      4/18/2020                    91.84%              91.88%                    79.50%
Southern               South Florida                      4/25/2020                    91.80%              89.50%                    81.66%
Southern               South Florida                       5/2/2020                    91.79%              92.27%                    79.69%
Southern               South Florida                       5/9/2020                    88.90%              90.66%                    71.32%
Southern               South Florida                      5/16/2020                    90.98%              90.61%                    71.75%
Southern               South Florida                      5/23/2020                    92.11%              86.73%                    74.64%
Southern               South Florida                      5/30/2020                    89.44%              90.38%                    80.08%
Southern               South Florida                       6/6/2020                    90.64%              89.18%                    68.24%
Southern               South Florida                      6/13/2020                    91.65%              90.46%                    86.68%
Southern               South Florida                      6/20/2020                    89.60%              88.62%                    82.72%
Southern               South Florida                      6/27/2020                    89.11%              92.28%                    80.13%
Southern               South Florida                       7/1/2020                    91.77%              91.19%                    77.48%
Southern               South Florida                       7/4/2020                    90.57%              89.04%                    76.72%
Southern               South Florida                      7/11/2020                    85.21%              82.13%                    70.95%
Southern               South Florida                      7/18/2020                    77.95%              78.42%                    67.67%
Southern               South Florida                      7/25/2020                    84.11%              81.30%                    69.12%
Southern               South Florida                       8/1/2020                    80.16%              78.38%                    65.64%
Southern               South Florida                       8/8/2020                    79.67%              79.57%                    71.66%
Southern               South Florida                      8/15/2020                    80.82%              79.62%                    68.76%
Southern               South Florida                      8/22/2020                    85.47%              82.99%                    73.90%
Southern               South Florida                      8/29/2020                    85.03%              85.49%                    70.73%
Southern               South Florida                       9/5/2020                    86.57%              85.43%                    79.44%
Southern               South Florida                      9/12/2020                    86.93%              86.64%                    74.96%
Southern               South Florida                      9/19/2020                    84.80%              87.57%                    78.93%
Southern               South Florida                      9/26/2020                    84.38%              89.39%                    65.28%
Southern               South Florida                      10/3/2020                    82.79%              83.81%                    64.05%
Southern               South Florida                     10/10/2020                    83.47%              75.18%                    65.18%
Southern               South Florida                     10/17/2020                    78.72%              84.01%                    70.10%
Southern               Suncoast                            1/4/2020                    90.93%              89.27%                    84.10%
Southern               Suncoast                           1/11/2020                    91.40%              85.89%                    84.60%

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Commission (PRC) at the end of the quarter.                          48
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        Area                  District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern               Suncoast                           1/18/2020                    93.29%              88.91%                    87.98%
Southern               Suncoast                           1/25/2020                    90.57%              89.67%                    87.50%
Southern               Suncoast                            2/1/2020                    92.54%              91.50%                    89.27%
Southern               Suncoast                            2/8/2020                    92.78%              91.89%                    90.66%
Southern               Suncoast                           2/15/2020                    94.29%              92.73%                    88.97%
Southern               Suncoast                           2/22/2020                    93.59%              92.27%                    87.65%
Southern               Suncoast                           2/29/2020                    93.67%              92.43%                    89.63%
Southern               Suncoast                            3/7/2020                    92.75%              91.19%                    85.61%
Southern               Suncoast                           3/14/2020                    92.36%              90.79%                    88.02%
Southern               Suncoast                           3/21/2020                    93.47%              92.44%                    85.52%
Southern               Suncoast                           3/28/2020                    92.96%              94.83%                    89.79%
Southern               Suncoast                            4/1/2020                    93.64%              92.50%                    83.21%
Southern               Suncoast                            4/4/2020                    92.58%              95.09%                    89.82%
Southern               Suncoast                           4/11/2020                    92.31%              94.08%                    80.63%
Southern               Suncoast                           4/18/2020                    93.00%              92.42%                    87.14%
Southern               Suncoast                           4/25/2020                    92.65%              91.88%                    85.63%
Southern               Suncoast                            5/2/2020                    91.52%              93.63%                    85.11%
Southern               Suncoast                            5/9/2020                    90.24%              90.84%                    70.29%
Southern               Suncoast                           5/16/2020                    92.46%              93.50%                    80.25%
Southern               Suncoast                           5/23/2020                    93.59%              91.61%                    83.75%
Southern               Suncoast                           5/30/2020                    90.66%              91.17%                    85.01%
Southern               Suncoast                            6/6/2020                    91.21%              90.04%                    85.03%
Southern               Suncoast                           6/13/2020                    92.97%              91.59%                    89.06%
Southern               Suncoast                           6/20/2020                    90.90%              90.30%                    82.88%
Southern               Suncoast                           6/27/2020                    90.56%              91.03%                    74.17%
Southern               Suncoast                            7/1/2020                    93.04%              89.59%                    87.07%
Southern               Suncoast                            7/4/2020                    89.54%              88.91%                    83.65%
Southern               Suncoast                           7/11/2020                    80.09%              76.97%                    79.92%
Southern               Suncoast                           7/18/2020                    75.24%              70.29%                    72.52%
Southern               Suncoast                           7/25/2020                    85.11%              76.04%                    80.74%
Southern               Suncoast                            8/1/2020                    85.30%              83.34%                    75.11%
Southern               Suncoast                            8/8/2020                    85.21%              89.39%                    80.11%
Southern               Suncoast                           8/15/2020                    89.27%              89.23%                    79.03%
Southern               Suncoast                           8/22/2020                    89.40%              89.63%                    80.15%
Southern               Suncoast                           8/29/2020                    89.70%              90.17%                    82.32%
Southern               Suncoast                            9/5/2020                    90.33%              86.76%                    88.18%
Southern               Suncoast                           9/12/2020                    88.95%              88.76%                    84.40%
Southern               Suncoast                           9/19/2020                    86.67%              91.50%                    84.27%
Southern               Suncoast                           9/26/2020                    88.41%              91.78%                    84.78%
Southern               Suncoast                           10/3/2020                    88.13%              88.14%                    78.35%
Southern               Suncoast                          10/10/2020                    86.49%              86.81%                    74.90%
Southern               Suncoast                          10/17/2020                    81.96%              86.89%                    78.88%
Western                Alaska                              1/4/2020                    89.12%              89.95%                    77.51%
Western                Alaska                             1/11/2020                    91.09%              91.23%                    70.03%
Western                Alaska                             1/18/2020                    92.57%              92.92%                    87.30%
Western                Alaska                             1/25/2020                    91.22%              95.96%                    94.81%
Western                Alaska                              2/1/2020                    90.77%              95.96%                    92.22%
Western                Alaska                              2/8/2020                    91.89%              81.83%                    89.98%
Western                Alaska                             2/15/2020                    93.62%              82.09%                    82.84%
Western                Alaska                             2/22/2020                    93.30%              98.05%                    87.40%
Western                Alaska                             2/29/2020                    92.97%              96.95%                    90.65%
Western                Alaska                              3/7/2020                    92.41%              82.13%                    88.96%
Western                Alaska                             3/14/2020                    92.02%              90.51%                    91.68%
Western                Alaska                             3/21/2020                    91.98%              82.23%                    93.83%
Western                Alaska                             3/28/2020                    91.79%              98.65%                    94.61%
Western                Alaska                              4/1/2020                    90.26%              97.44%                    87.95%
Western                Alaska                              4/4/2020                    92.88%              63.97%                    82.56%
Western                Alaska                             4/11/2020                    91.36%              85.17%                    89.33%

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Commission (PRC) at the end of the quarter.                          49
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          Area                   District               Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Alaska                             4/18/2020                    91.79%              85.33%                    93.03%
Western                Alaska                             4/25/2020                    92.74%              93.27%                    95.57%
Western                Alaska                              5/2/2020                    92.00%              96.59%                    84.45%
Western                Alaska                              5/9/2020                    92.51%              86.77%                    94.42%
Western                Alaska                             5/16/2020                    92.31%              84.57%                    94.22%
Western                Alaska                             5/23/2020                    91.24%              83.79%                    89.05%
Western                Alaska                             5/30/2020                    91.29%              97.20%                    93.93%
Western                Alaska                              6/6/2020                    92.12%              84.72%                    88.72%
Western                Alaska                             6/13/2020                    92.14%              98.43%                    91.14%
Western                Alaska                             6/20/2020                    91.63%              93.65%                    91.63%
Western                Alaska                             6/27/2020                    91.79%              97.65%                    94.91%
Western                Alaska                              7/1/2020                    93.87%              95.72%                    83.10%
Western                Alaska                              7/4/2020                    90.82%              93.84%                    77.28%
Western                Alaska                             7/11/2020                    91.14%              84.23%                    89.93%
Western                Alaska                             7/18/2020                    88.31%              98.32%                    86.89%
Western                Alaska                             7/25/2020                    89.01%              96.55%                    86.79%
Western                Alaska                              8/1/2020                    89.67%              85.73%                    84.11%
Western                Alaska                              8/8/2020                    87.07%              85.01%                    87.66%
Western                Alaska                             8/15/2020                    86.51%              83.98%                    87.43%
Western                Alaska                             8/22/2020                    89.43%              97.04%                    88.93%
Western                Alaska                             8/29/2020                    91.46%              97.73%                    94.71%
Western                Alaska                              9/5/2020                    90.96%              98.39%                    92.76%
Western                Alaska                             9/12/2020                    90.35%              96.64%                    95.87%
Western                Alaska                             9/19/2020                    94.07%              98.26%                    87.59%
Western                Alaska                             9/26/2020                    90.97%              83.03%                    91.25%
Western                Alaska                             10/3/2020                    90.56%              97.95%                    95.51%
Western                Alaska                            10/10/2020                    87.43%              96.91%                    88.24%
Western                Alaska                            10/17/2020                    80.93%              96.85%                    75.65%
Western                Arizona                             1/4/2020                    91.44%              90.90%                    87.48%
Western                Arizona                            1/11/2020                    92.39%              90.37%                    88.93%
Western                Arizona                            1/18/2020                    93.78%              91.48%                    91.61%
Western                Arizona                            1/25/2020                    92.11%              92.30%                    87.41%
Western                Arizona                             2/1/2020                    90.48%              90.42%                    88.40%
Western                Arizona                             2/8/2020                    91.36%              91.31%                    91.33%
Western                Arizona                            2/15/2020                    94.34%              90.26%                    89.94%
Western                Arizona                            2/22/2020                    91.43%              89.61%                    86.20%
Western                Arizona                            2/29/2020                    92.61%              92.07%                    87.45%
Western                Arizona                             3/7/2020                    90.79%              90.45%                    83.11%
Western                Arizona                            3/14/2020                    91.35%              89.55%                    84.60%
Western                Arizona                            3/21/2020                    92.27%              92.62%                    84.98%
Western                Arizona                            3/28/2020                    89.97%              92.09%                    87.23%
Western                Arizona                             4/1/2020                    91.24%              91.02%                    84.14%
Western                Arizona                             4/4/2020                    91.97%              93.55%                    87.65%
Western                Arizona                            4/11/2020                    91.69%              92.97%                    85.42%
Western                Arizona                            4/18/2020                    92.55%              93.66%                    87.24%
Western                Arizona                            4/25/2020                    90.97%              92.85%                    79.71%
Western                Arizona                             5/2/2020                    92.05%              91.56%                    83.51%
Western                Arizona                             5/9/2020                    90.75%              91.29%                    78.45%
Western                Arizona                            5/16/2020                    92.78%              93.19%                    82.85%
Western                Arizona                            5/23/2020                    93.18%              93.25%                    80.82%
Western                Arizona                            5/30/2020                    91.26%              93.55%                    90.11%
Western                Arizona                             6/6/2020                    91.18%              93.47%                    83.96%
Western                Arizona                            6/13/2020                    91.57%              94.29%                    87.73%
Western                Arizona                            6/20/2020                    91.43%              91.39%                    75.74%
Western                Arizona                            6/27/2020                    90.76%              92.22%                    89.36%
Western                Arizona                             7/1/2020                    92.34%              92.52%                    89.27%
Western                Arizona                             7/4/2020                    92.22%              91.81%                    78.46%
Western                Arizona                            7/11/2020                    86.72%              85.59%                    81.28%

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          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Arizona                            7/18/2020                    86.82%              84.44%                    75.31%
Western                Arizona                            7/25/2020                    87.20%              88.29%                    83.38%
Western                Arizona                             8/1/2020                    87.37%              87.46%                    82.52%
Western                Arizona                             8/8/2020                    87.64%              91.10%                    74.70%
Western                Arizona                            8/15/2020                    88.72%              92.75%                    81.88%
Western                Arizona                            8/22/2020                    89.74%              93.86%                    79.93%
Western                Arizona                            8/29/2020                    88.97%              93.29%                    85.44%
Western                Arizona                             9/5/2020                    90.12%              92.99%                    83.29%
Western                Arizona                            9/12/2020                    90.35%              91.28%                    79.85%
Western                Arizona                            9/19/2020                    88.94%              92.96%                    86.40%
Western                Arizona                            9/26/2020                    87.44%              89.79%                    78.02%
Western                Arizona                            10/3/2020                    88.29%              94.35%                    76.19%
Western                Arizona                           10/10/2020                    85.84%              77.38%                    84.38%
Western                Arizona                           10/17/2020                    82.12%              84.37%                    66.24%
Western                Central Plains                      1/4/2020                    93.81%              94.29%                    87.66%
Western                Central Plains                     1/11/2020                    92.81%              94.03%                    90.20%
Western                Central Plains                     1/18/2020                    95.13%              90.56%                    89.51%
Western                Central Plains                     1/25/2020                    90.74%              95.15%                    90.90%
Western                Central Plains                      2/1/2020                    93.46%              95.09%                    89.33%
Western                Central Plains                      2/8/2020                    94.18%              96.10%                    93.70%
Western                Central Plains                     2/15/2020                    96.17%              95.44%                    93.72%
Western                Central Plains                     2/22/2020                    95.57%              96.63%                    93.35%
Western                Central Plains                     2/29/2020                    95.07%              88.53%                    92.05%
Western                Central Plains                      3/7/2020                    93.98%              94.78%                    91.40%
Western                Central Plains                     3/14/2020                    95.16%              95.87%                    91.60%
Western                Central Plains                     3/21/2020                    94.95%              95.58%                    90.45%
Western                Central Plains                     3/28/2020                    95.70%              96.44%                    91.76%
Western                Central Plains                      4/1/2020                    94.32%              95.90%                    91.03%
Western                Central Plains                      4/4/2020                    93.73%              88.73%                    91.65%
Western                Central Plains                     4/11/2020                    93.37%              96.51%                    89.53%
Western                Central Plains                     4/18/2020                    94.35%              96.01%                    91.79%
Western                Central Plains                     4/25/2020                    90.93%              95.95%                    82.74%
Western                Central Plains                      5/2/2020                    92.00%              87.64%                    89.03%
Western                Central Plains                      5/9/2020                    92.31%              94.15%                    86.45%
Western                Central Plains                     5/16/2020                    94.04%              87.67%                    89.56%
Western                Central Plains                     5/23/2020                    95.32%              93.74%                    90.26%
Western                Central Plains                     5/30/2020                    91.89%              93.88%                    85.47%
Western                Central Plains                      6/6/2020                    93.00%              93.79%                    88.11%
Western                Central Plains                     6/13/2020                    94.40%              94.37%                    88.46%
Western                Central Plains                     6/20/2020                    94.57%              94.76%                    88.82%
Western                Central Plains                     6/27/2020                    94.18%              96.12%                    86.37%
Western                Central Plains                      7/1/2020                    93.28%              92.00%                    88.71%
Western                Central Plains                      7/4/2020                    93.40%              88.52%                    83.72%
Western                Central Plains                     7/11/2020                    88.97%              92.17%                    88.75%
Western                Central Plains                     7/18/2020                    85.62%              89.39%                    86.77%
Western                Central Plains                     7/25/2020                    87.94%              93.09%                    85.38%
Western                Central Plains                      8/1/2020                    88.67%              84.60%                    82.95%
Western                Central Plains                      8/8/2020                    87.95%              92.40%                    81.62%
Western                Central Plains                     8/15/2020                    86.90%              92.99%                    87.48%
Western                Central Plains                     8/22/2020                    87.00%              94.80%                    88.08%
Western                Central Plains                     8/29/2020                    87.52%              93.08%                    89.76%
Western                Central Plains                      9/5/2020                    88.86%              84.70%                    88.95%
Western                Central Plains                     9/12/2020                    85.36%              92.67%                    87.98%
Western                Central Plains                     9/19/2020                    90.52%              94.73%                    90.82%
Western                Central Plains                     9/26/2020                    88.88%              93.53%                    86.80%
Western                Central Plains                     10/3/2020                    90.76%              94.94%                    88.92%
Western                Central Plains                    10/10/2020                    90.54%              93.36%                    91.40%
Western                Central Plains                    10/17/2020                    86.34%              87.31%                    89.04%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          51
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Colorado/Wyoming                    1/4/2020                    88.39%              83.93%                    77.62%
Western                Colorado/Wyoming                   1/11/2020                    87.00%              84.89%                    87.05%
Western                Colorado/Wyoming                   1/18/2020                    91.54%              87.33%                    82.45%
Western                Colorado/Wyoming                   1/25/2020                    85.95%              88.64%                    83.23%
Western                Colorado/Wyoming                    2/1/2020                    80.11%              81.16%                    88.65%
Western                Colorado/Wyoming                    2/8/2020                    84.99%              86.68%                    85.33%
Western                Colorado/Wyoming                   2/15/2020                    89.54%              86.40%                    87.92%
Western                Colorado/Wyoming                   2/22/2020                    90.81%              92.82%                    85.16%
Western                Colorado/Wyoming                   2/29/2020                    91.51%              90.65%                    81.02%
Western                Colorado/Wyoming                    3/7/2020                    90.67%              88.18%                    82.52%
Western                Colorado/Wyoming                   3/14/2020                    88.70%              88.70%                    80.24%
Western                Colorado/Wyoming                   3/21/2020                    88.05%              89.44%                    79.99%
Western                Colorado/Wyoming                   3/28/2020                    88.28%              91.24%                    77.79%
Western                Colorado/Wyoming                    4/1/2020                    91.36%              86.70%                    79.28%
Western                Colorado/Wyoming                    4/4/2020                    86.13%              82.23%                    59.28%
Western                Colorado/Wyoming                   4/11/2020                    83.42%              77.56%                    57.01%
Western                Colorado/Wyoming                   4/18/2020                    86.07%              87.32%                    58.10%
Western                Colorado/Wyoming                   4/25/2020                    83.31%              85.48%                    64.39%
Western                Colorado/Wyoming                    5/2/2020                    87.76%              87.82%                    60.23%
Western                Colorado/Wyoming                    5/9/2020                    86.39%              89.07%                    60.95%
Western                Colorado/Wyoming                   5/16/2020                    88.50%              91.99%                    76.63%
Western                Colorado/Wyoming                   5/23/2020                    89.88%              92.58%                    76.72%
Western                Colorado/Wyoming                   5/30/2020                    89.26%              94.41%                    75.58%
Western                Colorado/Wyoming                    6/6/2020                    88.21%              82.34%                    77.75%
Western                Colorado/Wyoming                   6/13/2020                    87.71%              89.24%                    77.63%
Western                Colorado/Wyoming                   6/20/2020                    87.47%              91.28%                    74.21%
Western                Colorado/Wyoming                   6/27/2020                    86.75%              90.70%                    77.74%
Western                Colorado/Wyoming                    7/1/2020                    88.49%              89.54%                    76.57%
Western                Colorado/Wyoming                    7/4/2020                    86.01%              87.67%                    82.13%
Western                Colorado/Wyoming                   7/11/2020                    81.98%              76.38%                    64.21%
Western                Colorado/Wyoming                   7/18/2020                    82.90%              83.32%                    77.73%
Western                Colorado/Wyoming                   7/25/2020                    83.92%              86.28%                    61.84%
Western                Colorado/Wyoming                    8/1/2020                    79.31%              84.49%                    72.62%
Western                Colorado/Wyoming                    8/8/2020                    80.54%              86.69%                    69.32%
Western                Colorado/Wyoming                   8/15/2020                    80.52%              86.82%                    66.25%
Western                Colorado/Wyoming                   8/22/2020                    84.51%              92.04%                    76.80%
Western                Colorado/Wyoming                   8/29/2020                    84.02%              90.25%                    75.96%
Western                Colorado/Wyoming                    9/5/2020                    84.83%              90.42%                    76.25%
Western                Colorado/Wyoming                   9/12/2020                    82.83%              89.20%                    80.97%
Western                Colorado/Wyoming                   9/19/2020                    82.78%              89.76%                    75.40%
Western                Colorado/Wyoming                   9/26/2020                    83.20%              89.74%                    81.81%
Western                Colorado/Wyoming                   10/3/2020                    84.41%              89.30%                    75.64%
Western                Colorado/Wyoming                  10/10/2020                    77.41%              81.81%                    77.05%
Western                Colorado/Wyoming                  10/17/2020                    71.47%              64.43%                    70.85%
Western                Dakotas                             1/4/2020                    91.47%              91.30%                    86.24%
Western                Dakotas                            1/11/2020                    91.89%              87.84%                    86.15%
Western                Dakotas                            1/18/2020                    90.67%              90.58%                    85.28%
Western                Dakotas                            1/25/2020                    90.81%              94.24%                    88.69%
Western                Dakotas                             2/1/2020                    92.19%              92.89%                    90.51%
Western                Dakotas                             2/8/2020                    92.82%              94.26%                    90.92%
Western                Dakotas                            2/15/2020                    94.58%              92.97%                    88.88%
Western                Dakotas                            2/22/2020                    93.85%              95.54%                    90.63%
Western                Dakotas                            2/29/2020                    94.45%              94.41%                    89.68%
Western                Dakotas                             3/7/2020                    93.79%              94.71%                    88.59%
Western                Dakotas                            3/14/2020                    93.80%              95.03%                    90.12%
Western                Dakotas                            3/21/2020                    94.36%              95.27%                    85.71%
Western                Dakotas                            3/28/2020                    93.59%              94.58%                    87.04%
Western                Dakotas                             4/1/2020                    94.58%              94.49%                    85.42%

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Commission (PRC) at the end of the quarter.                          52
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Dakotas                             4/4/2020                    93.57%              96.12%                    91.21%
Western                Dakotas                            4/11/2020                    93.03%              95.55%                    87.28%
Western                Dakotas                            4/18/2020                    94.25%              94.35%                    86.95%
Western                Dakotas                            4/25/2020                    93.87%              96.01%                    86.97%
Western                Dakotas                             5/2/2020                    93.73%              94.01%                    87.87%
Western                Dakotas                             5/9/2020                    92.41%              92.18%                    87.11%
Western                Dakotas                            5/16/2020                    94.03%              95.03%                    87.75%
Western                Dakotas                            5/23/2020                    94.90%              92.86%                    85.34%
Western                Dakotas                            5/30/2020                    92.40%              94.44%                    85.75%
Western                Dakotas                             6/6/2020                    93.69%              94.85%                    89.69%
Western                Dakotas                            6/13/2020                    94.65%              94.40%                    89.55%
Western                Dakotas                            6/20/2020                    93.85%              93.73%                    89.15%
Western                Dakotas                            6/27/2020                    93.42%              93.15%                    88.22%
Western                Dakotas                             7/1/2020                    94.00%              94.50%                    87.16%
Western                Dakotas                             7/4/2020                    92.57%              88.03%                    89.44%
Western                Dakotas                            7/11/2020                    91.21%              87.45%                    87.00%
Western                Dakotas                            7/18/2020                    89.34%              90.99%                    84.63%
Western                Dakotas                            7/25/2020                    90.73%              90.70%                    78.47%
Western                Dakotas                             8/1/2020                    90.94%              90.58%                    83.54%
Western                Dakotas                             8/8/2020                    89.74%              90.36%                    79.98%
Western                Dakotas                            8/15/2020                    91.20%              91.15%                    85.07%
Western                Dakotas                            8/22/2020                    92.97%              92.88%                    80.20%
Western                Dakotas                            8/29/2020                    91.37%              92.37%                    80.67%
Western                Dakotas                             9/5/2020                    92.00%              91.19%                    78.51%
Western                Dakotas                            9/12/2020                    90.68%              92.01%                    87.96%
Western                Dakotas                            9/19/2020                    91.77%              95.38%                    86.58%
Western                Dakotas                            9/26/2020                    92.08%              95.30%                    90.76%
Western                Dakotas                            10/3/2020                    91.77%              94.29%                    84.71%
Western                Dakotas                           10/10/2020                    91.26%              93.51%                    87.99%
Western                Dakotas                           10/17/2020                    88.52%              94.02%                    80.37%
Western                Hawkeye                             1/4/2020                    93.25%              94.09%                    91.42%
Western                Hawkeye                            1/11/2020                    91.69%              90.45%                    91.58%
Western                Hawkeye                            1/18/2020                    90.65%              91.03%                    77.93%
Western                Hawkeye                            1/25/2020                    92.77%              93.84%                    82.88%
Western                Hawkeye                             2/1/2020                    92.51%              93.48%                    94.08%
Western                Hawkeye                             2/8/2020                    93.65%              94.28%                    91.72%
Western                Hawkeye                            2/15/2020                    93.22%              95.63%                    87.96%
Western                Hawkeye                            2/22/2020                    93.50%              95.99%                    91.21%
Western                Hawkeye                            2/29/2020                    94.35%              95.59%                    90.56%
Western                Hawkeye                             3/7/2020                    92.68%              95.99%                    90.46%
Western                Hawkeye                            3/14/2020                    93.65%              95.93%                    91.18%
Western                Hawkeye                            3/21/2020                    93.57%              95.56%                    91.33%
Western                Hawkeye                            3/28/2020                    94.03%              96.01%                    90.60%
Western                Hawkeye                             4/1/2020                    94.35%              96.65%                    92.98%
Western                Hawkeye                             4/4/2020                    94.04%              96.70%                    90.38%
Western                Hawkeye                            4/11/2020                    92.92%              96.09%                    91.56%
Western                Hawkeye                            4/18/2020                    94.64%              96.41%                    92.60%
Western                Hawkeye                            4/25/2020                    93.95%              96.95%                    87.97%
Western                Hawkeye                             5/2/2020                    93.15%              94.86%                    89.57%
Western                Hawkeye                             5/9/2020                    92.25%              94.13%                    87.58%
Western                Hawkeye                            5/16/2020                    94.00%              94.41%                    90.46%
Western                Hawkeye                            5/23/2020                    92.83%              94.62%                    90.84%
Western                Hawkeye                            5/30/2020                    93.80%              94.57%                    90.37%
Western                Hawkeye                             6/6/2020                    93.00%              94.90%                    89.93%
Western                Hawkeye                            6/13/2020                    93.97%              95.93%                    87.89%
Western                Hawkeye                            6/20/2020                    92.94%              95.28%                    92.22%
Western                Hawkeye                            6/27/2020                    92.60%              95.17%                    81.83%
Western                Hawkeye                             7/1/2020                    92.43%              94.12%                    92.86%

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Commission (PRC) at the end of the quarter.                          53
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area               District                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Hawkeye                             7/4/2020                    92.28%              93.22%                    83.66%
Western                Hawkeye                            7/11/2020                    90.05%              91.75%                    90.39%
Western                Hawkeye                            7/18/2020                    88.48%              92.42%                    87.66%
Western                Hawkeye                            7/25/2020                    90.48%              92.28%                    86.21%
Western                Hawkeye                             8/1/2020                    88.41%              92.05%                    81.16%
Western                Hawkeye                             8/8/2020                    84.80%              85.56%                    73.21%
Western                Hawkeye                            8/15/2020                    89.96%              92.18%                    84.27%
Western                Hawkeye                            8/22/2020                    91.46%              94.62%                    87.97%
Western                Hawkeye                            8/29/2020                    88.46%              93.94%                    83.51%
Western                Hawkeye                             9/5/2020                    86.11%              93.57%                    86.14%
Western                Hawkeye                            9/12/2020                    89.06%              92.74%                    88.11%
Western                Hawkeye                            9/19/2020                    85.86%              94.62%                    89.70%
Western                Hawkeye                            9/26/2020                    87.93%              94.19%                    88.61%
Western                Hawkeye                            10/3/2020                    88.46%              91.63%                    82.47%
Western                Hawkeye                           10/10/2020                    88.23%              87.31%                    88.23%
Western                Hawkeye                           10/17/2020                    85.65%              93.89%                    81.27%
Western                Mid‐America                         1/4/2020                    92.87%              92.68%                    89.27%
Western                Mid‐America                        1/11/2020                    91.73%              92.39%                    89.23%
Western                Mid‐America                        1/18/2020                    93.52%              86.12%                    89.66%
Western                Mid‐America                        1/25/2020                    92.49%              93.95%                    89.69%
Western                Mid‐America                         2/1/2020                    91.50%              85.23%                    89.46%
Western                Mid‐America                         2/8/2020                    92.63%              93.06%                    92.44%
Western                Mid‐America                        2/15/2020                    94.05%              94.39%                    91.10%
Western                Mid‐America                        2/22/2020                    93.41%              95.28%                    93.09%
Western                Mid‐America                        2/29/2020                    93.35%              94.71%                    86.54%
Western                Mid‐America                         3/7/2020                    92.74%              86.84%                    88.37%
Western                Mid‐America                        3/14/2020                    92.51%              91.16%                    89.68%
Western                Mid‐America                        3/21/2020                    93.16%              86.80%                    89.64%
Western                Mid‐America                        3/28/2020                    93.77%              94.13%                    90.19%
Western                Mid‐America                         4/1/2020                    93.40%              91.43%                    85.01%
Western                Mid‐America                         4/4/2020                    93.59%              87.90%                    88.08%
Western                Mid‐America                        4/11/2020                    91.47%              95.05%                    89.77%
Western                Mid‐America                        4/18/2020                    93.14%              93.93%                    88.85%
Western                Mid‐America                        4/25/2020                    92.15%              91.71%                    86.33%
Western                Mid‐America                         5/2/2020                    92.13%              85.68%                    83.58%
Western                Mid‐America                         5/9/2020                    91.20%              92.55%                    81.53%
Western                Mid‐America                        5/16/2020                    92.48%              94.80%                    82.06%
Western                Mid‐America                        5/23/2020                    93.25%              91.59%                    80.92%
Western                Mid‐America                        5/30/2020                    90.14%              90.21%                    79.43%
Western                Mid‐America                         6/6/2020                    91.12%              83.56%                    80.27%
Western                Mid‐America                        6/13/2020                    90.75%              92.63%                    82.25%
Western                Mid‐America                        6/20/2020                    91.73%              89.13%                    83.35%
Western                Mid‐America                        6/27/2020                    91.34%              93.82%                    85.05%
Western                Mid‐America                         7/1/2020                    91.03%              87.84%                    80.23%
Western                Mid‐America                         7/4/2020                    90.57%              82.67%                    76.49%
Western                Mid‐America                        7/11/2020                    85.22%              85.28%                    74.74%
Western                Mid‐America                        7/18/2020                    87.49%              87.01%                    77.86%
Western                Mid‐America                        7/25/2020                    87.05%              88.47%                    79.40%
Western                Mid‐America                         8/1/2020                    86.23%              74.01%                    71.75%
Western                Mid‐America                         8/8/2020                    83.85%              86.77%                    79.93%
Western                Mid‐America                        8/15/2020                    88.83%              88.73%                    77.62%
Western                Mid‐America                        8/22/2020                    90.06%              92.21%                    81.72%
Western                Mid‐America                        8/29/2020                    89.23%              89.34%                    82.48%
Western                Mid‐America                         9/5/2020                    90.12%              79.04%                    78.18%
Western                Mid‐America                        9/12/2020                    85.96%              80.36%                    75.70%
Western                Mid‐America                        9/19/2020                    85.99%              79.62%                    77.43%
Western                Mid‐America                        9/26/2020                    85.80%              85.47%                    76.76%
Western                Mid‐America                        10/3/2020                    84.38%              80.14%                    73.87%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
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          Area                District                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Mid‐America                       10/10/2020                    84.63%              88.08%                    75.28%
Western                Mid‐America                       10/17/2020                    83.32%              86.20%                    77.97%
Western                Nevada Sierra                       1/4/2020                    93.47%              93.77%                    86.48%
Western                Nevada Sierra                      1/11/2020                    93.61%              92.92%                    81.50%
Western                Nevada Sierra                      1/18/2020                    94.70%              93.38%                    85.30%
Western                Nevada Sierra                      1/25/2020                    93.02%              95.19%                    86.21%
Western                Nevada Sierra                       2/1/2020                    90.67%              93.77%                    86.95%
Western                Nevada Sierra                       2/8/2020                    91.93%              95.24%                    85.65%
Western                Nevada Sierra                      2/15/2020                    94.84%              93.73%                    89.69%
Western                Nevada Sierra                      2/22/2020                    94.59%              96.75%                    89.68%
Western                Nevada Sierra                      2/29/2020                    95.14%              95.02%                    89.43%
Western                Nevada Sierra                       3/7/2020                    92.78%              93.56%                    81.77%
Western                Nevada Sierra                      3/14/2020                    93.11%              94.91%                    88.91%
Western                Nevada Sierra                      3/21/2020                    90.78%              95.53%                    84.31%
Western                Nevada Sierra                      3/28/2020                    93.50%              96.23%                    89.14%
Western                Nevada Sierra                       4/1/2020                    94.86%              94.08%                    91.21%
Western                Nevada Sierra                       4/4/2020                    94.29%              95.48%                    85.80%
Western                Nevada Sierra                      4/11/2020                    92.61%              94.63%                    77.14%
Western                Nevada Sierra                      4/18/2020                    94.00%              94.77%                    80.78%
Western                Nevada Sierra                      4/25/2020                    93.96%              94.12%                    79.30%
Western                Nevada Sierra                       5/2/2020                    93.31%              93.23%                    78.43%
Western                Nevada Sierra                       5/9/2020                    91.40%              94.49%                    73.97%
Western                Nevada Sierra                      5/16/2020                    93.80%              95.39%                    79.77%
Western                Nevada Sierra                      5/23/2020                    93.51%              94.16%                    78.80%
Western                Nevada Sierra                      5/30/2020                    93.40%              96.04%                    88.87%
Western                Nevada Sierra                       6/6/2020                    94.16%              95.33%                    79.78%
Western                Nevada Sierra                      6/13/2020                    94.39%              94.54%                    81.39%
Western                Nevada Sierra                      6/20/2020                    93.73%              94.73%                    76.47%
Western                Nevada Sierra                      6/27/2020                    91.03%              94.94%                    82.83%
Western                Nevada Sierra                       7/1/2020                    91.15%              92.29%                    88.98%
Western                Nevada Sierra                       7/4/2020                    93.29%              87.84%                    76.95%
Western                Nevada Sierra                      7/11/2020                    91.50%              93.42%                    78.57%
Western                Nevada Sierra                      7/18/2020                    89.27%              92.14%                    78.19%
Western                Nevada Sierra                      7/25/2020                    88.43%              91.85%                    71.41%
Western                Nevada Sierra                       8/1/2020                    87.59%              90.41%                    75.00%
Western                Nevada Sierra                       8/8/2020                    88.44%              91.67%                    67.10%
Western                Nevada Sierra                      8/15/2020                    89.21%              91.23%                    75.80%
Western                Nevada Sierra                      8/22/2020                    90.43%              92.61%                    78.85%
Western                Nevada Sierra                      8/29/2020                    91.09%              94.61%                    87.64%
Western                Nevada Sierra                       9/5/2020                    91.85%              91.82%                    85.06%
Western                Nevada Sierra                      9/12/2020                    90.97%              90.79%                    83.18%
Western                Nevada Sierra                      9/19/2020                    89.76%              94.74%                    86.04%
Western                Nevada Sierra                      9/26/2020                    92.23%              93.88%                    78.05%
Western                Nevada Sierra                      10/3/2020                    91.48%              94.78%                    85.18%
Western                Nevada Sierra                     10/10/2020                    90.36%              93.61%                    82.54%
Western                Nevada Sierra                     10/17/2020                    86.47%              95.19%                    85.68%
Western                Northland                           1/4/2020                    89.01%              92.37%                    88.59%
Western                Northland                          1/11/2020                    86.78%              89.56%                    89.32%
Western                Northland                          1/18/2020                    90.09%              84.53%                    88.25%
Western                Northland                          1/25/2020                    88.36%              92.31%                    88.21%
Western                Northland                           2/1/2020                    89.04%              86.63%                    87.39%
Western                Northland                           2/8/2020                    90.77%              93.86%                    91.54%
Western                Northland                          2/15/2020                    92.81%              94.81%                    88.37%
Western                Northland                          2/22/2020                    91.56%              94.30%                    88.69%
Western                Northland                          2/29/2020                    92.33%              87.84%                    83.08%
Western                Northland                           3/7/2020                    90.74%              94.84%                    91.94%
Western                Northland                          3/14/2020                    89.95%              95.49%                    89.46%
Western                Northland                          3/21/2020                    91.48%              95.80%                    91.63%

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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Northland                          3/28/2020                    90.91%              96.44%                    84.27%
Western                Northland                           4/1/2020                    93.54%              96.00%                    87.80%
Western                Northland                           4/4/2020                    90.68%              89.12%                    91.32%
Western                Northland                          4/11/2020                    90.17%              96.32%                    89.40%
Western                Northland                          4/18/2020                    91.46%              95.08%                    88.25%
Western                Northland                          4/25/2020                    93.28%              94.47%                    78.57%
Western                Northland                           5/2/2020                    90.08%              86.83%                    86.39%
Western                Northland                           5/9/2020                    91.30%              93.54%                    87.92%
Western                Northland                          5/16/2020                    91.74%              95.33%                    82.63%
Western                Northland                          5/23/2020                    92.34%              92.13%                    85.64%
Western                Northland                          5/30/2020                    86.11%              92.60%                    74.23%
Western                Northland                           6/6/2020                    88.64%              85.73%                    85.92%
Western                Northland                          6/13/2020                    92.12%              93.74%                    86.74%
Western                Northland                          6/20/2020                    90.63%              92.16%                    87.20%
Western                Northland                          6/27/2020                    87.53%              86.68%                    88.15%
Western                Northland                           7/1/2020                    89.34%              93.30%                    74.95%
Western                Northland                           7/4/2020                    91.24%              88.99%                    84.94%
Western                Northland                          7/11/2020                    84.31%              87.02%                    81.56%
Western                Northland                          7/18/2020                    75.49%              86.80%                    85.87%
Western                Northland                          7/25/2020                    82.85%              88.31%                    80.49%
Western                Northland                           8/1/2020                    80.13%              81.95%                    79.68%
Western                Northland                           8/8/2020                    79.91%              86.30%                    73.93%
Western                Northland                          8/15/2020                    84.33%              88.81%                    80.69%
Western                Northland                          8/22/2020                    84.85%              91.22%                    73.66%
Western                Northland                          8/29/2020                    84.22%              83.29%                    69.45%
Western                Northland                           9/5/2020                    87.87%              86.32%                    82.76%
Western                Northland                          9/12/2020                    84.51%              89.28%                    85.51%
Western                Northland                          9/19/2020                    81.46%              92.81%                    81.63%
Western                Northland                          9/26/2020                    82.88%              93.49%                    81.46%
Western                Northland                          10/3/2020                    84.65%              88.68%                    80.85%
Western                Northland                         10/10/2020                    85.95%              89.04%                    84.85%
Western                Northland                         10/17/2020                    80.25%              90.13%                    81.17%
Western                Portland                            1/4/2020                    92.92%              93.23%                    90.19%
Western                Portland                           1/11/2020                    89.06%              91.07%                    81.94%
Western                Portland                           1/18/2020                    93.27%              92.87%                    89.76%
Western                Portland                           1/25/2020                    91.19%              93.75%                    94.41%
Western                Portland                            2/1/2020                    90.93%              93.74%                    90.35%
Western                Portland                            2/8/2020                    92.82%              94.51%                    94.11%
Western                Portland                           2/15/2020                    94.69%              94.54%                    94.45%
Western                Portland                           2/22/2020                    93.54%              95.20%                    90.15%
Western                Portland                           2/29/2020                    94.06%              95.15%                    91.94%
Western                Portland                            3/7/2020                    93.08%              94.51%                    92.30%
Western                Portland                           3/14/2020                    92.31%              94.39%                    89.05%
Western                Portland                           3/21/2020                    92.95%              95.45%                    88.33%
Western                Portland                           3/28/2020                    92.16%              95.10%                    85.25%
Western                Portland                            4/1/2020                    93.26%              96.35%                    87.44%
Western                Portland                            4/4/2020                    90.68%              96.56%                    93.90%
Western                Portland                           4/11/2020                    90.47%              95.75%                    87.72%
Western                Portland                           4/18/2020                    92.51%              96.12%                    87.87%
Western                Portland                           4/25/2020                    91.41%              96.28%                    88.34%
Western                Portland                            5/2/2020                    90.94%              93.98%                    87.61%
Western                Portland                            5/9/2020                    89.05%              94.33%                    82.97%
Western                Portland                           5/16/2020                    92.15%              95.23%                    85.25%
Western                Portland                           5/23/2020                    92.32%              93.81%                    88.96%
Western                Portland                           5/30/2020                    91.80%              94.39%                    87.26%
Western                Portland                            6/6/2020                    91.61%              94.70%                    89.93%
Western                Portland                           6/13/2020                    92.16%              94.91%                    86.89%
Western                Portland                           6/20/2020                    91.46%              94.10%                    89.11%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          56
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Portland                           6/27/2020                    90.19%              93.83%                    78.29%
Western                Portland                            7/1/2020                    92.78%              92.23%                    94.66%
Western                Portland                            7/4/2020                    90.60%              89.07%                    86.43%
Western                Portland                           7/11/2020                    87.71%              92.49%                    82.74%
Western                Portland                           7/18/2020                    88.11%              92.76%                    83.88%
Western                Portland                           7/25/2020                    86.76%              93.16%                    74.42%
Western                Portland                            8/1/2020                    87.67%              91.62%                    82.51%
Western                Portland                            8/8/2020                    86.40%              92.49%                    80.24%
Western                Portland                           8/15/2020                    88.76%              94.38%                    76.32%
Western                Portland                           8/22/2020                    89.60%              94.12%                    82.24%
Western                Portland                           8/29/2020                    88.95%              93.75%                    86.76%
Western                Portland                            9/5/2020                    89.99%              90.39%                    85.15%
Western                Portland                           9/12/2020                    87.63%              89.29%                    81.37%
Western                Portland                           9/19/2020                    89.29%              94.95%                    82.51%
Western                Portland                           9/26/2020                    90.97%              92.83%                    82.08%
Western                Portland                           10/3/2020                    88.96%              96.01%                    82.12%
Western                Portland                          10/10/2020                    89.83%              93.49%                    83.99%
Western                Portland                          10/17/2020                    83.89%              94.18%                    82.91%
Western                Salt Lake City                      1/4/2020                    91.25%              90.95%                    84.94%
Western                Salt Lake City                     1/11/2020                    92.10%              92.81%                    88.87%
Western                Salt Lake City                     1/18/2020                    92.63%              92.44%                    86.75%
Western                Salt Lake City                     1/25/2020                    91.01%              94.68%                    90.38%
Western                Salt Lake City                      2/1/2020                    91.68%              93.85%                    85.30%
Western                Salt Lake City                      2/8/2020                    91.30%              93.71%                    89.17%
Western                Salt Lake City                     2/15/2020                    93.54%              91.77%                    90.01%
Western                Salt Lake City                     2/22/2020                    93.66%              95.84%                    88.51%
Western                Salt Lake City                     2/29/2020                    93.33%              95.48%                    89.29%
Western                Salt Lake City                      3/7/2020                    91.79%              94.37%                    91.53%
Western                Salt Lake City                     3/14/2020                    90.52%              94.09%                    88.93%
Western                Salt Lake City                     3/21/2020                    89.85%              95.27%                    83.02%
Western                Salt Lake City                     3/28/2020                    92.13%              93.99%                    83.29%
Western                Salt Lake City                      4/1/2020                    90.76%              92.50%                    75.97%
Western                Salt Lake City                      4/4/2020                    92.67%              93.25%                    72.05%
Western                Salt Lake City                     4/11/2020                    85.84%              95.39%                    81.86%
Western                Salt Lake City                     4/18/2020                    90.82%              93.56%                    83.62%
Western                Salt Lake City                     4/25/2020                    91.05%              94.79%                    74.65%
Western                Salt Lake City                      5/2/2020                    89.40%              94.09%                    72.41%
Western                Salt Lake City                      5/9/2020                    88.21%              92.30%                    70.63%
Western                Salt Lake City                     5/16/2020                    92.26%              91.69%                    78.41%
Western                Salt Lake City                     5/23/2020                    92.52%              93.61%                    78.85%
Western                Salt Lake City                     5/30/2020                    90.33%              94.59%                    80.09%
Western                Salt Lake City                      6/6/2020                    90.60%              93.32%                    76.58%
Western                Salt Lake City                     6/13/2020                    91.55%              93.65%                    84.30%
Western                Salt Lake City                     6/20/2020                    90.75%              93.44%                    84.10%
Western                Salt Lake City                     6/27/2020                    89.95%              90.65%                    88.07%
Western                Salt Lake City                      7/1/2020                    91.95%              92.29%                    84.17%
Western                Salt Lake City                      7/4/2020                    88.55%              86.78%                    77.79%
Western                Salt Lake City                     7/11/2020                    86.29%              90.70%                    85.71%
Western                Salt Lake City                     7/18/2020                    86.69%              90.73%                    85.81%
Western                Salt Lake City                     7/25/2020                    87.91%              91.10%                    74.52%
Western                Salt Lake City                      8/1/2020                    86.71%              91.41%                    82.42%
Western                Salt Lake City                      8/8/2020                    85.74%              90.29%                    70.94%
Western                Salt Lake City                     8/15/2020                    88.77%              92.11%                    79.91%
Western                Salt Lake City                     8/22/2020                    89.90%              94.31%                    79.92%
Western                Salt Lake City                     8/29/2020                    90.13%              92.82%                    88.73%
Western                Salt Lake City                      9/5/2020                    90.51%              92.79%                    90.55%
Western                Salt Lake City                     9/12/2020                    88.49%              91.58%                    86.77%
Western                Salt Lake City                     9/19/2020                    89.78%              93.71%                    87.61%

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Commission (PRC) at the end of the quarter.                          57
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                Salt Lake City                     9/26/2020                    91.24%              93.30%                    88.67%
Western                Salt Lake City                     10/3/2020                    90.97%              94.63%                    90.89%
Western                Salt Lake City                    10/10/2020                    89.23%              88.37%                    87.79%
Western                Salt Lake City                    10/17/2020                    86.32%              94.12%                    83.30%
Western                Seattle                             1/4/2020                    92.83%              92.34%                    88.39%
Western                Seattle                            1/11/2020                    89.53%              90.61%                    89.47%
Western                Seattle                            1/18/2020                    93.67%              93.62%                    89.58%
Western                Seattle                            1/25/2020                    90.67%              93.92%                    91.16%
Western                Seattle                             2/1/2020                    89.66%              93.80%                    87.70%
Western                Seattle                             2/8/2020                    90.39%              94.89%                    94.35%
Western                Seattle                            2/15/2020                    94.33%              94.47%                    93.29%
Western                Seattle                            2/22/2020                    92.70%              94.67%                    94.06%
Western                Seattle                            2/29/2020                    92.71%              94.87%                    90.51%
Western                Seattle                             3/7/2020                    92.21%              94.31%                    90.67%
Western                Seattle                            3/14/2020                    91.72%              95.09%                    88.77%
Western                Seattle                            3/21/2020                    92.42%              95.23%                    89.14%
Western                Seattle                            3/28/2020                    91.12%              96.30%                    85.75%
Western                Seattle                             4/1/2020                    91.79%              94.28%                    89.11%
Western                Seattle                             4/4/2020                    91.48%              96.26%                    85.71%
Western                Seattle                            4/11/2020                    90.61%              96.31%                    89.81%
Western                Seattle                            4/18/2020                    91.89%              96.21%                    88.09%
Western                Seattle                            4/25/2020                    91.16%              96.08%                    89.21%
Western                Seattle                             5/2/2020                    90.60%              95.07%                    88.16%
Western                Seattle                             5/9/2020                    88.35%              95.27%                    83.71%
Western                Seattle                            5/16/2020                    92.23%              95.11%                    85.26%
Western                Seattle                            5/23/2020                    91.90%              92.78%                    85.66%
Western                Seattle                            5/30/2020                    90.66%              94.16%                    87.13%
Western                Seattle                             6/6/2020                    91.69%              94.33%                    81.82%
Western                Seattle                            6/13/2020                    91.51%              95.10%                    87.97%
Western                Seattle                            6/20/2020                    91.50%              92.78%                    80.46%
Western                Seattle                            6/27/2020                    91.58%              94.19%                    93.81%
Western                Seattle                             7/1/2020                    91.59%              93.77%                    92.84%
Western                Seattle                             7/4/2020                    91.85%              93.38%                    80.78%
Western                Seattle                            7/11/2020                    85.75%              94.10%                    87.05%
Western                Seattle                            7/18/2020                    81.32%              80.55%                    82.38%
Western                Seattle                            7/25/2020                    86.66%              92.23%                    78.34%
Western                Seattle                             8/1/2020                    84.20%              89.47%                    75.81%
Western                Seattle                             8/8/2020                    75.89%              90.99%                    81.31%
Western                Seattle                            8/15/2020                    75.85%              90.31%                    79.88%
Western                Seattle                            8/22/2020                    77.91%              91.75%                    88.24%
Western                Seattle                            8/29/2020                    82.00%              92.11%                    81.87%
Western                Seattle                             9/5/2020                    87.70%              91.58%                    89.04%
Western                Seattle                            9/12/2020                    85.45%              89.47%                    85.09%
Western                Seattle                            9/19/2020                    88.25%              94.20%                    88.33%
Western                Seattle                            9/26/2020                    88.98%              93.55%                    88.64%
Western                Seattle                            10/3/2020                    89.48%              95.62%                    87.02%
Western                Seattle                           10/10/2020                    89.14%              93.81%                    88.40%
Western                Seattle                           10/17/2020                    81.15%              93.05%                    89.19%




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Commission (PRC) at the end of the quarter.                          58
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 ÿLB+@43/7ÿ?8BB/4ÿ@/>74-ÿ8.+ÿ0+8->.+<ÿ?Mÿ>-+ÿ/Iÿ674+BB39+74ÿN83BÿO8.@/<+ÿ,34AÿO8BB/4ÿ3<+743I3+.Hÿ6Iÿ8ÿ?8BB/4ÿ,8-ÿ+74+.+<ÿ
,34A/>4ÿ4A+-+ÿ3<+743I3+.-ÿ34ÿ3-ÿ7/4ÿ0+8->.+<ÿ37ÿ4A+ÿ@/>74Hÿ2A3-ÿ37I/.0843/7ÿ3-ÿG./P3<+<ÿI/.ÿ3BB>-4.843P+ÿG>.G/-+-ÿ4/ÿG./P3<+ÿ
-+7-+ÿ/Iÿ-@8B+ÿ/IÿLB+@43/7ÿN83BÿP/B>0+ÿ4A+ÿ(/-48Bÿ'+.P3@+ÿA8-ÿ87<ÿ@/7437>+-ÿ4/ÿG./@+--ÿ87<ÿ<+B3P+.ÿ4A3-ÿ+B+@43/7ÿ
-+8-/7HÿQ>4?/>7<ÿ?8BB/4-ÿ8.+ÿ<+I37+<ÿ8-ÿ?B87;ÿ?8BB/4-ÿ<+B3P+.+<ÿI./0ÿ+B+@43/7ÿ/II3@38B-ÿ4/ÿP/4+.-ÿ87<ÿ37?/>7<ÿ?8BB/4-ÿ8.+ÿ
<+I37+<ÿ8-ÿ@/0GB+4+<ÿ?8BB/4-ÿ<+B3P+.+<ÿI./0ÿP/4+.-ÿ4/ÿ+B+@43/7ÿ/II3@38B-Hÿÿÿ
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      Case
       Case1:20-cv-02405-EGS
            1:20-cv-06516-VM Document 94-3
                                      49-2 Filed 10/30/20 Page 1
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                                                                      81




Please note that scores provided
for each week in a quarter may
not exactly match the official
scores filed with the Postal
Regulatory Commission (PRC) at
the end of the quarter.
  Case
   Case1:20-cv-02405-EGS
        1:20-cv-06516-VM Document 94-3
                                  49-2 Filed 10/30/20 Page 2
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                                                                  81



Week                                                Overnight
              Overall Score       Percent Within +1-Day Percent Within +2-Day
   1/1/2020              97.71%                  99.03%                99.49%
   1/4/2020              96.33%                  98.84%                99.39%
  1/11/2020              95.55%                  98.52%                99.21%
  1/18/2020              95.55%                  98.63%                99.28%
  1/25/2020              95.23%                  98.26%                99.03%
   2/1/2020              95.38%                  98.56%                99.22%
   2/8/2020              95.77%                  98.55%                99.25%
  2/15/2020              96.51%                  98.80%                99.36%
  2/22/2020              96.19%                  98.61%                99.32%
  2/29/2020              95.98%                  98.69%                99.26%
   3/7/2020              95.71%                  98.39%                99.05%
  3/14/2020              95.86%                  98.54%                99.18%
  3/21/2020              95.97%                  98.54%                99.10%
  3/28/2020              95.45%                  98.53%                99.19%
   4/1/2020              96.37%                  98.68%                99.21%
   4/4/2020              95.48%                  98.35%                99.15%
  4/11/2020              94.42%                  97.60%                98.71%
  4/18/2020              95.63%                  98.44%                99.14%
  4/25/2020              95.74%                  98.32%                99.02%
   5/2/2020              95.91%                  98.46%                99.18%
   5/9/2020              95.96%                  98.44%                99.11%
  5/16/2020              95.88%                  98.53%                99.18%
  5/23/2020              96.38%                  98.75%                99.30%
  5/30/2020              95.53%                  98.63%                99.27%
   6/6/2020              95.65%                  98.47%                99.16%
  6/13/2020              96.07%                  98.54%                99.22%
  6/20/2020              95.72%                  98.53%                99.16%
  6/27/2020              95.25%                  98.59%                99.32%
   7/1/2020              96.52%                  98.53%                99.14%
   7/4/2020              95.17%                  98.30%                99.08%
  7/11/2020              92.21%                  97.60%                98.64%
  7/18/2020              90.35%                  96.79%                98.53%
  7/25/2020              89.67%                  96.15%                98.16%
   8/1/2020              89.31%                  96.06%                98.14%
   8/8/2020              90.34%                  96.19%                97.91%
  8/15/2020              92.89%                  97.36%                98.67%
  8/22/2020              94.02%                  98.02%                98.94%
  8/29/2020              94.25%                  98.22%                99.09%
   9/5/2020              94.44%                  98.27%                99.18%
  9/12/2020              93.92%                  98.55%                99.40%
  9/19/2020              94.42%                  98.57%                99.37%
  9/26/2020              94.41%                  98.44%                99.37%
  10/3/2020              93.48%                  98.34%                99.27%
 10/10/2020              92.05%                  97.93%                99.18%
 Case
  Case1:20-cv-02405-EGS
       1:20-cv-06516-VM Document 94-3
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10/17/2020           91.58%            97.40%             98.83%
          Case
           Case1:20-cv-02405-EGS
                1:20-cv-06516-VM Document 94-3
                                          49-2 Filed 10/30/20 Page 4
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                                                          Presort First-Class
                                                              Two-Day
Percent Within +3-Day   Overall Score       Percent Within +1-Day Percent Within +2-Day
               99.66%              93.05%                  97.68%                99.13%
               99.58%              94.55%                  98.09%                99.03%
               99.45%              94.36%                  98.13%                99.09%
               99.50%              94.62%                  98.31%                99.13%
               99.33%              93.99%                  97.98%                99.08%
               99.48%              93.55%                  97.80%                98.98%
               99.51%              94.11%                  98.05%                99.04%
               99.57%              95.52%                  98.56%                99.27%
               99.55%              94.65%                  98.11%                99.05%
               99.49%              94.83%                  98.22%                99.10%
               99.41%              94.46%                  98.05%                99.03%
               99.44%              94.22%                  98.13%                99.06%
               99.37%              94.98%                  98.28%                99.07%
               99.50%              94.09%                  98.32%                99.19%
               99.49%              95.16%                  97.70%                98.74%
               99.43%              93.69%                  97.62%                98.77%
               99.27%              92.45%                  96.62%                98.10%
               99.47%              92.57%                  96.80%                98.14%
               99.35%              92.66%                  96.89%                98.25%
               99.44%              92.24%                  96.95%                98.35%
               99.39%              91.70%                  96.96%                98.42%
               99.43%              92.80%                  97.63%                98.71%
               99.55%              94.17%                  97.83%                99.01%
               99.55%              94.05%                  98.02%                99.05%
               99.43%              93.57%                  97.72%                98.82%
               99.49%              94.21%                  98.01%                99.01%
               99.44%              94.05%                  98.02%                99.02%
               99.60%              93.34%                  98.21%                99.21%
               99.39%              95.41%                  97.97%                98.93%
               99.38%              93.09%                  97.56%                98.87%
               99.19%              88.98%                  96.14%                98.20%
               99.14%              86.81%                  95.38%                97.94%
               98.90%              87.27%                  94.71%                97.28%
               98.99%              86.97%                  95.44%                97.62%
               98.77%              85.42%                  94.66%                97.43%
               99.19%              90.03%                  96.33%                98.08%
               99.31%              91.55%                  97.14%                98.62%
               99.45%              91.16%                  97.04%                98.58%
               99.57%              92.17%                  97.31%                98.69%
               99.68%              90.34%                  97.05%                98.74%
               99.66%              89.73%                  96.75%                98.62%
               99.65%              90.55%                  97.20%                98.80%
               99.61%              89.73%                  97.10%                98.78%
               99.59%              89.66%                  96.83%                98.76%
Case
 Case1:20-cv-02405-EGS
      1:20-cv-06516-VM Document 94-3
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   99.36%             85.50%            94.64%             97.67%
          Case
           Case1:20-cv-02405-EGS
                1:20-cv-06516-VM Document 94-3
                                          49-2 Filed 10/30/20 Page 6
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                                                         Three-To-Five-Day
Percent Within +3-Day   Overall Score       Percent Within +1-Day Percent Within +2-Day
               99.57%              89.63%                  96.56%                99.08%
               99.47%              92.12%                  97.30%                98.84%
               99.48%              91.20%                  97.31%                98.85%
               99.51%              93.49%                  97.79%                99.02%
               99.47%              91.38%                  97.48%                98.85%
               99.39%              90.73%                  97.02%                98.71%
               99.42%              92.26%                  97.72%                98.89%
               99.54%              94.58%                  98.09%                99.12%
               99.46%              93.49%                  97.90%                98.98%
               99.45%              93.81%                  98.03%                99.04%
               99.43%              92.80%                  97.64%                98.93%
               99.43%              92.55%                  97.76%                98.93%
               99.41%              93.28%                  97.79%                98.89%
               99.52%              93.29%                  98.40%                99.24%
               99.25%              92.28%                  96.21%                98.20%
               99.22%              91.85%                  97.17%                98.63%
               98.86%              89.04%                  95.79%                98.05%
               98.78%              91.58%                  96.75%                98.31%
               98.88%              89.85%                  96.10%                98.02%
               98.97%              89.65%                  96.13%                98.12%
               99.03%              89.27%                  96.00%                98.13%
               99.22%              91.24%                  96.92%                98.53%
               99.41%              92.29%                  97.23%                98.66%
               99.43%              90.12%                  97.01%                98.66%
               99.30%              90.42%                  96.85%                98.44%
               99.40%              91.80%                  97.18%                98.65%
               99.44%              90.62%                  97.18%                98.70%
               99.56%              90.85%                  97.87%                99.07%
               99.39%              90.92%                  95.16%                97.57%
               99.28%              91.14%                  97.39%                98.45%
               99.04%              84.47%                  94.92%                97.83%
               98.84%              81.63%                  93.50%                97.17%
               98.30%              83.46%                  93.22%                96.73%
               98.62%              82.62%                  93.40%                96.63%
               98.61%              80.35%                  92.28%                96.34%
               98.90%              84.12%                  94.34%                97.25%
               99.18%              86.55%                  95.67%                97.97%
               99.23%              86.70%                  95.70%                97.94%
               99.28%              87.31%                  95.36%                97.59%
               99.33%              85.96%                  95.35%                97.81%
               99.32%              81.41%                  93.07%                96.86%
               99.38%              83.73%                  94.24%                97.38%
               99.42%              84.62%                  95.04%                97.78%
               99.43%              84.54%                  94.35%                97.73%
Case
 Case1:20-cv-02405-EGS
      1:20-cv-06516-VM Document 94-3
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   98.78%             79.71%            92.73%             96.72%
          Case
           Case1:20-cv-02405-EGS
                1:20-cv-06516-VM Document 94-3
                                          49-2 Filed 10/30/20 Page 8
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                                                                          81



                                                              Two-Day
Percent Within +3-Day   Overall Score       Percent Within +1-Day Percent Within +2-Day
               99.48%              92.34%                  96.91%                98.02%
               99.40%              93.04%                  97.00%                98.34%
               99.35%              93.13%                  97.50%                98.63%
               99.45%              93.10%                  97.48%                98.41%
               99.28%              93.02%                  97.38%                98.60%
               99.30%              92.23%                  97.12%                98.40%
               99.33%              92.86%                  97.27%                98.42%
               99.48%              93.48%                  97.55%                98.41%
               99.38%              93.19%                  97.30%                98.51%
               99.44%              93.51%                  97.60%                98.65%
               99.37%              93.10%                  97.39%                98.50%
               99.38%              92.60%                  97.13%                98.34%
               99.36%              93.30%                  97.26%                98.36%
               99.48%              92.61%                  97.35%                98.38%
               99.15%              94.45%                  97.66%                98.75%
               99.20%              92.23%                  97.03%                98.48%
               98.99%              91.72%                  96.68%                98.18%
               98.98%              92.31%                  96.85%                98.18%
               98.88%              92.16%                  96.89%                98.28%
               98.90%              91.72%                  96.80%                98.23%
               98.94%              91.76%                  96.63%                98.08%
               99.10%              92.42%                  97.13%                98.40%
               99.34%              93.24%                  97.43%                98.40%
               99.24%              92.59%                  97.29%                98.61%
               99.09%              92.41%                  97.10%                98.37%
               99.21%              92.82%                  97.42%                98.62%
               99.31%              92.34%                  97.16%                98.41%
               99.42%              91.68%                  97.39%                98.59%
               98.83%              93.63%                  97.49%                98.77%
               99.05%              90.80%                  96.69%                98.13%
               98.90%              88.54%                  96.10%                97.94%
               98.52%              85.06%                  94.39%                97.17%
               98.13%              86.43%                  94.81%                97.33%
               98.15%              85.54%                  94.83%                97.45%
               98.00%              85.33%                  94.34%                97.05%
               98.38%              87.82%                  95.48%                97.60%
               98.83%              89.35%                  96.21%                97.95%
               98.88%              90.21%                  96.61%                98.21%
               98.79%              89.71%                  96.25%                97.74%
               98.81%              88.81%                  96.44%                98.37%
               98.45%              89.19%                  96.16%                98.11%
               98.66%              90.38%                  96.76%                98.35%
               98.89%              89.44%                  96.81%                98.44%
               99.03%              88.09%                  96.54%                98.09%
Case
 Case1:20-cv-02405-EGS
      1:20-cv-06516-VM Document 94-3
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   98.28%             85.29%            94.64%             97.52%
          Case
          Case1:20-cv-02405-EGS
               1:20-cv-06516-VM Document
                                Document94-3
                                         49-2 Filed
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           Single Piece First-Class
                                                              Three-To-Five-Day
Percent Within +3-Day       Overall Score       Percent Within +1-Day Percent Within +2-Day
               98.63%                  79.01%                  93.35%                96.86%
               98.87%                  80.78%                  91.64%                96.38%
               99.10%                  81.83%                  94.11%                97.16%
               99.03%                  86.64%                  94.97%                97.40%
               99.07%                  79.96%                  94.47%                97.38%
               98.94%                  80.76%                  93.82%                96.89%
               98.91%                  83.48%                  94.85%                97.35%
               98.96%                  87.33%                  94.90%                97.38%
               98.99%                  84.33%                  95.07%                97.37%
               99.12%                  85.26%                  95.22%                97.53%
               98.98%                  84.15%                  94.70%                97.32%
               98.89%                  83.72%                  94.50%                97.09%
               98.87%                  84.84%                  94.71%                97.07%
               98.91%                  84.81%                  95.59%                97.71%
               99.16%                  86.13%                  93.95%                96.59%
               99.02%                  82.99%                  94.38%                97.24%
               98.82%                  80.52%                  92.44%                96.33%
               98.80%                  82.45%                  93.60%                96.59%
               98.83%                  81.00%                  92.86%                96.22%
               98.85%                  80.47%                  92.89%                96.37%
               98.73%                  78.28%                  91.73%                96.01%
               98.94%                  82.76%                  93.93%                96.88%
               99.03%                  84.81%                  93.86%                96.85%
               99.10%                  78.33%                  93.50%                96.99%
               98.91%                  80.76%                  93.27%                96.69%
               99.13%                  82.58%                  94.09%                97.02%
               98.96%                  80.97%                  93.42%                96.84%
               99.14%                  80.96%                  95.04%                97.83%
               99.24%                  83.69%                  93.19%                96.37%
               98.92%                  80.43%                  93.51%                96.25%
               98.70%                  71.92%                  89.69%                95.29%
               98.31%                  66.73%                  87.15%                93.76%
               98.38%                  69.63%                  88.05%                94.08%
               98.50%                  67.69%                  87.57%                93.71%
               98.21%                  66.41%                  86.26%                93.23%
               98.50%                  71.71%                  89.25%                94.72%
               98.77%                  75.64%                  91.34%                95.69%
               98.87%                  76.55%                  91.98%                96.03%
               98.70%                  78.83%                  91.86%                95.86%
               99.00%                  75.68%                  92.58%                96.34%
               98.86%                  71.51%                  88.66%                94.62%
               98.99%                  72.66%                  90.33%                95.39%
               99.07%                  75.11%                  91.30%                95.84%
               98.89%                  73.52%                  88.72%                94.84%
Case
Case1:20-cv-02405-EGS
     1:20-cv-06516-VM Document
                      Document94-3
                               49-2 Filed
                                     Filed10/30/20
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   98.60%            60.68%             84.49%            93.57%
         Case
         Case1:20-cv-02405-EGS
              1:20-cv-06516-VM Document
                               Document94-3
                                        49-2 Filed
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                                                    10/30/20 Page
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Percent Within +3-Day
               97.74%
               97.93%
               98.37%
               98.51%
               98.38%
               98.20%
               98.35%
               98.46%
               98.31%
               98.55%
               98.38%
               98.23%
               98.18%
               98.48%
               98.15%
               98.41%
               97.89%
               97.94%
               97.65%
               97.89%
               97.73%
               98.06%
               98.34%
               98.18%
               98.05%
               98.29%
               98.22%
               98.67%
               98.11%
               97.93%
               97.51%
               96.60%
               96.69%
               96.50%
               96.23%
               96.89%
               97.55%
               97.69%
               97.86%
               97.78%
               97.15%
               97.42%
               97.79%
               97.37%
Case
Case1:20-cv-02405-EGS
     1:20-cv-06516-VM Document
                      Document94-3
                               49-2 Filed
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    96.91%
Case
 Case1:20-cv-02405-EGS
       1:20-cv-06516-VM Document
                        Document49-2
                                 94-4 Filed
                                      Filed10/30/20
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Case
 Case1:20-cv-02405-EGS
       1:20-cv-06516-VM Document
                        Document49-2
                                 94-4 Filed
                                      Filed10/30/20
                                            10/30/20 Page
                                                     Page80
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                                                             of381
             Case
              Case1:20-cv-02405-EGS
                    1:20-cv-06516-VM Document
                                     Document49-2
                                              94-4 Filed
                                                   Filed10/30/20
                                                         10/30/20 Page
                                                                  Page81
                                                                       3 of
                                                                          of381


                                Inbound Ballot                    Outbound Ballot               Election Mail (Non Ballot)
  Week Start Date
                               Processing Score                   Processing Score                   Processing Score
               17-Oct                         94.90%                             86.73%                             95.26%
Please Note: this only includes scores for mailpieces that have been properly identified by the mailer as election mail,
outbound ballots, or inbound ballots and if it adhered to Service Performance Measurement business rules.
